Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20   Page 1 of 112 PageID 10058



                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

 NATIONAL RIFLE ASSOCIATION OF        §
 AMERICA,                             §
                                      §
     Plaintiff and Counter-Defendant, §
                                      §
 and                                  §
                                      §
 WAYNE LAPIERRE,                      §
                                      §
     Third-Party Defendant,           §
                                      §
 v.                                   §         Case No. 3:19-cv-02074-G
                                      §
 ACKERMAN MCQUEEN, INC.,              §
                                      §
     Defendant and Counter-Plaintiff, §
                                      §
 and                                  §
                                      §
 MERCURY GROUP, INC., HENRY           §
 MARTIN, WILLIAM WINKLER,             §
 MELANIE MONTGOMERY, AND JESSE §
 GREENBERG,                           §
                                      §
     Defendants.


               JOINT STATUS REPORT IN CONNECTION WITH
   PLAINTIFF’S MOTION TO COMPEL AND FOR SANCTIONS (ECF NO. 47), AND
  DEFENDANTS’ MOTION TO COMPEL PLAINTIFF’S DOCUMENT PRODUCTION
                 AND MOTION FOR SANCTIONS (ECF NO. 54)
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                                                   Page 2 of 112 PageID 10059



                                                     TABLE OF CONTENTS

 I. MATTERS RESOLVED BY AGREEMENT .............................................................................1
 II. SUMMARY ................................................................................................................................2
           A.         Summary of Undisputed Facts. ................................................................................2
           B.         Summary of Plaintiff’s Motion to Compel and for Sanctions (ECF No. 47-
                      49). ...........................................................................................................................3
                      1.         Plaintiff’s Position. ......................................................................................3
                      2.         Defendants’ Position. ...................................................................................4
           C.         Summary of Defendants’ Motion To Compel (ECF No. 54). .................................4
                      1.         Defendants’ Position. ...................................................................................4
                      2.         Plaintiff’s Position. ......................................................................................6
 III. MATTERS TO BE HEARD AND DETERMINED .................................................................6
           A.         Plaintiff’s Motion to Compel and for Sanctions (ECF No. 47-49). .........................7
                      1.         Plaintiff’s Position. ......................................................................................7
                                 a.          Overview of Relevant Facts. ............................................................7
                                 b.          Legal Standard. ................................................................................8
                                 c.          Legal Argument. ..............................................................................8
                                             (1)         The Court Should Order Defendants to Immediately
                                                         Produce Responsive Documents. .........................................8
                                             (2)         The Court Should Reject Defendants’ Time-Period
                                                         Limitation As To Defendants’ Production Of
                                                         Responsive Documents. .....................................................10
                                             (3)         The Requests Regarding The NRA’s Intellectual
                                                         Property Seek Documents Relevant to The Claims
                                                         and Defenses In This Case. ................................................13
                                 d.          Conclusion and Request for Relief. ...............................................15
                      2.         Defendants’ Position ..................................................................................15
                                 a.          Overview of Relevant Facts ...........................................................15
                                 b.          Legal Argument. ............................................................................18
                                             (1)         RFP Nos. 1, 2, and 4 are no longer relevant to any
                                                         claim or defense in this lawsuit. .........................................18


 JOINT STATUS REPORT                                                                                                                       PAGE i
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                                                Page 3 of 112 PageID 10060



                                           (2)         The NRA’s Requested Time Period is a Blatant
                                                       Fishing Expedition. ............................................................22
           B.        Defendants’ Motion to Compel Plaintiff’s Document Production and
                     Motion for Sanctions (ECF No. 54). ......................................................................29
                     1.         Defendants’ Position. .................................................................................29
                                a.         Factual Background .......................................................................29
                                b.         Legal Argument .............................................................................36
                                           (1)         Documents concerning the FRA audit of AMc (RFP
                                                       47, 101). .............................................................................36
                                           (2)         Documents concerning the Brewer Firm ...........................43
                                           (3)         The Preservation Notice (RFP 57) .....................................48
                     2.         Plaintiff’s Position. ....................................................................................50
                                a.         Defendants’ Motion Should Be Denied As To Defendants’
                                           Requests For Privileged Information. ............................................53
                                           (1)         The Documents Defendants Seek Regarding The
                                                       FRA Audit Of AMc Are Privileged (Requests No.
                                                       47, 101). .............................................................................53
                                           (2)         The Documents Defendants Seek Regarding BAC’s
                                                       Relationship With The NRA Are Privileged
                                                       (Requests Nos. 10, 12, 42, 43 and 66). ..............................55
                                           (3)         The Document Preservation Notice Prepared By
                                                       BAC Is Privileged (Request No. 57)..................................57
                                           (4)         The Crime-Fraud Exception Does Not Apply Here. .........58
                                b.         Defendants Motion Should Be Denied As To Defendants’
                                           Requests For Information That Have No Bearing On The
                                           Parties’ Claims And Defenses. ......................................................59
 IV. PRAYER FOR RELIEF ..........................................................................................................60
           A.        Plaintiff. .................................................................................................................60
           B.        Defendants. ............................................................................................................61




 JOINT STATUS REPORT                                                                                                                   PAGE ii
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                                                   Page 4 of 112 PageID 10061



                                                    TABLE OF AUTHORITIES

 Cases

 Abujaber v. Kawar, 20 Va. Cir. 58 (1990).................................................................................... 38

 Adams v. Mem’l Hermann, No. 19-20651, 2020 U.S. App. LEXIS 27747 (5th Cir. Aug. 31,
   2020) ......................................................................................................................................... 48

 AHF Cmty. Dev., LLC v. City of Dallas, 258 F.R.D. 143 (N.D. Tex. 2009) .......................... 38, 48

 Alcan Aluminum Corp. v. BASF Corp., 133 F. Supp. 2d 482 (N.D. Tex. 2001) .......................... 44

 Alvarez v. Aldi (Tex.) LLC, No. 3:13-cv-4122-L, 2014 WL 3624929 (N.D. Tex. July 22, 2014)13,
   15

 Archer Daniels Midland Co. v. Aon Risk Services, Inc. of Minnesota, 187 F.R.D. 578 (D. Minn.
   1999) ................................................................................................................................... 54, 62

 Benevis LLC v. Mauze & Bagby, PLLC, 5:12-CV-36, 2015 WL 12763537, at *5 and *7 (S.D.
   Tex. Dec. 14, 2015)................................................................................................................... 14

 Bredemus v. Int’l Paper Co., 252 F.R.D. 529 (D. Minn. 2008) ............................................. 54, 62

 Briones v. Smith Dairy Queens Ltd., No. V–08–48, 2008 WL 4630485 (S.D. Tex. Oct. 16, 2008)
   ............................................................................................................................................. 13, 15

 Browning v. S.W Res. Inst., Civ. No. Sa-05-ca-0245-fb, 2006 WL 8434146 (W.D. Tex. Apr. 26,
   2006) ................................................................................................................................... 13, 15

 Cargo v. Kansas City S. Ry. Co., No. CIV.A. 05-2010, 2011 WL 1234391 (W.D. La. Apr. 1,
   2011) ......................................................................................................................................... 60

 Carlson Cos., Inc. v. Sperry & Hutchinson Co., 374 F. Supp. 1080 (D. Minn. 1974) ..... 54, 62, 63

 Chandler v. Phx. Servs., No. 7:19-cv-00014-O, 2020 U.S. Dist. LEXIS 15702 (N.D. Tex. Jan.
   30, 2020) ................................................................................................................................... 43

 Clark v. United States, 289 U.S.1 (1933) ............................................................................... 44, 45

 Corrigan v. Methodist Hospital, 158 F.R.D. 54 (E.D. Pa.1994) .................................................. 54

 Crownover v. Crownover, 2:15-CV-132-AM-CW, 2017 WL 10575859 (W.D. Tex. July 12,
   2017) ........................................................................................................................................... 9

 Fed. Trade Commission v. Lukens Steel Co., 444 F. Supp. 803 (D.D.C. 1977) ........................... 13

 Fisher v. United States, 425 U.S. 391 (1976) ............................................................................... 38


 JOINT STATUS REPORT                                                                                                                       PAGE iii
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                                                     Page 5 of 112 PageID 10062



 Freeman v. Bianchi, 820 S.W.3d 853(Tex. App.—Houston [1st Dist.] 1991, writ denied) ........ 43

 Gondola v. USMD PPM, LLC, 223 F. Supp. 3d 575 (N.D. Tex. 2016) ........................... 26, 28, 29

 Gulf Coast Facilities Mgmt., L.L.C. v. BG LNG Servs., L.L.C., No. CV 09-3822, 2010 WL
   11707290 (E.D. La. Mar. 24, 2010).......................................................................................... 60

 Haber Oil Co. v. Swinehart (In re Haber Oil Co.), 12 F.3d 426 (5th Cir. 1994) ......................... 44

 Harding v. Cty. of Dall., Civil Action No. 3:15-CV-0131-D, 2016 U.S. Dist. LEXIS 177937
   (N.D. Tex. Dec. 23, 2016) ........................................................................................................ 38

 Herbert v. Lando, 441 U.S. 153, 177, 99 S. Ct. 1635, 60 L. Ed. 2d 115 (1979) .......................... 63

 Hickman v. Taylor, 329 U.S. 495 (1947) .................................................................................. 8, 12

 In re BankAmerica Corp. Secs. Litig., 270 F.3d 639 (8th Cir. 2001) ........................................... 62

 In re CSX Corp., 124 S.W.3d 149 (Tex. 2003) ....................................................................... 55, 63

 In re Ginther, No. 07-80200-G3-11, 2008 Bankr. LEXIS 2624 (S.D. Bankr. Aug. 29, 2008) .... 50

 In re Grand Jury Subpoena, 419 F.3d 329 (5th Cir. 2005) .................................................... 43, 61

 In re Martin Marietta Corp., 856 F.2d 619 (4th Cir. 1988) ......................................................... 57

 In RE/MAX Int’l, Inc. v. Trendsetter Realty, LLC, No. CIV.A. H-07-2426, 2008 WL 2036816
    (S.D. Tex. May 9, 2008) ........................................................................................................... 54

 Jones v. Metzger Dairies, Inc., 334 F.2d 919 (5th Cir. 1964) ...................................................... 63

 Leamon v. KBR, Inc., Civ. Act. H-10-0253, 2010 WL 11668204 (S.D. Tex. Nov. 9, 2011) ...... 14

 Leamon v. KBR, Inc., No. H-10-0253, 2010 U.S. Dist. LEXIS 156015 (S.D. Tex. Nov. 9, 2010)
   ................................................................................................................................................... 26

 Lopez v. Don Herring Ltd., 327 F.R.D. 567 (N.D. Tex. 2018)..................................................... 46

 Madrid v. Wells Fargo Bank, N.A., EP-14-CV-00152-DCG, 2016 WL 10590161 (W.D. Tex.
  July 27, 2016).............................................................................................................................. 9

 Mancia v. Mayflower Textile Servs. Co., 253 F.R.D 354 (D. Md. 2008) ..................................... 11

 McKinney/Pearl Rest. Partners, L.P. v. Metro. Life Ins. Co., 322 F.R.D. 235 (N.D. Tex. 2016 . 24

 McLeod, Alexander, Powel & Apffel, P.C. v. Quarles, 894 F.2d 1482 (5th Cir. 1990) ... 11, 24, 54

 MeadWestvaco Corp. v. Rexam, PLC, No. 1:10CV511 GBL/TRJ, 2011 WL 2938456 (E.D. Va.
  July 18, 2011)............................................................................................................................ 56

 JOINT STATUS REPORT                                                                                                                         PAGE iv
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                                                     Page 6 of 112 PageID 10063



 Medlock Sw. Mgt. Corp. v. Fannie Mae, No. 5:04CV129, 2006 U.S. Dist. LEXIS 116132 (E.D.
  Tex. Sep. 1, 2006) ..................................................................................................................... 49

 Merrill v. Waffle House, Inc., 227 F.R.D. 467 (N.D. Tex. 2005) ........................................... 21, 54

 Metropolitan Life Ins. Co. v. Dailey, No: 3:12-cv-4174-G-BN, 2014 WL 12585666 (N.D. Tex.
  May 15, 2014) ............................................................................................................................. 8

 Moore v. Radian Grp., Inc., 2:01-CV-023 (TJW), 2002 WL 31738795 (E.D. Tex. Feb. 1, 2002)
  ................................................................................................................................................... 13

 Navigant Consulting, Inc. v. Wilkinson, 220 F.R.D. 467 (N.D. Tex. 2004) ............... 38, 40, 50, 57

 Nerium SkinCare, Inc. v. Olson, No. 3:16-cv-1217-B, 2017 U.S. Dist. LEXIS 7986 (N.D. Tex.
   Jan. 20, 2017) ............................................................................................................................ 29

 Paananen v. Cellco P’ship, No. C08-1042RSM, 2009 WL 3327227 (W.D. Wash. Oct. 8, 2009)
   ................................................................................................................................................... 14

 Peterson v. Fairfax Hosp. Sys., 32 Va. Cir. 294 (1993) ............................................................... 43

 Positive Software Sols., Inc. v. New Century Mortg. Corp., No. 3:03-CV-0257-N, 2004 U.S.
   Dist. LEXIS 32857 (N.D. Tex. Mar. 3, 2004) .................................................................... 44, 45

 Retractable Techs. Inc. v. Abbott Labs., Inc., No. 5:05-CV-157, 2010 WL 11531179 (E.D. Tex.
   May 20, 2010) ........................................................................................................................... 60

 Rhone-Poulenc Rorer Inc. v. Home Indem. Co., 32 F.3d. 851 (3d Cir. 1994) ............................. 56

 S. W. Heischman, Inc. v. Reliance Ins. Co., 30 Va. Cir. 235 (1993) ............................................ 38

 Samsung Elecs. Am. Inc. v. Yang Kun “Michael” Chung, 325 F.R.D 587 (N.D. Tex. 2017) .........
   ................................................................................................................................. 25, 28, 46, 59

 SEC v. Brady, 238 F.R.D. 429 (N.D. Tex. 2006) ......................................................................... 39

 Sevachko v. Commonwealth, 35 Va. App. 346 (Va. App. 2001) .................................................. 43

 Seventh Dist. Committee v. Gunter, 212 Va. 278 (1971) .............................................................. 43

 Sims v. Kaneb Servs., Inc., No. B14-87-00608-CV, 1998 Tex. App. LEXIS 2243 (Tex. App.—
   Houston [14th Dist.] Jun. 16, 1988, no pet.) ............................................................................. 38

 Spiegelberg Mfg., Inc. v. Hancock, No. 3-07-CV-1314-G, 2007 WL 4258246 (N.D. Tex. Dec. 3,
   2007) ................................................................................................................................... 53, 54

 StoneEagle Servs. v. Gillman, No. 3:11-cv-2408-P, 2013 U.S. Dist. LEXIS 194350 (N.D. Tex.
   Dec. 23, 2013) ........................................................................................................................... 29


 JOINT STATUS REPORT                                                                                                                         PAGE v
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                                                  Page 7 of 112 PageID 10064



 TaxRight, LLC v. SICPA Product Sec., LLC, No. 3:12CV657, 2013 WL 3791487 (E.D. Va.
   2013) ......................................................................................................................................... 56

 Tex. Grain Storage, Inc. v. Monsanto Co., SA-07-CA-673-OG, 2008 WL 11411844 (W.D. Tex.
   Apr. 24, 2008) ..................................................................................................................... 13, 15

 Total Rx Care, LLC. v. Great Northern Ins. Co., 318 F.R.D. 587 (N.D. Tex. 2017) ................... 38

 United Sates v. El Paso Co., 682 F.2d 530 (5th Cir. 1982) .......................................................... 40

 United States v. Ballard, 779 F.2d 287 (5th Cir. 1986) ................................................................ 43

 United States v. Dyer, 722 F.2d 174 (5th Cir. 1983) .................................................................... 61

 United States v. Ponder, 475 F.2d 37 (5th Cir. 1973) .................................................................. 49

 United States v. Richardson, No. 96-40329 Summary Calendar, 1997 U.S. App. LEXIS 43076
   (5th Cir. Jan. 7, 1997) ............................................................................................................... 37

 United States v. White, 887 F.2d 267 (D.C. Cir. 1989) ................................................................ 62

 Walton v. Mid-Atlantic Spine Specialists, 694 S.E. 2d 545 (Va. 2010) ........................................ 57

 Statutes

 15 U.S.C. § 1125 ............................................................................................................... 14, 21, 22

 Other Authorities

 8 Fed. Prac. & Proc. Civ. § 2008 (3d ed.) ..................................................................................... 63

 Rules

 Fed. R. Civ. P. 34 ............................................................................................................................ 9

 Fed. R. Civ. P. 26 ................................................................................................................... passim




 JOINT STATUS REPORT                                                                                                                     PAGE vi
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                 Page 8 of 112 PageID 10065



        Pursuant to the Order entered by the Honorable Magistrate Judge Toliver, dated September

 23, 2020 (ECF No. 169), Plaintiff the National Rifle Association of America (the “NRA” or

 “Plaintiff”), Third-Party Defendant Wayne LaPierre (“LaPierre”), and Defendants/Counter-

 Plaintiffs Ackerman McQueen, Inc., Mercury Group, Inc., Henry Martin, William Winkler,

 Melanie Montgomery, and Jesse Greenberg (collectively, “Defendants”), (Plaintiff and

 Defendants together, the “Parties”) file this Joint Status Report regarding the NRA’s Motion to

 Compel and for Sanctions (ECF No. 47-49) and Defendants’ Motion to Compel Plaintiff’s

 Document Production and Motion for Sanctions (ECF No. 54) (the “Report”).

        Counsel for Defendants (Brian E. Mason, Christina M. Carroll, and Kelsey M. Taylor) and

 counsel for Plaintiff (Michael J. Collins, Alessandra P. Allegretto, and Claudia V. Colón)

 conferred by telephone conference on the following dates and times: October 1, 2020, at 4:00 p.m.

 Central Time for approximately one hour; October 9, 2020 at 4:00 p.m. Central Time for

 approximately 45 minutes; and, October 14, 2020 at 11:00 a.m. Central Time for approximately

 35 minutes. Counsel for the Parties considered the nature and bases of their claims and defenses

 to the arguments made herein, and jointly developed this Report. The Parties’ updated positions

 and requests for relief are set forth as follows:

                                         I.
                           MATTERS RESOLVED BY AGREEMENT

        Following the several conferences between counsel for the Parties, the Parties have jointly

 agreed to modify their respective positions in their Motions to Compel to only now seek production

 of the specific Requests for Production outlined in this Report.

        The Parties agree that, at this time, they will not seek to compel production as to all

 remaining Requests for Production that were the subject of their respective Motions to Compel


 JOINT STATUS REPORT                                                                       PAGE 1
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                 Page 9 of 112 PageID 10066



 and which are not addressed in this Report. However, the Parties reserve all rights to challenge

 their productions in the future and waive none.

                                                  II.
                                               SUMMARY

 A. Summary of Undisputed Facts.

        Plaintiff filed its Motion to Compel against Defendants on January 22, 2020.1 Defendants

 filed their Motion to Compel against the NRA on February 26, 2020.2

        Since Defendants’ Motion was filed on February 16, 2020, the NRA has produced an

 additional 15,148 documents in this matter. Since Plaintiff’s Motion was filed on January 22, 2020,

 Defendants have produced 12,428 documents in this matter.

        On September 23, 2020, Judge Toliver denied both Parties’ Motions to Compel without

 prejudice, and instructed the Parties to resolve the pending discovery issues amongst themselves,

 and submit a joint report on any remaining issues.3 Since then, the Parties have conferred several

 times and resolved many of the outstanding issues; however, certain disputes remain.

        Plaintiff indicated that it will not produce documents concerning Forensic Risk Alliance

 (“FRA”) (RFP Nos. 47, 101), the Brewer Firm (RFP Nos. 10-12, 42, 43, 66, and 90), and a

 litigation-hold letter sent by NRA general counsel to NRA employees and board members (RFP

 No. 57) on the basis of privilege and relevance objections.

        Defendants indicate that they will not produce documents concerning the design and

 construct of AMc’s website, and Defendants’ use of the NRA’s intellectual property (Requests

 Nos. 1, 2 and 4), basing their objection to produce on relevance grounds.




        1
          ECF No. 47 and ECF No. 48-49 in support thereof.
        2
          ECF No. 54 and ECF No. 55-56 in support thereof.
        3
          ECF No. 169.

 JOINT STATUS REPORT                                                                        PAGE 2
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                               Page 10 of 112 PageID 10067



  B. Summary of Plaintiff’s Motion to Compel and for Sanctions (ECF No. 47-49).

           1. Plaintiff’s Position.

           The central issue presented in the NRA’s Motion to Compel (“Motion,” or “Mot.”)4 is

  whether Defendants fulfilled their discovery obligations when responding to the NRA’s requests

  for production of documents. Following the several conferences held to reach an agreement on

  issues raised in the Parties’ respective Motions to Compel, the NRA is not currently pursuing

  responses to the majority of the Requests outlined in its original Motion. This is based on

  representations made by counsel for Defendants that responsive documents will be produced in

  the coming weeks.5 Counsel for Defendants also represented that a privilege log is forthcoming.

           However, Defendants maintain their position as to Requests No. 1, 2 and 4, and refuse to

  produce responsive documents, claiming that such documents would be irrelevant to the claims

  and defenses at issue in this case. What Defendants fail to acknowledge, however, is that the

  requests seek information that is critical to the NRA’s claims of false association under the Lanham

  Act. Thus, because such documents are material to the NRA’s claims raised in the FAC, this Court

  should strike Defendants’ objections and order Defendants to produce documents responsive to

  Requests No. 1, 2 and 4 immediately.

           The NRA reserves the right to bring any issues raised in its original Motion, but not briefed

  in this Joint Status Report, before the Court as discovery in this matter continues.




           4
             ECF Nos. 47-49.
           5
             Defendants served Volume 3 of their document production on Plaintiffs on the evening of October 22, 2020,
  containing 9,526 documents. Plaintiffs have not had a reasonable opportunity to meaningfully review Defendants’
  latest production prior to the filing of this Report. Therefore, the arguments herein do not take into consideration the
  contents of Volume 3. See Ex. A, Declaration of Michael J. Collins (“Collins Decl.”), at ¶ 8.

  JOINT STATUS REPORT                                                                                           PAGE 3
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                 Page 11 of 112 PageID 10068



         2. Defendants’ Position.

         Plaintiff’s Motion should be denied on both of its primary issues. First, RFP Nos. 1, 2, and

  4 are not relevant to any party’s remaining claims or defenses and are not likely to lead to the

  discovery of admissible evidence. Second, Plaintiff’s blanket request to strike the objection to

  Plaintiff’s temporal scope would leave too many overly broad and unduly burdensome requests at

  play, and Plaintiff has neither made any meaningful attempt to confer on the specific requests it

  seeks to compel nor raised the specific issues in its motion, as required. Therefore, Plaintiff’s

  Motion should be denied in its entirety.

  C.     Summary of Defendants’ Motion To Compel (ECF No. 54).

         1. Defendants’ Position.

         In short, Defendants bring their Motion to address the NRA’s refusal to comply with its

  discovery obligations. On the one hand, the NRA’s responses contain boilerplate and conclusory

  objections. On the other hand, the NRA attempts to shirk its obligations to produce responsive

  documents by claiming that certain documents are privileged, while simultaneously relying on that

  same evidence to support its claims, impermissibly using the privilege as both sword and shield.

  AMc seeks to compel information relating to three categories of documents.

         First, the NRA is hiding as “privileged” more than 1,600 documents between the NRA, its

  counsel (the Brewer Firm), and a forensic accounting company, FRA. But the NRA used the work,

  communications, and documents with FRA as the justification for the NRA’s first (and three

  subsequent) lawsuits against Defendants along with numerous highly publicized statements about

  AMc’s alleged failure to comply with these audits. Additionally, to avoid disqualification of its

  counsel, the NRA made false representations to the Court about the extent of the involvement in

  the FRA’s nine-day review of AMc’s documents by Plaintiff’s counsel, Brewer Attorneys &



  JOINT STATUS REPORT                                                                        PAGE 4
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                    Page 12 of 112 PageID 10069



  Counselors (the “Brewer Firm”). Therefore, even if those documents were somehow privileged,

  the crime-fraud exception mandates that such documents be produced.

         Second, the NRA similarly refuses to produce documents related to the Brewer Firm based

  on privilege and relevance.

          Third, the NRA has objected to providing a copy of the litigation hold letter its own general

  counsel purportedly sent to NRA employees and board members instructing them to preserve

  documents related to this litigation, which is relevant to understanding whether it was sent, when

  it was sent, and what instructions it actually gave, due to high-ranking sworn testimony from at

  least one NRA official that she destroyed documents after the dispute between the parties arose.

         Based on the NRA’s failure to comply with its discovery obligations and the Federal Rules

  of Civil Procedure, AMc respectfully asks the Court to grant Defendants’ Motion, overrule the

  NRA’s objections, and compel the production of documents.

         AMc currently refrains from pursuing numerous requests and issues raised in its prior

  motion to compel based on representations by Plaintiff’s counsel and in the interests of

  compromise and judicial economy. Specifically, Plaintiff’s counsel has made representations that

  certain responsive documents are still being produced, and that a privilege log will be provided to

  assist AMc in assessing the applicability and validity of Plaintiff’s privilege claims. As a result,

  AMc reserves the right to bring these issues before the Court at a later date as discovery continues

  and additional facts come to light about the claims, defenses, and appropriate parties to this

  litigation, and additionally or alternatively, if Plaintiff’s discovery responses prove to be deficient

  in some manner after responsive documents have been produced and reviewed.




  JOINT STATUS REPORT                                                                            PAGE 5
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                              Page 13 of 112 PageID 10070



          2. Plaintiff’s Position.

          The NRA contends that the entirety of Defendants’ motion to compel is moot. As of the

  date of this report, the NRA has produced over 15,000 documents responsive to Defendants’

  requests for production. In addition, the NRA has completed a privilege log that contains over

  6,000 entries. On September 16, 2020, counsel for the NRA sent a written request to counsel for

  Defendants asking for dates on which the Parties could exchange privilege logs.6 The NRA has

  not received a response from Defendants.

          Moreover, the documents Defendants now seek to compel are clearly privileged and

  irrelevant to the claims and defenses at issue in this case.

          Therefore, as the NRA has already produced documents responsive to Defendants’

  requests, and prepared a privilege log to identify the documents Defendants now seek but which

  are privileged, this Court should deny Defendants’ Motion

                                             III.
                             MATTERS TO BE HEARD AND DETERMINED

          The matters before the Court are (1) the NRA’s Motion to Compel Responses to Plaintiff’s

  First Set of Requests for Production Nos. 1, 2 and 4, and (2) e(the Requests for Production are

  collectively referred to as the “Requests”, or individually, the “Request” or “RFP”). Agreement

  could not be reached as to these Requests because the Parties disagree about whether the

  information is relevant, privileged, or otherwise exempt from production.

          The NRA moves the Court to compel Defendants to produce documents related to

  Defendants’ website design and use of the NRA’s intellectual property, in order to uncover




          6
              See Email from A. Allegretto to B. Mason, dated September 16, 2020, attached as Exhibit A-1 to the Collins
  Decl.

  JOINT STATUS REPORT                                                                                          PAGE 6
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                               Page 14 of 112 PageID 10071



  information relating to the NRA’s claims of false association under the Lanham Act. Defendants

  oppose the NRA’s Motion.

           Defendants move the Court to compel the NRA to produce documents related to FRA’s

  investigation of AMc, documents related to the Brewer Firm’s involvement with the NRA, and

  documents related to the NRA’s efforts to preserve documents for this litigation. The NRA opposes

  Defendants’ Motion.

  A.       Plaintiff’s Motion to Compel and for Sanctions (ECF No. 47-49).

           1. Plaintiff’s Position.

                    a.       Overview of Relevant Facts.

           The NRA brings its Motion to Compel the Production of Documents pursuant to Federal

  Rule of Civil Procedure 37 in order to remedy Defendants’ refusal to meaningfully participate in

  discovery. While Defendants have responded in writing to Plaintiff’s First Set of Requests for

  Production of Documents (the “Requests”) served on November 5, 2019, they have yet to produce

  documents responsive to the Requests set forth therein.

           So far, Defendants have produced 2,902 documents in this matter: 580 documents on

  January 23, 2020, and 2,322 documents on August 25, 2020.7 However, only a few of those

  documents provide any substantive or meaningful information that is responsive to the NRA’s

  Requests.

           In their responses to the Requests, Defendants asserted general, boilerplate objections, in

  particular one that would preclude from the temporal scope of discovery two years (2016-2017)




           7
             Defendants served Volume 3 of their document production on Plaintiffs on the evening of October 22, 2020,
  containing 9,526 documents. Plaintiffs have not had a reasonable opportunity to meaningfully review Defendants’
  latest production prior to the filing of this Report. Therefore, the arguments herein do not take into consideration the
  contents of Volume 3. See Collins Decl., at ¶ 8.

  JOINT STATUS REPORT                                                                                           PAGE 7
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                           Page 15 of 112 PageID 10072



  during which the NRA contends Defendants began their fraudulent schemes and undertook illegal

  acts in support thereof or any reasonable period before or after the conclusion of the complete

  liability period. Finally, Defendants refuse to produce documents responsive to three Requests,

  where their objections are conclusory and unfounded.

          For all the reasons discussed below, the Court should grant the NRA’s Motion to Compel,

  and order that Defendants produce documents responsive to Requests No. 1, 2, and 4.

                     b.       Legal Standard.

          Federal Rule of Civil Procedure 26(b) provides a party the right to discovery “regarding

  any non-privileged matter that is relevant to a party’s claim or defense.”8 “Information within

  [the] scope of discovery need not be admissible in evidence to be discoverable.”9 In Hickman v.

  Taylor, the United States Supreme Court cemented the tradition that the discovery rules “are to be

  accorded a broad and liberal treatment.”10 Rule 34 provides for one method of discovery: the

  request for production of documents.11 As a matter of procedure, “the party resisting discovery

  must show specifically how each request is not relevant or otherwise objectionable.”12

                     c.       Legal Argument.

                              (1)     The Court Should Order Defendants to Immediately Produce
                                      Responsive Documents.

          On October 25, 2019, the NRA filed its First Amended Complaint (“FAC”) asserting

  causes of action for false association under the Lanham Act, copyright infringement, common law




          8
               Metropolitan Life Ins. Co. v. Dailey, No: 3:12-cv-4174-G-BN, 2014 WL 12585666, at *1 (N.D. Tex. May
  15, 2014).
          9
            Fed. R. Civ. P. 26(b)(1).
          10
             329 U.S. 495, 507-08 (1947).
          11
             Fed. R. Civ. P. 34.
          12
             Dailey, 2014 WL 12585666, at *1 (relying on McLeod, Alexander, Power & Apffel, P.C. v. Quarles, 894
  F.2d 1482, 1485 (5th Cir. 1990)).



  JOINT STATUS REPORT                                                                                    PAGE 8
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                               Page 16 of 112 PageID 10073



  fraud, breach of fiduciary duties and breach of contract, against two corporate entities, including

  its former public relations firm, Ackerman McQueen, Inc. and its subsidiary, Mercury Group, Inc.,

  (together, “AMc”) and four senior executives of those firms (collectively, “Defendants”).13 On

  November 5, 2019, the NRA propounded its First Set of Requests, in which the NRA made clear

  that “Defendants are requested to respond, separately and fully, and to produce the requested

  documents to the undersigned counsel . . . within thirty (30) days after service of these Requests.”14

           Defendants responded one month later on December 5, 2019 (the “Responses”), and

  interposed various “objections.”15 Nonetheless, Defendants agreed to produce non-privileged

  documents within the scope of certain of the Requests.16 However, Defendants did not produce a

  single document by the deadline on December 5, 2019, in violation of the plain language of the

  Requests, Federal Rule of Civil Procedure 34(b)(2)(B), and relevant legal authority.17

  Furthermore, Defendants’ document productions on January 23, 2020 and on August 25, 2020,

  barely contained documents that were actually responsive to the NRA’s Requests.18

           Following several conferences with counsel for Defendants, Plaintiff reconsidered its

  position as to the majority of the Requests for which it sought to compel Defendants to produce



           13
               See ECF No. 18 (“FAC”).
           14
               See ECF No. 48, Plaintiff’s First Set of Requests for Production, dated November 5, 2019, at p. 2, Ex. A.
            15
               See ECF No. 48, Defendants Responses and Objections to Plaintiff’s First Set of Requests for Production,
  dated December 5, 2019, Ex. B.
            16
               See id. at pp. 22-23 (Responses to Request Nos. 45-46), pp. 28-29 (Responses to Request Nos. 57-59).
            17
               See Fed. R. Civ. P. 34(b)(2)(B) (requiring that “the production [of documents] must then be completed no
  later than the time for inspection specified in in the request.”); Crownover v. Crownover, 2:15-CV-132-AM-CW, 2017
  WL 10575859, at *1 (W.D. Tex. July 12, 2017) (“Generally, responses and production must be done within 30 days
  after being served with the request.”); Madrid v. Wells Fargo Bank, N.A., EP-14-CV-00152-DCG, 2016 WL
  10590161, at * 2 (W.D. Tex. July 27, 2016) (“If a party fails to respond fully to discovery requests made pursuant to
  Rule 34 in the time allowed by the Federal Rules of Civil Procedure, the party seeking discovery may move to compel
  for disclosure and for appropriate sanctions under Rule 37.”); Wright & Miller, Fed. Prac. and Proc. § 2213 (advising
  that “the simplest response is one saying that the discovery sought by the request will be allowed at the time and place
  and in the manner specified by the request.”).
            18
                Plaintiff has not had the opportunity to meaningfully review Volume 3 of Defendants’ document
  production, served on October 22, 2020, one day before the date of filing listed on this Joint Status Report.



  JOINT STATUS REPORT                                                                                           PAGE 9
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                              Page 17 of 112 PageID 10074



  documents, as set forth in Plaintiff’s Motion to Compel. As a result, Plaintiff now only seeks to

  compel Defendants to produce documents responsive to three of its Requests for Production:

  Requests No. 1, 2, and 4.

           Accordingly, the Court should issue an order compelling production of all the documents

  Defendants agreed to produce in their written Response to the Requests.

                             (2)      The Court Should Reject Defendants’ Time-Period Limitation
                                      As To Defendants’ Production Of Responsive Documents.

           Defendants begin their written responses with a number of boilerplate and general

  “Objections Applicable to All Requests.”19 For example, in General Objection No. 4, Defendants

  generally refuse to produce documents if the Request is “vague, ambiguous, overbroad and unduly

  burdensome, or seeks information neither relevant to the claim or defense of any part nor

  reasonably calculated to lead to the discovery of admissible evidence,” without providing any

  elaboration in terms of any particular Request or the basis for the objection.20 Defendants then

  purport to “incorporate[ ] by reference into each of the Specific Objections and Responses set forth

  below.”21 The use of generalized objections is especially improper where, as here, “it is impossible

  to know whether information has been withheld and, if so, why.”22 Indeed, the Fifth Circuit has

  condemned such behavior as the equivalent of tactics “that have brought disrepute upon attorneys

  and the legal system.”23 Following Fifth Circuit authority and other like-minded decisions, the




           19
               ECF No. 48, Ex. B at p. 2.
           20
               Id. at p. 2 (General Objection 4); see also id. pp. 2-4 (remaining objections).
           21
               Id. at p. 4 (General Objection 12).
           22
               303 F.R.D. 466, 483 (2014) (relying on various authorities both in-Circuit and out-of-Circuit for this
  proposition).
           23
                McLeod, Alexander, Powel & Apfel v. Quarles, 894 F.2d 1482, 1484-86 (5th Cir. 1990); Mancia v.
  Mayflower Textile Servs. Co., 253 F.R.D 354, 358 (D. Md. 2008) (lamenting that “boilerplate objections . . . persist
  despite a litany of decisions from courts, including this one, that such objections are improper unless based on based
  on particularized facts”).



  JOINT STATUS REPORT                                                                                         PAGE 10
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                            Page 18 of 112 PageID 10075



  court in Heller reviewed the relevant discovery responses and ordered that, “[c]ounsel should cease

  and desist from raising these free-standing and purportedly universally applicable ‘general

  objections’ in responding to discovery requests.”24 The same result should apply here with respect

  to all of Defendants’ similarly deficient “Objections Applicable to All Requests.”

          Of all of Defendants’ general objections, the most egregious is General Objection No. 8,

  in which Defendants, without reason, explanation, or justification, unilaterally elected to produce

  only “responsive non-privileged [sic] documents from January 1, 2018 to the commencement of

  this lawsuit.”25 Defendants have not provided any reasonable basis in support of this unilaterally

  imposed time-period limitation, and therefore, it should be rejected.26

          In addition, allowing this unilaterally imposed limitation to stand would dramatically and

  unreasonably limit the temporal scope of discovery in this case, and enable Defendants to withhold

  documents and evidence from the 2015-2017 time period. That period is directly relevant to the

  Defendants’ liability, because during that period, the FAC alleges that Defendants began their

  fraudulent schemes. Unquestionably, the Federal Rules provide the NRA the right to develop its

  case through access to Defendants’ documents, especially in fraud cases, such as this one, where

  the evidence of wrongdoing most likely exists in the files of the party opponent.27 It is for this

  reason that the Supreme Court has held that discovery in the federal courts is of a permissive

  nature, and thus intended to capture materials “regarding any nonprivileged mater that is relevant

  to any party’s claim or defense.”28



          24
             Heller, 303 F.R.D. at 484.
          25
             Ex. B at p. 3.
          26
             Heller, 303 F.R.D. at 483; McLeod, 894 F.3d at 1484-86.
          27
             Fed. R. Civ. P. 26(b) (allowing discovery into non-privileged matters relevant to the parties’ claims and
  defenses).
          28
             Id.; Hickman v. Taylor, 329 U.S. 495, 507-08 (1947).



  JOINT STATUS REPORT                                                                                        PAGE 11
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                               Page 19 of 112 PageID 10076



           Allowing Defendants to suppress documents from 2015 onward is contrary to standards

  and widely accepted rules of discovery. As alleged in the FAC, in 2016 Defendants induced the

  NRA into launching a digital platform known as NRATV.29 Thus, it is likely that responsive

  information exists within one year prior to the commencement of the fraud. Thereafter, Defendants

  defrauded the NRA by presenting misleading viewership data and analytics to cover up that

  NRATV’s poor results.30 The FAC specifically alleges that deceptive statements concerning

  purported viewership numbers and analytics, sponsorships, and the ultimate valuation of NRATV

  were made in 2017, 2018, and 2019.31

           In addition, the FAC alleges that starting in at least 2016,32 Defendants engaged in conduct

  that was intended cover up a pattern of fraudulently overbilling the NRA through various methods,

  in violation of Defendants’ contractual and fiduciary duties.33 The FAC clearly alleges that

  Defendants made misrepresentations or mislead the NRA about its record-keeping practices,

  billing statements, and invoices throughout at least 2016 and 2017.34

           Unsurprisingly, multiple courts, recognize that the “temporal scope of discovery,” should

  encompass “the liability period” in which plaintiff alleges that wrongful acts giving rise to

  plaintiff’s claims occurred.35 Indeed, because “discovery of information both before and after”



           29
              ECF No. 18 (“FAC”) at ¶¶ 16-17, 21-26, 43.
           30
              Id. at ¶¶ 27-37, 44-46.
           31
              Id. at ¶¶ 28-29 & accompanying chart (showing one meeting on Oct. 24, 2017 and one meeting on Nov.
  28, 2017, at which Defendants made misleading statements to the NRA about the performance of NRATV).
           32
              Id. at ¶¶ 121, 130.
           33
              Id. at ¶¶ 18-19, 76-77, 120-136.
           34
              Id. at ¶¶ 121-131, 134-136.
           35
              Browning v. S.W Res. Inst., Civ. No. Sa-05-ca-0245-fb, 2006 WL 8434146, at *2 (W.D. Tex. Apr. 26,
  2006); Tex. Grain Storage, Inc. v. Monsanto Co., SA-07-CA-673-OG, 2008 WL 11411844, at *7-8 (W.D. Tex. Apr.
  24, 2008) (holding in an antitrust case that plaintiff was entitled to discovery spanning the entire liability and
  “damages” period, plus “for a reasonable period of time antedating the earliest possible date of actionable wrong” and
  finding a look-back window of two years appropriate); Alvarez v. Aldi (Tex.) LLC, No. 3:13-cv-4122-L, 2014 WL
  3624929, at *4 (N.D. Tex. July 22, 2014) (“Discovery is to be limited to the relevant time period. But information
  for years prior or subsequent to the specific period covered may still be relevant to a Plaintiff’s claims”) (emphasis);



  JOINT STATUS REPORT                                                                                           PAGE 12
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                              Page 20 of 112 PageID 10077



  that period can be relevant, “courts commonly extend the scope of relevant discovery to a

  reasonable number of years both prior to and following such period.”36 In light of the facts alleged

  in the FAC, the Court should reject Defendants’ unduly short discovery period spanning from

  January 2018 to August 2019 (just 20 months).37 Further, the Court should allow the temporal

  scope of discovery to encompass the entire liability period (2016-2019), and also add on a

  reasonable one-year period that would place the beginning of the discovery period in this case at

  January 1, 2015, as stated in the Requests,38 and allow for discovery post-dating the filing of the

  complaint.39 Defendants’ generalized objections, including the time period objection, should be

  rejected.

                             (3)      The Requests Regarding The NRA’s Intellectual Property Seek
                                      Documents Relevant to The Claims and Defenses In This Case.

           Defendants interpose various objections that would unreasonably frustrate the NRA’s right

  to obtain relevant, non-privileged, and otherwise discoverable information concerning the claims

  and defenses at issue in this case. The FAC alleges that Defendants misused the NRA’s name and

  intellectual property to create a false impression on their website that (1) the NRA remained




  Briones v. Smith Dairy Queens Ltd., No. V–08–48, 2008 WL 4630485, at *5 (S.D. Tex. Oct. 16, 2008) (allowing
  plaintiff’s discovery of the defendant’s financial information to 2007 and 2008 where an alleged discriminatory act
  took place in 2007 and the discovery was requested in 2008).
            36
               Browning, 2006 WL 8434146, at *2. See also Moore v. Radian Grp., Inc., 2:01-CV-023 (TJW), 2002 WL
  31738795, at *4 (E.D. Tex. Feb. 1, 2002) (allowing discovery going back two years prior to the statute of limitations);
  Tex. Grain Storage, 2008 WL 11411844, at *7-8 (W.D. Tex. Apr. 24, 2008) (holding in an antitrust case that plaintiff
  was entitled to discovery “for a reasonable period of time antedating the earliest possible date of actionable wrong”
  and finding a look-back window of two years appropriate); accord Fed. Trade Commission v. Lukens Steel Co., 444
  F. Supp. 803, 805-06 (D.D.C. 1977).
            37
               Compare with Leamon v. KBR, Inc., Civ. Act. H-10-0253, 2010 WL 11668204, at *2 (S.D. Tex. Nov. 9,
  2011) (“While there is no hard and fast rule, a 5-year discovery period is ordinarily sufficient.”) (citing Paananen v.
  Cellco P’ship, No. C08-1042RSM, 2009 WL 3327227, at *8-9 (W.D. Wash. Oct. 8, 2009).
            38
               See ECF No. 48, at p. 8 (“Unless otherwise noted, the time period covered by these Requests is January 1,
  2015 to the present.”), Ex. A.
            39
                Benevis LLC v. Mauze & Bagby, PLLC, 5:12-CV-36, 2015 WL 12763537, at *5 and *7 (S.D. Tex. Dec.
  14, 2015) (setting a “one-year pre-advertising [discovery] cut-off date” in False Claims Act case).



  JOINT STATUS REPORT                                                                                          PAGE 13
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                              Page 21 of 112 PageID 10078



  affiliated with AMc as a client and (2) the NRA endorsed AMc’s services, specifically with respect

  to NRATV, amounting to false association and false endorsement in violation of the 15 U.S.C. §

  1125(a)(1)(A).40 To better understand the composition and history of AMc’s website, the NRA

  served a number of Requests directed to documents concerning the substance of the website, the

  related decision-making process, and the NRA’s intellectual property, including the graphics and

  photographs depicted in Exhibits A and C to the FAC.41

           During the Parties’ conferences regarding this discovery dispute, Defendants stood on their

  objections as they pertain to Request Nos. 1, 2 and 4, asserting that any responsive documents

  would be irrelevant to the claims and defenses at issue in this case. Moreover, the Parties disagree

  over the time period applicable to certain of these Requests. Originally, in their Responses to these

  Requests, Defendants commit to producing documents between only June 25, 2019, the date the

  parties terminated the Services Agreement, and November 18, 2019, a date interposed for reasons

  unknown.42 Now, following the various conferences, Defendants object to producing any

  documents responsive to these Requests.

           However, as further discussed above, the requests seek information that is clearly relevant

  to Plaintiff’s claims for false association under the Lanham Act. Furthermore, for purposes of these

  Requests, the Court should apply the one-year doctrine discussed in detail above with respect to

  the temporal scope of discovery related to the intellectual property claims.43 Accordingly, the



           40
              ECF No. 18 (“FAC”) at ¶¶ 16-17, 21-26, 43.
           41
              FAC ¶¶ 80-102.
           42
              Id. at pp. 4-6.
           43
              Browning v. S.W Res. Inst., Civ. No. Sa-05-ca-0245-fb, 2006 WL 8434146, at *2 (W.D. Tex. Apr. 26,
  2006); Tex. Grain Storage, Inc. v. Monsanto Co., SA-07-CA-673-OG, 2008 WL 11411844, at *7-8 (W.D. Tex. Apr.
  24, 2008) (holding in an antitrust case that plaintiff was entitled to discovery spanning the entire liability and
  “damages” period, plus “for a reasonable period of time antedating the earliest possible date of actionable wrong” and
  finding a look-back window of two years appropriate); Alvarez v. Aldi (Tex.) LLC, No. 3:13-cv-4122-L, 2014 WL
  3624929, at *4 (N.D. Tex. July 22, 2014) (“Discovery is to be limited to the relevant time period. But information for



  JOINT STATUS REPORT                                                                                         PAGE 14
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                            Page 22 of 112 PageID 10079



  Court should grant the motion in part and compel Defendants to produce non-privileged documents

  responsive to Requests Nos. 1-2 and 4 from June 25, 2018, and continuing to at least the present.

                   d.       Conclusion and Request for Relief.

          For all the reasons stated above, the Court should grant the NRA’s Motion to Compel with

  regards to responses to Requests Nos. 1, 2 and 4, order production of documents responsive to

  Requests Nos. 1, 2 and 4 within 45 days, and award the NRA reasonable attorney’s fees and

  expenses for bringing this Motion.

          2. Defendants’ Position

                   a.       Overview of Relevant Facts

          Defendants incorporate by reference the paragraphs contained in Section III.B.1.a, below,

  as if they were set forth at length herein.

          As this Court is aware, Plaintiff’s action in the Northern District was filed along with three

  other lawsuits in Virginia. First, the NRA filed a pre-textual lawsuit against AMc in Virginia in

  April 2019 for alleged failure to comply with audit requests and not turning over certain

  information.44 The NRA then sued AMc again in Virginia in May 2019 for breach of fiduciary

  duty and breach of contract a second time (confidentiality), relating to allegations of “leaks” and

  a false and defamatory extortion narrative.45 The NRA then sued AMc in this Court in September

  2019 for intellectual property claims, breach of contract a third time (for failure to comply with




  years prior or subsequent to the specific period covered may still be relevant to a Plaintiff’s claims”) (emphasis);
  Briones v. Smith Dairy Queens Ltd., No. V–08–48, 2008 WL 4630485, at *5 (S.D. Tex. Oct. 16, 2008) (allowing
  plaintiff’s discovery of the defendant’s financial information to 2007 and 2008 where an alleged discriminatory act
  took place in 2007 and the discovery was requested in 2008).
            44
               See ECF No. 51 at Ex. B-16 (Original Complaint, NRA v. AMc, et al., Superior Court of Virginia, Cause
  CL19001757).
            45
               See ECF No. 51 Ex. B-18 (Original Complaint, NRA v. AMc, et al., Superior Court of Virginia, Cause
  CL19002067).



  JOINT STATUS REPORT                                                                                        PAGE 15
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                       Page 23 of 112 PageID 10080



  audit requests and to turn over certain information, and fraud. The NRA filed a fourth lawsuit

  against AMc for a third time in Virginia in September 2019 for return of property.46 The NRA has

  since incorporated in the Northern District all the claims in the Virginia lawsuits.47

          To date, the NRA has served more than 650 discovery requests between the two forums:

  three rounds of discovery on November 5 and 20, and December 12, 2019 in this lawsuit; another

  round in Virginia on January 29, 2020; and then an additional seven sets in this matter on February

  3, May 5, May 18, August 28 (two sets), and September 11 (two sets), 2020. Plaintiff has served

  214 RFPs in the Texas Action alone. The NRA also issued more than 20 subpoenas to third parties,

  including AMc current and former clients (ten on January 8, 2020 and eleven on January 24, 2020),

  forcing Defendants to file motions to quash in federal courts in three different states.48

          In responding to the NRA’s many and voluminous requests, Defendants have collected

  data from 28 custodians, totaling more than 2.5 million documents.49 Initially, Defendants

  reviewed 85,000 documents before the filing of this action.50 Then, Defendants have reviewed

  hundreds of thousands of those documents by initially hiring 30 contract attorneys to review in a

  matter of weeks what would otherwise have taken a legal team months to complete.51 Since then,

  Defendants’ legal team has continued to review tens of thousands of documents to determine

  responsiveness and applicability to Plaintiff’s 214 document requests in the Texas Lawsuit. To




          46
            See ECF No. 51 Ex. B-19 (Original Complaint, NRA v. AMc, et al., Superior Court of Virginia, Cause
  CL19002886).
         47
            See ECF No. 18 ¶¶ 156, 166.
         48
            See Ackerman McQueen, Inc., et al. v. NRA, et al., Miscellaneous Case No. MC-20-1-HE (W.D. OK);
  Ackerman McQueen, Inc., et al. v. NRA, et al., Miscellaneous Case No. 1:20-MC-149-LY (W.D. TX); Ackerman
  McQueen, Inc., et al. v. NRA, et al., Miscellaneous Case No. 1:20-MC-0006 (E.D. VA).
         49
            Ex. B ¶ 2, Declaration of Brian E. Mason.
         50
            Id.
         51
            Id.



  JOINT STATUS REPORT                                                                                PAGE 16
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                  Page 24 of 112 PageID 10081



  date, as part of its document collection, review, and production, AMc has incurred expenses well

  over $350,000.52

         Plaintiff’s claim that Defendants have produced only 2,902 documents is disingenuous.

  Defendants produced more than 18,000 documents in the Virginia Action (approximately 60,000

  pages), including documents relevant to causes of action in the Texas Action.53 For example, AMc

  produced documents relating to NRATV, analytics, and billing records, including more than

  10,000 pages of time sheets, third-party invoices, and documents concerning the creation of

  NRATV.54 Counsel for Defendants’ have repeatedly emphasized that the documents produced in

  Virginia are relevant and responsive to Plaintiff’s discovery requests in Texas.55 Surely, Plaintiff

  does not intend for Defendants to go through the exercise of re-producing all the same documents

  in the Texas Action with nothing but new Bates labels.

         Defendants then produced 580 documents on February 12, 2020. The reason for the

  relatively small production at that time was because the Court had not yet entered a Protective

  Order in this case providing for a two-tier designation procedure for protecting Defendants’ trade

  secret and confidential business information, which was already in place in the Virginia Action.56

         Following the general business disruptions caused by COVID-19, this Court issued the

  two-tier Protective Order on June 22, 2020. 57 Thereafter, Defendants produced 2,322 documents




         52
            Id.
         53
            Id. ¶ 3.
         54
            Id.
         55
            Id.
         56
            Id. at ¶ 4.
         57
            See ECF No. 149.



  JOINT STATUS REPORT                                                                         PAGE 17
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                    Page 25 of 112 PageID 10082



  on August 25, 2020.58 Since that time, Defendants have continued to review documents and

  produced over 9,000 documents (over 38,000 pages) on October 22, 2020.59

          Moreover, due to the sheer volume of documents from the relevant custodians, Defendants

  have not yet completed their document review and plan to continue to supplement with one or

  more subsequent productions.60 In conferring with Plaintiff’s counsel, counsel has likewise

  represented that Plaintiff’s production is not yet substantially complete, and that Plaintiff, too, will

  continue to supplement its production in the future.61

          As discussed herein, Plaintiff’s motion to compel should be denied. First, with respect to

  RFP Nos. 1, 2, and 4 (the “Intellectual Property Requests”), the documents sought in these requests

  are no longer relevant to either party’s claims or defenses following this Court’s order on

  defendants’ motion to dismiss. Second, with respect to Plaintiff’s objections as to Defendants’

  time period limitations, Plaintiff has not properly brought these issues before the Court, and

  Plaintiff’s motion on this issue should be denied.

                   b.        Legal Argument.

                             (1)   RFP Nos. 1, 2, and 4 are no longer relevant to any claim or
                                   defense in this lawsuit.

          As this Court is aware Plaintiff brought claims for numerous causes of action, including

  claims for fraud, conspiracy, breach of fiduciary duty, and breach of contract. Plaintiff also

  brought three claims related to its intellectual property, which Plaintiff alleges Defendants misused

  in some manner: (1) a claim for “false association” under the Lanham Act, (2) a claim for copyright




          58
             See Ex. B at ¶ 4.
          59
             Id.
          60
             Id. at ¶ 5.
          61
             Id.



  JOINT STATUS REPORT                                                                             PAGE 18
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                    Page 26 of 112 PageID 10083



  infringement, and (3) a claim for conversion. On September 15, 2020, Judge Fish entered an Order

  dismissing Plaintiff’s claims for copyright infringement and conversion.62 Accordingly, the only

  remaining intellectual property claim is for “false association” under the Lanham Act.

         Throughout the business relationship between AMc and the NRA, AMc displayed

  examples of its work product in a gallery on its website, www.am.com. Because AMc had

  developed a digital media platform for the NRA, NRATV, and produce the content, the AMc

  website naturally included images of NRATV-branded content among samples of work performed

  for AMc’s current and former clients. After the NRA expressed its desire to terminate the business

  relationship on June 25, 2019, AMc continued to exhibit the same images of NRATV content on

  its website gallery. AMc does not dispute this.

         Over the course of the next several weeks, the NRA expressed its displeasure with AMc’s

  continued use of the NRATV images on its website. Although AMc believed, and still believes,

  that its use of those images to display its own work product was completely lawful, in an effort to

  compromise, in August 2019, AMc appended the word “Legacy” to the NRATV images to make

  clear that the NRA was no longer a current client of AMc. On November 18, 2019, AMc

  completely rebranded its website and removed the images entirely.

         The jist of Plaintiff’s false association claim is that, by displaying the NRATV images on

  its website, AMc is creating the false impressing in the mind of consumers that the NRA is still a

  client of AMc (irrespective of the “Legacy” appendage) and continues to approve, endorse, or

  sponsor NRATV or AMc.63              In support of this claim, Plaintiff issued several requests for

  production on the subject of AMc’s website and the decision-making process undergone by AMc




         62
              ECF No. 165.
         63
              See ECF No. 18 at ¶¶ 94-102.

  JOINT STATUS REPORT                                                                         PAGE 19
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                           Page 27 of 112 PageID 10084



  and its employees regarding the use of NRATV images, and now moves the Court to compel

  responsive documents to its RFP Nos. 1, 2, and 4. However, not only are Plaintiff’s requests

  entirely overbroad, but more importantly, regardless of whatever these documents may show, they

  could not possibly be relevant to any element of Plaintiff’s false association claim.

         As a general rule, Federal Rule of Civil Procedure 26(b)(1) makes clear that discovery is

  limited by the bounds of relevance, but that discoverable information need not be admissible at

  trial if the request appears reasonably calculated to lead to the discovery of admissible evidence.64

  In keeping with liberal approach to discovery taken by federal courts, the Northern District has

  even established that documents are discoverable unless they have “no possible bearing” on a

  party’s claim or defense.65 Yet despite this low bar for relevance, in this case, Plaintiff’s RFP Nos.

  1, 2, and 4 have “no possible bearing” on Plaintiff’s false association claim, nor are they reasonably

  calculated to lead to admissible evidence on any of Plaintiff’s other claims.

         Under 15 U.S.C. § 1125(a)(1), there are four elements of a Lanham Act violation: (1) use

  of a word, mark, name, or symbol in a commercial advertisement or promotion in interstate

  commerce; (2) that is somehow false or misleading; (3) that deceives or is likely to deceive in a

  material way; (4) has caused a competitive or commercial injury to the plaintiff. Yet, taking the

  elements one by one, it is clear that none of these elements would be assisted by RFP Nos. 1, 2, or

  4 in any manner. With regard to the first element, “use,” Defendants do not dispute that they

  “used” the discrete set of images on its website (identified in Plaintiff’s Amended Complaint66)

  nor that they added the word “Legacy” to the images in August 2019. The rest of the elements are

  for the jury alone to decide, i.e., whether that “use” was false or misleading (element 2), whether



         64
            See FED. R. CIV. P. 26(b)(1).
         65
            Merrill v. Waffle House, Inc., 227 F.R.D. 467, 470 (N.D. Tex. 2005).
         66
            ECF No. 18 at Ex. A, C.

  JOINT STATUS REPORT                                                                           PAGE 20
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                           Page 28 of 112 PageID 10085



  it deceived or was likely to deceive consumers as to AMc’s affiliation with the NRA (element 3),

  and whether the NRA was injured as a result (element 4).67 No document in Defendants’ files will

  make any of these elements more or less likely.

          As much as Plaintiff may want to read an “intent” or “bad-faith” element into this cause of

  action, it simply does not exist.68 The “use” of the images is the only thing that matters—not

  whether a defendant intended to use such images wrongfully or intended harm to the plaintiff.

  Thus, RFP No. 1, seeking “[a]ll documents referring or relating to the design and composition of

  AMc’s website, including but not limited to all documents describing, providing insight into, or

  otherwise concerning Defendants’ actual or contemplated decision to include references to the

  NRA and/or use the NRA’s intellectual property,” merely goes to the “intent” of AMc (its decision-

  making process) regarding whether to use the images and the website design. Similarly, RFP

  No. 2, seeking “[a]ll documents referring or relating to the design and composition of AMc’s

  website that provide information to identify the individuals involved in the decision-making

  related to the website’s content, design, and composition,” again goes only to intent, which is

  irrelevant.

          RFP No. 4, in addition to being similarly irrelevant is also entirely overbroad. RFP No. 4

  seeks “[a]ll documents referring or relating to the NRA’s intellectual property, graphics, and/or

  other copyrighted material that belongs to the NRA.” This request could encompass the entirety

  of the parties’ nearly 40-year business history and every single project in which AMc used the

  NRA logo or tradename in some way—which easily occurred in hundreds of projects. Plus, AMc




          67
             See 15 U.S.C. 1125(a)(1).
          68
            The Lanham Act provides remedies for “willful” violations only in two enumerated circumstances, dilution
  claims and domain-name piracy claims, neither of which have been alleged in this lawsuit. See 15 U.S.C. 1115(c)-
  (d).

  JOINT STATUS REPORT                                                                                      PAGE 21
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                   Page 29 of 112 PageID 10086



  merely having a large quantity of documents “referring or relating” to the NRA’s trademarks is

  not an element of the Lanham Act claim. The key is using the protected mark in a false or

  misleading way. Thus, even if Defendants were to undertake the massive effort of producing these

  documents, they would establish nothing—besides the fact that AMc was the NRA’s faithful

  advertising and public-relations agency for nearly 40 years.

         It is true that if Plaintiff’s conversion claim were still active, then the concepts of “intent”

  or the sheer quantity of NRA intellectual property in AMc’s possession might be relevant to some

  element of conversion. But Plaintiff’s conversion claim has be dismissed with prejudice, and thus,

  discovery related to elements of this claim are no longer relevant.69

         Moreover, RFP Nos. 1, 2, and 4 relate solely to Defendants’ conduct after June 25, 2019,

  the point at which both parties agree that AMc had ceased performing services for the NRA and

  the contract terminated. Thus, AMc’s conduct after June 25, 2019, cannot possibly be relevant to

  Plaintiff’s claims for fraud, breach of fiduciary duty, conspiracy, or breach of contract, because

  the alleged conduct made the basis of each of those claims occurred before the end of the

  contractual relationship. Accordingly, RFP Nos. 1, 2, and 4 are not reasonably likely to lead to

  the discovery of admissible evidence and, indeed, have “no possible bearing” on Plaintiff’s claims

  and defenses in this case. As such, as the party resisting discovery, Defendants have met their

  burden to establish how these requests are “not relevant or otherwise objectionable,”70 and

  Plaintiff’s motion should be denied on this issue.

                         (2)     The NRA’s Requested Time Period is a Blatant Fishing
                                 Expedition.




         69
           See ECF No. 165.
         70
            See McLeod, Alexander, Powel & Apffel, P.C. v. Quarles, 894 F.2d 1482, 1485 (5th Cir. 1990);
  McKinney/Pearl Rest. Partners, L.P. v. Metro. Life Ins. Co., 322 F.R.D. 235, 242 (N.D. Tex. 2016.

  JOINT STATUS REPORT                                                                           PAGE 22
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                    Page 30 of 112 PageID 10087



         Plaintiff next makes the blanket claim that it is entitled to a four-year look back period on

  each and every single one of its requests.     Plaintiff’s Motion on this issue should be denied for

  three reasons. First, Defendants have already agreed to produce documents in accordance with

  Plaintiff’s four-year timeline on certain Requests related to claims that are actually relevant to that

  time period. Second, aside from the specific requests Defendants agreed upon, Plaintiff failed to

  meaningfully confer on remaining requests and did not properly raise the issues in their Motion.

  Third, Plaintiff’s request for the Court to strike Defendants’ general scope is improper because, as

  most of Plaintiff’s alleged facts occurred in 2018-2019, it would render the vast majority of

  Plaintiff’s grossly overbroad.

         First, as a preliminary matter, as a product of the meet-and-confer process with Plaintiff’s

  counsel, Defendants have already agreed to produce documents within the scope (January 1, 2015

  to the present) requested by Plaintiffs for certain requests in instances where the four-year lookback

  period may be relevant to Plaintiff’s claims and allegations.71

         Second, during the telephone conference that occurred on both October 9 and October 14,

  2020, Defendants’ counsel specifically raised the issue of the scope of Plaintiff’s requests and

  Defendants’ objections to this scope, a topic that was briefed as part of Plaintiff’s Motion to

  Compel and Defendants’ Response.72 Defendants agreed to comply with certain requests where

  the four-year lookback period may be relevant to Plaintiff’s claims.73            On other requests,

  Defendants stood by the objections regarding overbreadth and relevance that they had previously

  asserted, but counsel expressly invited Plaintiff’s counsel to identify specific requests for further




         71
            Ex. B at ¶ 6
         72
            Id.; see ECF No. 51 at ¶¶ 26-27.
         73
            Ex. B at ¶ 6



  JOINT STATUS REPORT                                                                            PAGE 23
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                                Page 31 of 112 PageID 10088



  discussion as to scope so that the parties could continue to work through any additional disputes.74

  To date, Plaintiff’s counsel has declined to confer about any specific document requests, other than

  those already agreed upon by Defendants.75

           To prevail on a motion to compel, the movant

           must specifically and individually identify each discovery request in dispute and
           specifically, as to each request, identify the nature and basis of the dispute,
           including, for example, explaining … how a response or answer is deficient or
           incomplete, and ask the Court for specific relief as to each request; and must include
           a concise discussion of the facts and authority that support the motion as to each
           discovery request in dispute.76

  Here, however, in response to Defendants’ invitation to confer further, Plaintiff failed to articulate

  any specific requests for production they contend had an improper temporal scope,77 and now

  appear to be moving to compel that each and every one of Plaintiff’s 81 requests should be subject

  to its four-year time frame. Although not currently before the Court, the temporal scope dispute

  here will undoubtedly have implications on the additional 133 requests for production Plaintiff has

  served since their first requests for production on November 5, 2019.78

           Third, granting Plaintiff’s motion would render most of Plaintiff’s request grossly

  overbroad and unduly burdensome since most of the alleged wrongdoing by Defendants occurred

  in 2018 and 2019.

           “A court can – and must – limit proposed discovery that it determines is not proportional

  to the needs of the case.”79        On a motion to compel, the movant also must show:



           74
              Id.
           75
              Id.
           76
              Samsung Elecs. Am. Inc. v. Chung, 325 F.R.D 587, 594 (N.D. Tex. 2017).
           77
              Ex. B at ¶ 6.
           78
              Since Plaintiff served its initial 81 requests for production on November 5, 2019, Plaintiff has since served
  an additional 133 requests for production (spanning over five different requests for production), most all of which
  include requests for the production of documents back to 2015.
           79
              Gondola v. USMD PPM, LLC, 223 F. Supp. 3d 575, 579 (N.D. Tex. 2016).



  JOINT STATUS REPORT                                                                                            PAGE 24
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                            Page 32 of 112 PageID 10089



          many or all of the proportionality factors, including the importance of the issues at
          stake in the action, the amount in controversy, the parties’ relative access to relevant
          information, the parties’ resources, and the importance of the discovery in resolving
          the issues.80
          The party seeking discovery also must comply with the proportionality mandates under the

  federal rules, and must certify that each discovery request is “not interposed to any improper

  purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation”

  and is “neither unreasonable nor unduly burdensome or expensive.”81

          Although Defendants have already agreed to produce certain documents within this time

  period,82 applying that criteria to all of Plaintiff’s 81 Requests is grossly overbroad and unduly

  burdensome.83 For example, the NRA requests all invoices and back up documentation over a

  four-year period.84 Although Defendants have no objection to producing the invoices, the requests

  encompass the production of hundreds of thousands of other documents “referring or relating” to

  these invoices, which could include every single document related to the NRA during this four-

  year period. In light of the hundreds of projects AMc did for the NRA since 2015, even within the

  two-year window that Defendants’ originally used, initial searches results from 28 custodians

  yielded over 2.5 million documents85—a testament to the extensive amount of work AMc

  performed for the NRA. However, if Defendants were compelled to produce documents from

  January 1, 2015, for all of Plaintiff’s discovery requests, this process would cost Defendants at




          80
              Id. at 580.
          81
              Id.
           82
              See Ex. B at ¶ 6.
           83
              See Leamon v. KBR, Inc., No. H-10-0253, 2010 U.S. Dist. LEXIS 156015, at *5 (S.D. Tex. Nov. 9, 2010)
  (“The temporal scope of discovery must be broad enough to allow the parties to find evidence but not so broad as to
  be overly burdensome.”).
           84
              See ECF No. 55 at Ex. A-1 (Pl.’s RFP No. 17).
           85
              See Ex. B at ¶ 2.



  JOINT STATUS REPORT                                                                                       PAGE 25
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                            Page 33 of 112 PageID 10090



  least an additional $125,000 beyond what Defendants have already spent in order to conduct a

  meaningful review.86

          Although Plaintiff suggests that extending discovery before the alleged period of

  wrongdoing “can be” relevant,87 for most of Plaintiff’s claims, the liability period based upon the

  First Amended Complaint largely concerns acts and events that occurred in 2018 and 2019. For

  example, the conspiracy and extortion claims related to Oliver North (“North”), including the

  NRA’s breach-of-contract for allegedly withholding North’s contract from the NRA, could not

  have occurred any earlier than 2018. North did not even become NRA President or an employee

  of AMc until May 2018, and the alleged conspiracy and extortion did not occur until 2019.88

  Plaintiff has not suggested in any pleading or motion filed to date that AMc and North began

  conspiring against the NRA before 2018, and certainly not as early as 2015. Likewise, the NRA

  has not alleged that AMc failed to comply with audits before 2018, violated its intellectual property

  rights before 2019, leaked documents and information to the press before 2019, or breached any

  part of the parties’ contract before 2018.89 In fact, Plaintiff’s most publicized criticism of AMc,

  both in the media and in its legal proceedings, including its most recent filing against the New

  York attorney general, is that AMc’s withholding of documents was the primary basis for initiation

  of its lawsuits against AMc.90 Yet again, there are no allegations of withholding prior to 2018.

          Accordingly, allowing a greater scope of discovery than January 1, 2018 for discovery

  related to plaintiff’s claim for breach of contract, conspiracy, or its intellectual property claims




          86
              Id. at ¶ 7.
          87
              See NRA’s Motion, supra, § III.A.1.c.(2).
           88
              See ECF No. 18.
           89
              See id.
           90
              See Ex. B-1 at 9 (“When the NRA sought additional documentation from Ackerman, Ackerman refused to
  provide it, leading to litigation beginning in April 2019, by the NRA against Ackerman to force compliance with its
  requests…”).

  JOINT STATUS REPORT                                                                                       PAGE 26
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                           Page 34 of 112 PageID 10091



  would do nothing more than invite a time consuming and incredibly expensive fishing expedition.

  As such, Plaintiff’s blanket request for the Court to overrule Defendants’ general scope objection

  does not attempt to establish any type of proportionality criteria and, to the contrary, appears

  calculated to “harass, cause unnecessary delay, or needlessly increase the cost of litigation” by

  subjecting Defendants to unduly burdensome and expensive requests.91

          Indeed, the language of Plaintiffs’ Requests calls for the broadest possible interpretation

  would yield an impossible volume of responsive documents. First, 76 of Plaintiff’s 81 requests

  seek “all” documents related to various topics.92 Under federal law, a request for production of

  “all” or “any and all” documents is improper and contrary to the proportionality mandate in Federal

  Rule of Civil Procedure 26(b)(1).93 Further broadening matters, 73 of Plaintiff’s requests seek

  documents “referring or related to” a particular topic.94 In certain situations, the phrase “relating

  to” may render a request overbroad.95 Considering the NRA and AMc had a multi-decade

  relationship, requests that “relate to” the topics in Plaintiff’s requests will capture millions of

  documents—as has been proven by the more than two million documents collected and hundreds

  of thousands reviewed thus far. Such language renders the requests facially (and practically)

  overbroad, particularly in light of the four-year scope Plaintiff seeks.96




          91
               See Gondola, 223 F. Supp. 3d at 580; Samsung 325 F.R.D. at 594.
          92
               See ECF No. 55 at Ex. A-1.
            93
               See Nerium SkinCare, Inc. v. Olson, No. 3:16-cv-1217-B, 2017 U.S. Dist. LEXIS 7986, at *22-23 (N.D.
  Tex. Jan. 20, 2017) (finding request for “all documents” overbroad and ultimately narrowing the scope); Gondola,
  223 F. Supp. 3d at 586 (N.D. Tex. 2016) (sustaining objection that “all documents” was an overbroad “blockbuster”
  request).
            94
               See ECF No. 55 at Ex. A-1.
            95
               See StoneEagle Servs. v. Gillman, No. 3:11-cv-2408-P, 2013 U.S. Dist. LEXIS 194350, at *24 (N.D. Tex.
  Dec. 23, 2013) (ruling the category of requested documents was broad and not readily known).
            96
               Ex. B at ¶ 7.



  JOINT STATUS REPORT                                                                                      PAGE 27
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                    Page 35 of 112 PageID 10092



         Moreover, as stated, Defendants have already agreed to produce documents going back to

  2015 for certain requests, such as those relating to NRATV.97 Defendants invited Plaintiff’s

  counsel to specifically identify any additional requests where they felt the 2015 scope was

  warranted, but Plaintiff’s counsel declined to confer about any specific requests other than those

  already agreed upon.98 Instead, Plaintiff has brought the instant motion without demonstrating

  how this reasonable limitation is improper. Furthermore, because Plaintiff failed to raise any

  specific requests for which it challenged Defendants’ scope objection, Defendants cannot

  reasonably meet their burden as the “party resisting discovery” because it would literally have to

  challenge all of Plaintiff’s requests, for many of which Defendants have already produced, or

  intend to produce responsive documents.

         In sum, Plaintiff’s chosen scope is unreasonable and inapplicable to many of its claims,

  and Plaintiff has failed to meet its burden for establishing the relief it seeks on this issue. Instead

  of “specifically and individually identifying each discovery request in dispute,” making any

  showing of proportionality, or requesting specific relief, the NRA broadly contends that

  Defendants should be required to produce documents back to January 1, 2015 for each and every

  Request, but has failed to meaningfully confer with Defendants’ counsel with regard to scope,

  despite Defendants’ express offer. Plaintiff’s motion to compel on this issue should be denied.




         97
              Id. at ¶ 6.
         98
              Id.

  JOINT STATUS REPORT                                                                            PAGE 28
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                              Page 36 of 112 PageID 10093



  B.       Defendants’ Motion to Compel Plaintiff’s Document Production and Motion for
           Sanctions (ECF No. 54).

           1. Defendants’ Position.

                    a.       Factual Background

           Defendants’ Motion arises out of a series of lawsuits the NRA filed against its longtime

  public-relations firm, AMc, based in large part on the Parties’ contract (the “Services

  Agreement”). As this Court is well aware, in addition to this action, the NRA brought three

  separate lawsuits in Virginia, which are now consolidated into a single action (the “Virginia

  Action”) and stayed.99

           Through its attorney William A. Brewer, III (“Brewer”) and his law firm, the Brewer Firm,

  the NRA brought the instant action against AMc in Texas (the “Texas Action”), replicating the

  same claims from the Virginia Action and including additional causes of action for conversion,

  fraud, breach-of-fiduciary-duty, and conspiracy, along with claims for copyright and trademark

  infringement. 100 AMc filed a counterclaim for libel, tortious interference, fraud, and breach-of-

  contract.101 Both parties are seeking damages in excess of $50 million.

           Brewer is the son-in-law of Angus McQueen, the late CEO of AMc, and the brother-in-

  law of Revan McQueen, AMc’s current CEO.102 Defendants have previously briefed in the Texas




            99
               National Rifle Association of America v. Ackerman McQueen, Inc., et al., Civil Case No. CL19001757,
  pending in the Circuit Court for the City of Alexandria, Virginia (filed on April 12, 2019); National Rifle Association
  of America v. Ackerman McQueen, Inc., et al., Civil Case No. CL19002067, pending in the Circuit Court for the City
  of Alexandria, Virginia (filed on May 22, 2019); National Rifle Association of America v. Ackerman McQueen, Inc.,
  et al., Civil Case No. CL19002886, pending in the Circuit Court for the City of Alexandria, Virginia (filed on
  September 5, 2019).
            100
                These claims are now part of the Virginia Action since the NRA’s filing of its amended complaint on
  February 6, 2020. In fact, in the NRA’s Motion for Leave to File a Consolidated and Amended Complaint, it
  represented to the Virginia court that “these new allegations are already contained in the Texas action.”
            101
                See ECF No. 31 at pp. 77-122.
            102
                See ECF No. 80 at Ex. B ¶ 5 [APP1171].



  JOINT STATUS REPORT                                                                                          PAGE 29
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                             Page 37 of 112 PageID 10094



  Action facts demonstrating Brewer’s professional competition103 with AMc, his intentional and

  tortious interference with the business relationship between AMc and the NRA, his assistance

  defrauding AMc through fake audits, including his use of his own employees to carry out that

  fraud, his history of animosity with the McQueen family that was the impetus for many of these

  actions, including making direct threats to Angus McQueen, and his improper use of media attacks

  to illegally and maliciously prejudice public opinion against AMc.104

          For nearly four decades, AMc expertly served the NRA, helping the gun rights organization

  navigate troubled political and societal waters as its principal communication strategist and crisis

  manager.105 AMc effectively crafted the NRA message and burnished its image as the most visible

  and powerful Second Amendment advocacy group in the United States.106

          During this multi-decade relationship, the parties developed working arrangements, such

  as negotiating annual budgets covering a variety of tasks.107 As projects were initiated, invoices

  would issue, payment would follow without complaint, and thorough annual audits proved

  satisfactory.108 The NRA’s Executive Vice President, Wayne LaPierre (“LaPierre”) participated

  in those negotiations and approved each annual budget.109                      The relationship between the

  organizations was harmonious and mutually beneficial—until LaPierre’s political problems at the




            103
                In her Order granting Defendants’ Motion for Protective Order, Magistrate Judge Toliver agreed with the
  previous ruling of the Virginia Court in finding that the Brewer Firm was enough of a competitor of AMc such that
  “Brewer and its PR unit should be walled off” from AMc’s sensitive business information” because “Brewer could
  use that competitive information to severely prejudice AMc.” See ECF. No. 148 at 4.
            104
                See generally ECF No. 105.
            105
                ECF No. 31 at 80 ¶ 13.
            106
                Id.
            107
                ECF No. 31 at 82 ¶ 19.
            108
                Id.
            109
                Id.



  JOINT STATUS REPORT                                                                                        PAGE 30
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                              Page 38 of 112 PageID 10095



  NRA began to mount and Brewer came on the scene, assisted by LaPierre’s Chief of Staff, Josh

  Powell (“Powell”).110

           Brewer and the Brewer Firm were originally hired by the NRA in early 2018 to prosecute

  claims against Lockton Affinity Series of Lockton Affinity, LLC (“Lockton”) related to the failure

  of Carry Guard, the NRA’s concealed-carry insurance program and Powell’s brainchild, which

  was deemed to be illegal in several states.111 The NRA was also under fire from the Department

  of Justice and New York Attorney General with investigations into its corporate compliance and

  relationship with Russian spy, Maria Butina.112 Brewer agreed to take on the Lockton case if

  Powell agreed to get him involved in all the NRA’s legal matters.113

           Together, Powell and Brewer seized upon an opportunity to take down AMc and

  Angus McQueen, whom they both resented for personal reasons. By creating a narrative that AMc

  was concealing spending records, Powell and Brewer could begin a witch hunt against AMc,

  blaming AMc for the NRA’s regulatory non-compliance issues, creating a distraction from Carry

  Guard and the Russia investigation, and creating a for-cause reason for terminating the relationship

  without paying termination fees.114 LaPierre later admitted that, even as early as September 2018,

  the NRA considered AMc to be an adverse party.115




           110
               ECF No. 31 at 83 ¶ 21.
           111
               ECF No. 31 at 90-91 ¶¶ 44-45; ECF No. 81 at Ex. A-2 at 284:1-7 [APP 128], 434:9-19 [APP 166] (Hart
  discussing Brewer initially retained to take over Lockton); ECF No. 1, National Rifle Association of America v.
  Lockton Affinity Series of Lockton Affinity, LLC, et al, Case No. 1:18-cv-639, in the United States District Court for
  the Eastern District of Virginia.
           112
               See ECF No. 31 at 91 ¶ 46.
           113
               Joshua L. Powell, Inside the NRA: A Tell-All Account of Corruption, Greed, and Paranoia within the
  Most Powerful Political Group in America 153 (2020).
           114
               See ECF No. 31 at 98-99 ¶ 70-73.
           115
               See ECF No. 105 at Ex. A-44 [APP 801] (Apr. 22, 2019 Ltr. from LaPierre to Mark Dyscio) (“The NRA
  and I have a common legal interests in the litigation against Ackerman McQueen which crystallized before the
  September [2018] Board meeting and colored the discussion that day.”) (emphasis added).



  JOINT STATUS REPORT                                                                                         PAGE 31
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                           Page 39 of 112 PageID 10096



          Although AMc originally agreed to participate with Brewer’s Carry Guard investigation,

  after Angus McQueen was diagnosed with cancer in July 2018, Brewer’s escalating demand for

  documents and information related to AMc’s business became increasingly hostile.116 The former

  general counsel to the NRA board of directors expressed concern that the document requests were

  not even in the NRA’s best interest.117 Moreover, some of the requests sought documents that did

  not exist and were fashioned specifically and intentionally to draw unavoidable non-compliance,

  or sought documents that were already in the NRA’s possession.118 Brewer also insisted upon

  conducting multiple audits of AMc’s books and records. Although AMc responded to these

  demands in a complete and timely manner, Brewer continued to assert that AMc was not

  complying, using this alleged “noncompliance” as a basis for even more invasive demands.119

          Given Brewer’s statements and the escalating hostilities, AMc met with LaPierre in Dallas,

  Texas, on October 11, 2018, to discuss the future of the business relationship.120 At the meeting,

  AMc expressed concerns about dealing with Brewer in light of his relationship and animosity

  towards the McQueen family, his actions and desire to take over AMc’s business with the NRA,

  and his letter-writing campaign where he repeatedly and falsely accused AMc of withholding

  documents.121 AMc refused to deal with Brewer and further and was prepared to resign the NRA’s

  business altogether, a fact affirmed by numerous AMc executives present at that meeting.122




          116
               See ECF 105 at ¶ 20, and Ex. B ¶¶ 14-17 [APP 1173].
          117
               See ECF 105 at ¶ 21, Ex. A-2 at 247:11-249:6 [APP 119-120], 255:15-256:4 [APP 121].
           118
               See ECF No. 105 at ¶ 21, Ex A-2 230:2-231:3 [APP 115], 231:13-232:18 [APP 115], 304:18-306:12 [APP
  133-134].
           119
               See ECF No. 105 at ¶ 21, Ex. A-2 at 353:13-354:1 [APP 146], 354:10-14 [APP 146], 354:22-355:5 [APP
  146]; Ex. A-45 [APP 802-804].
           120
               See ECF 80, Ex. B ¶ 24-25 [APP 1175-76].
           121
               See id.
           122
               See id.; ECF No. 141, Ex. A ¶¶ 9, 11-15 [APP 5-7], Ex. B ¶¶ 12-16 [APP 16-19], Ex. C ¶¶ 5-10 [APP 23-
  26], Ex. D ¶ 6 [APP 33], Ex. I ¶¶ 3-4, 6 [APP 82].



  JOINT STATUS REPORT                                                                                      PAGE 32
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                            Page 40 of 112 PageID 10097



          To induce AMc to continue performing services for the NRA, LaPierre promised that

  Brewer and the Brewer Firm would no longer have any contact with AMc and pleaded for AMc

  to “stick with” him.123 Based upon these representations, AMc invested in equipment, talent, and

  other assets it would need for the NRA in the coming year.124                         Further relying on this

  representation, in February 2019, AMc agreed to undergo a nine-day audit by FRA, a company

  which AMc believed to be independent and not associated with the Brewer Firm.125

          Yet it appears that Brewer used his firm to do what he could not do individually.

  Specifically, an employee of the Brewer Firm, Susan Dillon (“Dillon”) actually headed up FRA’s

  audit of AMc. Dillon was a 17-year employee of the Brewer Firm who was the same employee

  who had personally conducted an audit of AMc in September 2018 while still at the Brewer Firm.

  Thus, without AMc’s knowledge or consent, the Brewer Firm directed and secretly oversaw the

  FRA audit from behind the scenes. The evidence unequivocally shows that (a) the Brewer Firm

  sent Dillon to participate in a previous NRA-AMc audit,126 (b) that Dillon coordinated the FRA

  audit of AMc after leaving the Brewer Firm,127 and (b) that the Brewer Firm interfaced extensively

  with Dillon throughout the FRA audit.128

          In April 2020, AMc learned that Dillon had resumed her employment with the Brewer

  Firm.



          123
               ECF No. 141, Ex. C at ¶ 8 [APP 25] (“At the end of the discussion, Mr. LaPierre looked around to each
  of the AMc representatives in the meeting and specifically asked whether they would stick with him if he did in fact
  make sure that Mr. Brewer, the Brewer Firm, and Mr. Powell were no longer involved with AMc. Based on Mr.
  LaPierre’s assurances that AMc would be able to continue productive business without the hostilities of Brewer and
  Powell, AMc agreed to continue its work for the NRA.”).
          124
               See ECF No. 31 at 97-98 ¶ 67.
          125
               See ECF No. 141 at Ex. A ¶ 9 [APP 5-6].
          126
               See ECF 80, Ex. B at ¶ 21.
          127
              See Ex. B-2 (NRA_AM_FRA_0001437); Ex. B-3 (NRA_AM_FRA_0001719); Ex. B-4
  (NRA_AM_FRA_0001765). See also Ex. B-5 (NRA_AM_FRA_0002005).
          128
               See Ex. B-6 (NRA_AM_FRA_0000106); Ex. B-7 (NRA_AM_FRA_0000400).



  JOINT STATUS REPORT                                                                                        PAGE 33
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                          Page 41 of 112 PageID 10098



          Around the same time as the FRA audit, the NRA’s President, Lt. Col. Oliver North

  (“North”) had begun investigating Brewer and the Brewer Firm’s involvement in the NRA.

  Because the NRA was in a financial slump, LaPierre tasked North with traveling the country to

  help with fundraising efforts.129 As North met with NRA members, he was persistently confronted

  with questions related to Brewer that he could not answer, such as why the NRA was paying the

  Brewer Firm approximately $1.5 to $3 million in monthly fees when it was financially challenged;

  how and why Brewer was selected as counsel; and whether Brewer’s prior record of sanctions,

  ethical misconduct, and conflict of interest with the McQueen family had been properly vetted.130

          With these issues were already in the public arena,131 North felt he owed a fiduciary duty

  to find answers to his constituents’ questions in order to reassure himself and the NRA’s

  fundraising base that its money was being used responsibly.132 North was also concerned about

  the settlement of the Lockton matter and that it had resulted in a much lower settlement than

  Brewer had initially led them to believe.

          As North began investigating Brewer, more information surfaced that caused North to

  believe that Brewer was harming the NRA. For example, Brewer was impeding the work of NRA




           129
               See ECF No. 81 at Ex. A-3 at 91:6-19 [APP 201], 107:12-17 [APP 205], 182:14-183:14 [APP 224],
  192:20-193:25 [APP 226-227], 114:22-115:18 [APP 207]; Ex. A-2 at 123:11-124:19 [APP 88]; EP2, GANGSTER
  CAPITALISM (“There were serious concerns, in part because the NRA was in a cash crunch, about the money that was
  going out the door to Bill Brewer’s law firm.”).
           130
               See ECF No. 81 at Ex. A-3 at 107:8-110:7 [APP 205-206], 128:20-130:7 [APP 210-211], 135:6-137:14
  [APP 212-213], 141:3-18 [APP 214], 152:9-153:16 [APP 216-217], 169:23-170:7 [APP 221], 181:7-183:14 [APP
  224], 184:17-186:17 [APP 224-225].
  131
      See ECF No. 80 at Ex. A-24 [APP 497-498] (NRA Scores Minor Victories) (“The relationship between the firm,
  the NRA, and Ackerman McQueen is an odd one: Bill Brewer, the head of the law firm, is the brother-in-law of
  Ackerman McQueen’s CEO, Revan McQueen. … [L]awyers for both the NRA and Ackerman McQueen said in
  court that Brewer could be a witness…”) (emphasis added); Ex. A-25 [APP 499-502]; Ex. A-26 [APP 503-509]; Ex.
  A-27 [APP 510-511]; Ex. A-56 [APP 911-917]; Ex. A-57 [APP 918-927]; see generally GANGSTER CAPITALISM.
           132
               See ECF No. 81 at Ex. A-3 at 107:8-110:7 [APP 205-206], 129:19-130:7 [APP 211], 135:6-137:14 [APP
  212-213], 141:3-18 [APP 214], 157:5-12 [APP 218], 169:13-172:9 [APP 221], 184:23-186:17 [APP 224-225], 206:7-
  207:9 [APP 230].



  JOINT STATUS REPORT                                                                                    PAGE 34
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                            Page 42 of 112 PageID 10099



  accountants, grossly exaggerating the NRA’s financial woes by charging it huge legal fees,

  creating duplicative billing, prioritizing payments to his firm over every other NRA vendor by

  interfering with accounts payable, monitoring NRA employees’ email accounts, and using threats

  to intimidate the NRA staff who processed his bills.133 Brewer also took over the NRA’s legal and

  PR activity without Board approval.134 Indeed, the Brewer Firm is now the NRA’s largest vendor,

  leading to concerns that NRA member funds are being drained at a rapid and unsustainable pace.135

  North and other NRA officials sent letters to LaPierre and Brewer requesting more information

  about the scope of his services and asking him to submit engagement letters that were compliant

  with the NRA bylaws—the same standards Brewer was enforcing for all other vendors.136 These

  letters also sought copies of Brewer’s invoices to better evaluate the details of the work he was

  performing.137 Despite repeated requests, however, Brewer and LaPierre told North that Brewer’s

  bills were confidential and instructed North to stand down.138

          Believing North was acting on AMc’s behalf by investigating Brewer and the Brewer Firm,

  Brewer and LaPierre retaliated against North by inventing the conspiracy and extortion narrative

  made the basis of Plaintiff’s lawsuit.



          133
               See ECF No. at Ex. A-67 [APP 1168]; ECF 80 at Ex. A-27 [APP 510-511]; Ex. A-56 [APP 911-917]
  (New Documents Raise Ethical and Billing Concerns about the NRA’s Outside Counsel); ECF 81 at Ex. A-2 at 358:20-
  359:8 [APP 147].
           134
               See ECF No. 81 at Ex. A-3 at 150:5-151:6 [APP 216], 153:17-154:14 [APP 217], 167:25-169:12 [APP
  220-221]; Ex. A-20 [APP 477]; Ex. A-28 at 259:14-262:5 [APP 577-578], 320:6-321:6 [APP 592-593].
           135
               See ECF No. 81 at Ex. A-2 at 292:4-15 [APP 130]; Ex. A-3 at 182:5-183:14 [APP 224], 208:22-209:15
  [APP 230-231].
           136
               See ECF No. 81 at Ex. A-29 [APP 608-609] (Mar. 22, 2019 Ltr. from North to Brewer); Ex. A-4 [APP
  249] (Mar. 31, 2019 Ltr. from North to LaPierre); Ex. A-5 [APP 254] (Apr. 8, 2019 Ltr. from North to LaPierre); Ex.
  A-2 at 292:4-15 [APP 130]; Ex. A-3 at 172:10-174:10 [APP 221-222], 184:17-186:17 [APP 224-225] (“[T]his is a
  guy who found fault with all kinds of people and yet was immune and blind to his own. We were asking people to
  stand up to a standard [Brewer] had helped write … in such a way that every dollar could be accounted for … and yet
  he, himself was objecting to the same kind of scrutiny he was insisting of others. That’s not just unethical, it’s
  corrupt.”), 211:1-16 [APP 231]; EP1, GANGSTER CAPITALISM (North “gave Brewer a taste of his own medicine.”).
           137
               Id.
           138
               See ECF No. 81 at Ex. A-3 at 153:7-16 [APP 217], 169:13-22 [APP 221], 204:20-206:6 [APP 229-230],
  245:12-16 [APP 240].

  JOINT STATUS REPORT                                                                                       PAGE 35
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                              Page 43 of 112 PageID 10100



                    b.       Legal Argument

                             (1)      Documents concerning the FRA audit of AMc (RFP 47, 101).

           The NRA asserts the attorney-client privilege in response to Defendants’ Request for

  Production No. 47 and 101, seeking all documents and communications relating to FRA’s audit of

  AMc, including over 1,700 documents identified on FRA’s privilege log which have been withheld

  to date. However, the assertion of privilege carries specific requirements with which the NRA has

  not complied.

           As a preliminary matter, there is no accountant-client privilege recognized under federal,

  Texas, or Virginia law.139 Thus any privilege would attach only if FRA’s services could be fairly

  categorized as attorney-client or work-product privilege and required for the Brewer Firm to render

  its legal advice to the NRA.140

           Courts generally construe the attorney-client privilege narrowly because “assertion of

  privileges inhibits the search for truth.”141 The attorney-client privilege protects from disclosure

  communications between a client and his attorney “made in confidence for the purpose of

  obtaining legal advice.”142 The privilege protects “only those disclosures necessary to obtain

  informed legal advice which might not have been made absent the privilege.”143 Hence, the




           139
                See United States v. Richardson, No. 96-40329 Summary Calendar, 1997 U.S. App. LEXIS 43076, at *1
  (5th Cir. Jan. 7, 1997) (“This court does not recognize an accountant/client privilege.”); Sims v. Kaneb Servs., Inc.,
  No. B14-87-00608-CV, 1998 Tex. App. LEXIS 2243, at *14 (Tex. App.—Houston [14th Dist.] Jun. 16, 1988, no
  pet.); Abujaber v. Kawar, 20 Va. Cir. 58, 65 (1990) (“Virginia does not recognize an accountant-client privilege . .
  .”).
            140
                Total Rx Care, LLC. v. Great Northern Ins. Co., 318 F.R.D. 587, 598 (N.D. Tex. 2017); S. W. Heischman,
  Inc. v. Reliance Ins. Co., 30 Va. Cir. 235, 242 (1993) (“The privilege attaches to communications of the client made
  to the attorney’s agents, when such agents are indispensable to the effective representation of the client.” (emphasis
  added)).
            141
                Navigant Consulting, Inc. v. Wilkinson, 220 F.R.D. 467, 473 (N.D. Tex. 2004) (Kaplan, J.).
            142
                Harding v. Cty. of Dall., Civil Action No. 3:15-CV-0131-D, 2016 U.S. Dist. LEXIS 177937, at *26 (N.D.
  Tex. Dec. 23, 2016).
            143
                Id. (citing Fisher v. United States, 425 U.S. 391, 403 (1976)).



  JOINT STATUS REPORT                                                                                         PAGE 36
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                         Page 44 of 112 PageID 10101



  privilege does not protect documents and other communications simply because they result from

  an attorney-client relationship.144 Further, the responding party (the NRA) bears “the burden of

  proving that [the privilege] applies to each document that they seek to protect from disclosure.”145

         Likewise, the work-product doctrine applies only to documents and tangible things

  prepared in anticipation of litigation or for trial.146 This privilege may be overcome when the party

  seeking discovery can show that it has “substantial need of the materials in the preparation of the

  party’s case and that the party is unable without undue hardship to obtain the substantial equivalent

  of the materials by other means.”147

         Moreover, these privileges may also be waived under certain circumstances, such as the

  “offensive use” and “crime-fraud” exceptions. Here, Plaintiff should be compelled to produce the

  FRA documents because they are not privileged. Even if they were, however, they would fall into

  one of the applicable exceptions to privilege and are therefore discoverable.

                                   (a)      No privilege applies to the FRA documents

         The FRA documents should be produced because they are not subject to any privilege and,

  in any event, any possibly applicable privilege has been waived. The only way for any privilege

  to protect the FRA documents is if FRA’s were necessary or “indispensable” to the Brewer Firm

  providing legal advice to the NRA. According to counsel for the NRA, FRA was not even hired to

  provide any accounting or auditing services; rather, FRA was “hired simply to conduct an

  examination of records held by AMc.”148 But FRA did not perform any complex calculations or




         144
             See Navigant, 220 F.R.D. at 473.
         145
             AHF Cmty. Dev., LLC v. City of Dallas, 258 F.R.D. 143, 146 (N.D. Tex. 2009).
         146
             See FED. R. CIV. P. 26(b)(2)(A).
         147
             SEC v. Brady, 238 F.R.D. 429, 442 (N.D. Tex. 2006).
         148
             Ex. ECF No. 71 at Ex. G [APP 458 at 59:8-10) (Nov. 13, 2019 Hr’g Tr., Virginia Action).



  JOINT STATUS REPORT                                                                                  PAGE 37
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                               Page 45 of 112 PageID 10102



  decipher “unintelligible” documents. This is further buttressed by the fact that the Brewer Firm

  already reviewed AMc’s documents in September 2018 and another law firm reviewed AMc’s

  documents in November 2018.149 Although FRA is an accounting firm, it was providing mere

  review services to NRA, which is not the kind of specialized work necessary for the Brewer Firm

  to render legal advice.150 Accordingly, the FRA documents are not privileged.

                                      (b)       Any applicable privilege has been waived by offensive
                                                use

           “Offensive use” of the attorney-client or work-product privilege may result in a waiver of

  privilege.151 An “offensive use” occurs when (1) the party asserting the privilege seeks affirmative

  relief; (2) the information, if believed by the trier of fact, would probably be outcome

  determinative; and (3) disclosure of the privileged communication is the only means of obtaining

  the evidence.152

           The NRA’s very first claim in its very first lawsuit in the Virginia Action (April 12, 2019)

  and its most consistent claim throughout its four lawsuits, including this Texas Action, and in its

  many public statements to the media, is breach of contract for AMc’s alleged violation of the

  records examination clause in the Services Agreement.153 The NRA alleges that Defendants

  “repeatedly failed or refused to permit the NRA to examine specific categories of books and




            149
                See ECF No. 81 at Ex. A-2 at 221:9-222:7 [APP 113], 224:6-18 [APP 113]; see also ECF No. 80 at Ex.
  B ¶¶ 21, 25 [APP 1174, 1176].
            150
                United Sates v. El Paso Co., 682 F.2d 530, 540 (5th Cir. 1982) (finding disclose of a tax pool analysis to
  auditors destroyed confidentiality and thus any privilege because auditors were merely document reviewers).
            151
                Navigant, 220 F.R.D. at 478.
            152
                Id.
            153
                See e.g., ECF No. 18 ¶¶ 168-173 and compare with the Original Complaint in the Virginia Action, Ex.
  ECF No. 80 at A-30 [APP 610-625] including a sole claim for breach of the records examination clause with almost
  identical language in the First Amended Complaint in this lawsuit. See also Ex. ECF No. 71 at Ex. G [APP 472] at
  73:10-15 (Nov. 13, 2019 Hr’g Tr., Virginia Action).



  JOINT STATUS REPORT                                                                                           PAGE 38
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                            Page 46 of 112 PageID 10103



  records with respect to matters covered under the Services Agreement,”154 including even during

  the FRA audit.

            According to counsel for the NRA, it intends to use FRA in support of that claim.155 The

  NRA’s position is that, because it is “not offering FRA to testify about” “internal discussions with

  the NRA about what happened . . . with the records examination process,” that such

  communications are not discoverable.156 If the standard for discoverability were limited by what

  a party intends to present to a fact finder, no information supportive of his opponent’s case would

  ever be discoverable; that position is untenable. The standard is “any non-privileged matter that

  is relevant” to the claims or defenses in a lawsuit and “proportional to the needs of the case.”157

            More troubling, although the NRA in the above quote stated that it was not going to offer

  FRA to testify about discussions concerning the records examination process, the NRA later said

  at a different point in the hearing that, if a FRA representative were to testify:

            He would testify as to what happened during the records examination process.
            And then if we were to ask him, well, was that cooperation, they would object
            because we haven’t - - we haven’t designated that opinion.158

  Just because the NRA has opted not to designate FRA as an expert does not render a

  representative’s personal opinion about cooperation off-limits. That the NRA does not want to

  “offer” FRA’s lay witness opinions to a fact-finder does not make them any less discoverable.159




            154
                See ECF No. 18 ¶¶ 168-173.
            155
                ECF No. 71 at Ex. G [APP 460] at 61:16-18 (Nov. 13, 2019 Hr’g Tr., Virginia Action).
            156
                Id. [APP 472] at 73:2-6 (Nov. 13, 2019 Hr’g Tr., Virginia Action).
            157
                FED. R. CIV. P. 26(b)(1).
            158
                Ex. ECF No. 71 at Ex. G [APP 473] at 74:2-11 (Nov. 13, 2019 Hr’g Tr., Virginia Action) (emphasis
  added).
            159
              Ex. ECF No. 71 at Ex. G [APP 462] at 63:12-18 (Nov. 13, 2019 Hr’g Tr., Virginia Action) (Counsel for
  the NRA argued at the hearing: “We’re not offering any conclusions or opinions by FRA regarding its – what it
  believes about how the examination occurred, simply the facts of what happened. What did they ask for, what did they
  see, what were they allowed to do, what were they not allowed to do? That’s the extent of what the FRA is being
  asked to do in this case at this point.” (emphasis added)).

  JOINT STATUS REPORT                                                                                        PAGE 39
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                  Page 47 of 112 PageID 10104



  Regardless, the concern about “opinions” is a red herring. The fact remains that (1) AMc submitted

  to an audit with FRA; (2) the NRA sued AMc for failure to provide records; (3) part of the basis

  of that claim is that AMc also failed to submit documents to FRA during its review. The NRA

  takes the position that AMc can testify about what it did during the FRA review, but that the NRA’s

  participation in the review (what it instructed FRA to review, what lay witness thoughts or opinions

  FRA had about what AMc did or allegedly did not provide, what lay witness thoughts or opinions

  FRA had about AMc’s cooperation) is off limits to the tune of 1,700 documents.

         AMc was never informed by FRA of any noncompliance with the audit. Yet the NRA

  continues to assert this FRA audit as the basis for its claims of obstruction and breach of contract

  with regard to its records-inspection rights. Thus, the only way to disprove lack of cooperation or

  obstruction of the FRA review (besides self-serving evidence from the NRA itself) is to test the

  NRA’s own allegations through the party that actually conducted the review—FRA.

         And, more importantly, what is the harm here? If the NRA’s allegations about AMc’s lack

  of compliance are true, then it should have nothing to hide. On the other hand, if as the evidence

  has previously established, the FRA “audit” was nothing more than a fishing expedition to

  intentionally manufacture non-compliance so that the NRA could sue AMc, this is relevant, non-

  privileged, and discoverable information. As already briefed in this and other motions, the NRA’s

  former General Counsel to the Board testified that the documents being required by the Brewer

  Firm were not consistent with the business plan, and were intended to draw non-compliance. Either

  the NRA is using the FRA “privileged” documents as a basis for its claims, or the NRA is ignoring

  what the FRA documents actually show (no breach), which demonstrates the bad-faith basis for

  filing the first and several subsequent lawsuits against Defendants. Either way, Defendants are




  JOINT STATUS REPORT                                                                         PAGE 40
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                                Page 48 of 112 PageID 10105



  entitled to discover the content of the documents requested in RFP 47 and 101 that have been

  withheld on the basis of privilege.

                                       (c)      Any applicable privilege has been waived by crime-fraud

           A communication that is made in furtherance of a crime or a fraud forfeits any protection

  otherwise provided by privilege.160 All three jurisdictions recognize the crime-fraud exception to

  privilege.161 For example, in a Virginia supreme court case, an attorney was found to have supplied

  false information in perpetration of a fraud, which was “outside the scope of the professional duty

  of an attorney,” such that “no privilege attache[d]” to the attorney-client communication.162

  Virginia law sets a lower bar in determining fraud for this exception—the party challenging the

  privilege “need only make a sufficient showing: such as to subject the opposing party to the risk

  of non-persuasion if the evidence as to the disputed fact is left unrebutted.”163




            160
                Chandler v. Phx. Servs., No. 7:19-cv-00014-O, 2020 U.S. Dist. LEXIS 15702, at *5 (N.D. Tex. Jan. 30,
  2020) (citing In re Grand Jury Subpoena, 419 F.3d 329, 335 (5th Cir. 2005)).
            161
                United States v. Ballard, 779 F.2d 287, 292 (5th Cir. 1986); Freeman v. Bianchi, 820 S.W.3d 853, 861
  (Tex. App.—Houston [1st Dist.] 1991, writ denied); Sevachko v. Commonwealth, 35 Va. App. 346, 355 (Va. App.
  2001) (“Sevachko’s disclosure to his attorney that he was going to testify untruthfully that he was not driving was not
  privileged, and, thus, the statement was admissible under the crime-fraud exception to the privilege. It is settled under
  modern authority that the attorney-client privilege does not extend to communications between attorney and client
  where the client’s purpose is the furtherance of a future intended crime or fraud.”).
            162
                Sevachko, 35 Va. App. at 356; Seventh Dist. Committee v. Gunter, 212 Va. 278, 287 (1971) (“The
  perpetration of a fraud is outside the scope of the professional duty of an attorney and no privilege attaches to a
  communication and transaction between an attorney and client with respect to transaction constituting the making of
  a false claim or the perpetration of a fraud.” (emphasis added)).
            163
                Peterson v. Fairfax Hosp. Sys., 32 Va. Cir. 294, 296-97 (1993). “[T]he suggestion of a crime having been
  committed was an attempt to deflect attention away from the possibility of” wrongdoing by the party asserting
  privilege. Id. That suggestion was further evident when the lawyers acted “contrariwise” to the criminal conduct they
  alleged when they withheld information and retained files rather than assisting others in an investigation. Id. at 297.
  The court found the evidence sufficient to support the plaintiffs’ argument that counsel asserting privilege did so “to
  minimize, by whatever means possible, its exposure to damages in the event of a lawsuit.” Id.



  JOINT STATUS REPORT                                                                                            PAGE 41
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                             Page 49 of 112 PageID 10106



          Importantly, “once a prima facie showing has been made, the privilege disappears without

  affording the proponent of the privilege an opportunity to rebut the prima facie showing.”164 To

  make a prima facie showing of fraud, the requesting party must demonstrate the following factors:

          (1) a material representation was made; (2) the representation was false; (3) the
          speaker made the representation knowing it was false or made it recklessly without
          any knowledge of its truth and as a positive assertion; (4) the speaker made the
          representation with the intent that it be relied upon by the party; (5) the party acted
          in reliance on the misrepresentation; and (6) the party thereby suffered injury.165

          A party may commit fraud by concealment, which occurs when “a party conceals or fails

  to disclose a material fact within the knowledge of that party,” knowing “the other party is ignorant

  of the fact and does not have an equal opportunity to discover the truth” with the intent to “induce

  the other party to take some action by concealing or failing to disclose the fact,” which results in

  injury “as a result of acting without knowledge of the undisclosed fact.”166

          Here, LaPierre affirmatively represented that the Brewer Firm would not be involved with

  the FRA audit.167 These representations gave the false impression that the Brewer Firm would in

  fact not be involved with the review—i.e., that the Brewer Firm would not be directing the

  reviewer’s actual review (as it did), would not be discussing the documents or findings with the

  reviewer (as it did), and would not have its “former” employee coordinating the entire review of

  AMc’s documents (as it did). Thus, contrary to the NRA’s representations, the Brewer Firm

  appears to have been involved with every aspect of the audit, to which AMc would never have




          164
               Positive Software Sols., Inc. v. New Century Mortg. Corp., No. 3:03-CV-0257-N, 2004 U.S. Dist. LEXIS
  32857, at *31 (N.D. Tex. Mar. 3, 2004) (citing Clark v. United States, 289 U.S.1, 15 (1933) (“When that [prima facie]
  evidence is supplied, the seal of secrecy is broken.”)).
           165
               Id. (quoting Haber Oil Co. v. Swinehart (In re Haber Oil Co.), 12 F.3d 426, 437 (5th Cir. 1994)).
           166
               Id. at *38 (quoting Alcan Aluminum Corp. v. BASF Corp., 133 F. Supp. 2d 482, 498 (N.D. Tex. 2001)).
           167
               See ECF 80, Ex. B ¶ 24-25 [APP 1175-76]; ECF No. 141, Ex. A ¶¶ 9, 11-15 [APP 5-7], Ex. B ¶¶ 12-16
  [APP 16-19], Ex. C ¶¶ 5-10 [APP 23-26], Ex. D ¶ 6 [APP 33], Ex. I ¶¶ 3-4, 6 [APP 82]



  JOINT STATUS REPORT                                                                                        PAGE 42
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                            Page 50 of 112 PageID 10107



  consented if it had known of Brewer’s involvement, and has suffered harm as a result in the form

  of baseless lawsuits and damaging press. For example, the FRA privilege log reveals the Brewer

  Firm’s involvement.168 Because Defendants have shown a prima facie case for fraud, “the

  privilege disappears without affording the proponent of the privilege an opportunity to rebut the

  prima facie showing.”169 The NRA should be compelled to produce the documents responsive to

  Request Nos. 47 and 101, including the documents on the FRA privilege log.

                            (2)      Documents concerning the Brewer Firm

          Defendants seek documents related to the NRA’s relationship with the Brewer Firm in RFP

  Nos. 10, 12, 42, 43, and 66. In a subpoena directly to the Brewer Firm, AMc requested a variety

  of documents on similar topics. Based on representations from Plaintiff’s counsel that numerous

  responsive documents and a privilege log would be forthcoming to the subpoena requests. In the

  interests of judicial economy and with the hope that these issues can be worked out between the

  Parties, Defendants have agreed not to pursue numerous other requests at this time.170 Defendants

  reserve their rights to compel documents at a later date pending review of the subpoenaed

  documents. The remaining Requests are addressed herein.

          The Requests concerning the Brewer Firm can be considered in two categories:

   1)      Engagement and Services for NRA. Documents relating to the firm’s engagement (No.

           12) (the NRA objected on privilege and relevance) and its fees received from the NRA

           (Nos. 42-43, 66) (the NRA objected on privilege and relevance);




          168
              ECF No. 56 at A-11 [APP 639-675].
          169
              Positive Software Sols., 2004 U.S. Dist. LEXIS 32857, at *31 (citing Clark v. United States, 289 U.S.1,
  15 (1933) (“When that [prima facie] evidence is supplied, the seal of secrecy is broken.”)).
          170
              RFP Nos. 1-9, 11, 13, 16, 17, 23, 39, 40, 44, 64, 65, 79, 87-89, 91.

  JOINT STATUS REPORT                                                                                       PAGE 43
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                          Page 51 of 112 PageID 10108



   2)      Personal and Professional Relationship with AMc. Documents concerning the Brewer

           conflict of interest creating and directing litigation (and underlying conduct) against its

           named partner’s brother-in-law and father-in-law (No. 10) (the NRA objected as

           privileged), and communications with the McQueen family concerning the litigation (No.

           90) (the NRA objected to relevance).

          First, Defendants “may obtain discovery regarding any nonprivileged matter that is

  relevant” to their claims and defenses, pursuant to Federal Rule of Civil Procedure 26(b)(1), which

  information “need not be admissible in evidence to be discoverable.” The party resisting discovery

  bears the burden of showing “specifically how each discovery request is not relevant or otherwise

  objectionable.”171 Notably, the federal rules do “not impose on a party filing a motion to compel

  the burned to show relevance and proportionality in the first instance.”172                     Nevertheless,

  Defendants present the following facts concerning relevance.

          As to the first category of documents, and as Defendants have previously briefed in this

  lawsuit, the North was being questioned by NRA board members and general members about

  Brewer’s fees and scope of engagement.173              After several requests to review the fees and

  engagement agreements, North was denied access and told to stand down.174 Then when he

  attempted to institute an independent review, the NRA then worked to oust him from its ranks,




          171
               Lopez v. Don Herring Ltd., 327 F.R.D. 567, 584 (N.D. Tex. 2018) (quoting Samsung Elecs. Am. Inc. v.
  Chung, 325 F.R.D. 578, 590 (N.D. Tex. Mar. 7, 2017).
           172
               Id. (quoting Samsung, 325 F.R.D. at 594).
           173
               See ECF No. 81 at Ex. A-3 at 107:8-110:7 [APP 205-206], 128:20-130:7 [APP 210-211], 135:6-137:14
  [APP 212-213], 141:3-18 [APP 214], 152:9-153:16 [APP 216-217], 169:23-170:7 [APP 221], 181:7-183:14 [APP
  224], 184:17-186:17 [APP 224-225].
           174
               See ECF No. 81 at Ex. A-3 at 153:7-16 [APP 217], 169:13-22 [APP 221], 204:20-206:6 [APP 229-230],
  245:12-16 [APP 240].



  JOINT STATUS REPORT                                                                                    PAGE 44
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                           Page 52 of 112 PageID 10109



  including by accusing him (and AMc and at least seven other high-ranking officials and counsel)

  of conspiracy to dethrone LaPierre.175

          Documents about Brewer’s fees and engagement are directly relevant to these facts

  concerning North’s (and other board members’) request for an independent investigation, which

  was the impetus for the NRA and the Brewer Firm terminating the Services Agreement to get rid

  of North. This is independently corroborated by others at the NRA, such as its former General

  Counsel to the Board, who was also concerned about the Brewer Firm’s fees and the level of

  unchecked control Brewer had assumed within the NRA. The NRA has also alleged that North

  was working with and at the direction of AMc, and has therefore put the validity of North’s

  investigation at issue. 176

          By terminating the Services Agreement, the NRA could avoid paying for North’s contract

  (AMc’s claims for breach of contract, tortious interference, fraud, conspiracy). North’s attempts

  to hold Brewer accountable also prompted the NRA and Brewer to accuse AMc of extortion,

  alleging that, rather than justifiably seeking compliance with NRA procedure and nonprofit law,

  North went through all that effort just to conspire with AMc to unseat LaPierre (AMc’s claims for

  defamation, business disparagement). 177 Accordingly, the relevance objections to Request Nos.

  12, 42, 43, and 66 should be overruled, and the NRA should be compelled to produce responsive

  documents.




          175
               See ECF No. 81 at Ex. A-3 at 215:6-13 [APP 232], 223:10-224:25 [APP 234], 232:17-233:6 [APP 236-
  237], 238:10-240:2 [APP 238], 235:3-13 [APP 237]; Ex. A-2 at 257:3-12 [APP 122], 292:4-15 [APP 130], 314:12-
  315:7 [APP 136].
           176
               See, i.e., ECF 121 at 11 (“AMc did not protect BAC’s involvement until the NRA began asking questions
  about AMc’s bills—at which point one of AMc’s agents, Lt. Col. Oliver North, contrived a pretext to ‘audit’ BAC’s
  investigation of AMc (an effort arrested in its tracks due to North’s obvious conflict of interest.”).
           177
               See ECF No. 18 at 31-33 (NRA’s First Amended Complaint describing extortion allegations in response
  to the NRA’s audit requests).



  JOINT STATUS REPORT                                                                                      PAGE 45
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                              Page 53 of 112 PageID 10110



           Second, privilege either does not apply to these specific requests or is waived. The NRA

  has not proven that the privilege applies to each document it withholds.178 The attorney-client

  privilege exists when “the communication relates to a fact of which the attorney was informed (a)

  by his client (b) without the presence of strangers (c) for the purpose of securing primarily either

  (i) an opinion on law or (ii) legal services or (iii) assistance in some legal proceeding.”179

           Relatedly, RFP No. 10 concerning communications about whether a conflict of interest

  exists do not involve privilege. Considering that Brewer is the one with the conflict and knew

  about the circumstances of such conflict before the NRA ever became aware, the NRA could not

  have “informed” the Brewer Firm of that non-privileged, underlying fact for any opinion on law,

  legal services, or assistance in a legal proceeding. Moreover, the NRA’s General Counsel to the

  Board admitted that there was a perceived conflict, and one he was concerned about,180 which

  suggests that there are other non-privileged internal communications on the subject. And on a

  more granular level, the underlying facts concerning such conflict also are not privileged.181 The

  documents are relevant to the claims and defendants relating to exemplary damages, termination

  of the Services Agreement, defamation, and tortious interference (i.e., Brewer through the NRA

  meddled in the underlying conduct because of his personal animus toward Angus McQueen with

  knowledge of his worsening terminal cancer for the purpose of ousting AMc and taking-over the

  NRA’s PR work). By like token, RFP No. 90, which seeks communications between the NRA

  and any non-lawyer member of the McQueen or Brewer families related to this lawsuit, AMc, or




           178
               See AHF Cmty., 258 F.R.D. at 146.
           179
               See id. at 146.
           180
               See ECF No. 81 at Ex. A-6 at 374:7-375:17 [APP 352].
           181
               See Adams v. Mem’l Hermann, No. 19-20651, 2020 U.S. App. LEXIS 27747, at *7 (5th Cir. Aug. 31,
  2020) (“[T]he attorney-client privilege only protects disclosure of communications; it does not protect disclosure of
  the underlying facts. Thus, a fact is not privileged merely because a client incorporated a statement of such fact into
  his communication to his attorney.”).

  JOINT STATUS REPORT                                                                                          PAGE 46
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                              Page 54 of 112 PageID 10111



  the retention of the Brewer Firm are plainly not “irrelevant” as Plaintiff objects. The relevance to

  the lawsuit is framed within and apparent on the face of the question itself. If the NRA has such

  communications, Defendants are entitled to discover them.

           RFP No. 12 and 66 seek documents and communications related to the Brewer Firm’s

  invoices. According to Fifth Circuit law, “the general nature of services is not protected by the

  [attorney-client] privilege.”182 “More specifically, agreements such as fee arrangements generally

  are not privileged,” and only a “narrow exception” applies “when revealing the identity of the

  client and fee arrangements would itself reveal a confidential communication.”183 In the Medlock

  case, the court found the identity of client and counsel had already been disclosed and the

  engagement agreement was relevant to the claims and defenses in that case, including because the

  date of engagement being a material fact in dispute.184 Another court has similarly ruled that the

  “identity of [the] client, terms and conditions of employment, amount of fee . . . and the general

  purpose of the work performed, are not privileged.”185

           Request Nos. 10 and 12 concerning Brewer’s fees and engagement are directly relevant to

  the dispute concerning North and the alleged extortion. The NRA has repeatedly stated that both

  it and third parties vetted the Brewer Firm’s bills, citing that third party’s undisclosed finding as

  proof that the fees were reasonable. By taking that position, the NRA could call North’s attempted

  independent investigation a ruse—without North or AMc (as alleged co-conspirator) having any

  opportunity to test the NRA’s allegations. Not only are the fees at issue in this case, but the NRA’s


           182
               Medlock Sw. Mgt. Corp. v. Fannie Mae, No. 5:04CV129, 2006 U.S. Dist. LEXIS 116132, at *15 (E.D.
  Tex. Sep. 1, 2006) (parenthetical quote from Nguyen v. Excel Corp., 197 F.3d 200, 206 (5th Cir. 1999)); see also
  United States v. Ponder, 475 F.2d 37, 39 (5th Cir. 1973) (“matters involving the receipt of fees from a client” are not
  “usually privileged”).
           183
               Medlock, 2006 U.S. Dist. LEXIS 116132, at *15.
           184
               Id. at *16.
           185
               See In re Ginther, No. 07-80200-G3-11, 2008 Bankr. LEXIS 2624, at *14 (S.D. Bankr. Aug. 29, 2008).



  JOINT STATUS REPORT                                                                                          PAGE 47
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                              Page 55 of 112 PageID 10112



  reliance upon its own and others’ review and communications concerning those fees makes the

  responsive documents discoverable and non-privileged. Stated another way, the NRA alleged

  extortion to distract from North and other board members’ request for an independent review of

  the Brewer Firm’s fees and engagement. 186 The NRA is seeking affirmative relief for the alleged

  extortion attempt (breach of fiduciary duty, for one).187 The information sought about the fees and

  engagement would be outcome determinative—whether in favor of Defendants or the NRA—for

  at least certain elements of the claims and defenses at issue.188 And the only way to access the

  documents is from the NRA and the Brewer Firm, such that disclosure of the allegedly privileged

  communications is required.189

           Similarly, North was concerned about the Lockton settlement and whether, and to what

  extent, Brewer and/or the Brewer Firm had sold short the NRA in settling the case after Brewer’s

  initial projections. 190 Accordingly, the Lockton document sought in RFP Nos. 42 and 43 are

  relevant to determining the credibility of North’s investigation, which, again, the NRA itself placed

  at issue.

           Because these documents are not privileged (or any truly privileged information can be

  redacted) and are relevant to establishing the validity of North’s investigation the objections to

  Request Nos. 10, 12, 42, 43, and 66 should be overruled and the NRA should be compelled to

  produce responsive documents.

                             (3)      The Preservation Notice (RFP 57)



           186
               See ECF No. 18 at 31-33 (NRA’s First Amended Complaint describing extortion allegations in response
  to the NRA’s audit requests).
           187
               See Navigant, 220 F.R.D. at 478 (listing elements for offensive use waiver of attorney-client privilege).
           188
               See id.
           189
               See id.
           190
               See ECF No. 57, Ex. A-12 at 126:8-128:23 [APP 436].



  JOINT STATUS REPORT                                                                                         PAGE 48
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                        Page 56 of 112 PageID 10113



         In his deposition, LaPierre referenced a litigation hold letter (the “Preservation Notice”)

  that the NRA had purportedly received from the NRA’s general counsel instructing the NRA to

  preserve documents in anticipation of litigation.191 RFP No. 57 requests a copy of this letter in

  order to determine when it was sent and what it instructed the NRA to do or not do. Plaintiff has

  objected on privilege and relevance grounds.

         The Preservation Notice is relevant to this litigation for two reasons. First, it is relevant to

  knowing precisely which litigation the NRA was anticipating at the time the Preservation Notice

  was sent, which LaPierre was unable to answer during his deposition. As referenced above and in

  other motions, in October 2018, LaPierre made numerous affirmative claims to AMc about his

  intent to continue working with AMc and maintain the parties’ business relationship, which caused

  AMc to “re-up” for another year and invest in resources in furtherance of that relationship.192 Yet,

  in April 2019, LaPierre wrote the following letter stating that the NRA was anticipating litigation

  before the September 2018 board meetings, which was before the NRA had even done a single

  audit of AMc:

         The NRA and I have common legal interests in the litigation against Ackerman
         McQueen which crystallized before the September Board meeting and colored the
         discussion that day.193

         Thus, the date at which the NRA originally began anticipating litigation against AMc is

  critical because it would render false the statements and representations made by LaPierre to AMc

  (about continuing the business relationship) if the litigation hold letter indicated that the NRA was

  anticipating litigation against AMc prior to October 2018.




         191
             See ECF No. 57, Ex. A-12 at 52:22-53:15 [689-90].
         192
             See ECF No. 31 at 85 ¶ 28; ECF No. 80, Ex. B at ¶ 25 [APP 1176].
         193
             See ECF No. 81, Ex. A-44, Letter from LaPierre to Mark Dycio (Apr. 22, 2019) (emphasis added).

  JOINT STATUS REPORT                                                                                   PAGE 49
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                               Page 57 of 112 PageID 10114



           Second, in addition to knowing when the Preservation Notice was sent, it is also important

  to understand what instructions it contained. Concerns of document destruction have been present

  in this lawsuit, making it even more important for Defendants to understand what types of

  affirmative obligations the Preservation Notice imposed. For example, at the time LaPierre

  referenced the Preservation Notice, it was in the context of discussing his well-known method of

  keeping copious notes on yellow notepads, which he testified that he did not destroy and handed

  over to his attorneys.194 Although Defendants have requested these notes on several occasions, to

  date, Plaintiff have produced only a small amount, leading to concerns that they had been

  destroyed.195

           Likewise, one of the highest ranking NRA officials testified that the NRA’s general counsel

  actually advised her to destroy certain records and that, upon this advice, she shredded and burned

  those documents.196 Thus, with the outstanding concerns about document production, AMc is

  entitled to discovery, whether this Preservation Notice was actually sent at all, when it was sent,

  and what conduct it prescribed. Defendants ask the Court to overrule Plaintiff’s objections and

  order production of the Preservation Notice.

           2. Plaintiff’s Position.

           As Defendants recognize, “parties may obtain discovery regarding any nonprivileged

  matter that is relevant to any party’s claim or defense . . . .” pursuant to Federal Rule of Civil

  Procedure 26(b).197 But, Defendants may not ignore the stated limits to its right to obtain discovery:


           194
               See ECF No. 57, Ex. A-12 at 50:1-22 [APP 689].
           195
               This Motion does not seek production of these notepads at this time based on representations by Plaintiff’s
  counsel that additional documents will yet be produced.
           196
               See ECF No. 57, Ex. A-8 at 34:4-40:19 [APP 484-85].
           197
               Fed. R. Civ. P. 26(b)(1):
           Unless otherwise limited by court order, the scope of discovery is as follows: Parties may obtain discovery
  regarding any nonprivileged matter that is relevant to any party’s claim or defense and proportional to the needs of



  JOINT STATUS REPORT                                                                                           PAGE 50
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                             Page 58 of 112 PageID 10115



  Defendants may only obtain discovery of information that is (1) “nonprivileged,” and (2) “relevant

  to any party’s claim or defense.”198 Here, Defendants are seeking to compel production of

  documents that are clearly privileged, and also irrelevant to any of the claims and defenses at issue

  in this case.

          As set forth in the NRA’s Brief in Opposition to Defendants’ Motion to Compel,199

  Defendants again misinform the Court of the standard they must satisfy to prevail on their motion

  to compel. The Honorable J. Fish has specifically rejected Defendants’ theory that Plaintiff carries

  the initial burden to demonstrate that Defendants’ requests are impermissible. In particular, Judge

  Fish held in Spiegelberg Mfg., Inc. v. Hancock that a movant must first, “establish[] that its

  interrogatories and document requests are within the scope of permissible discovery.” Only then

  will “the burden shift[] to [Plaintiff] to show why discovery should not be permitted.”200

          First, it is incumbent on Defendants to limit their requests to information that is

  “nonprivileged,” according to Rule 26. A motion to compel production responsive to a discovery

  request which seeks “clearly privileged” information exceeds the “bounds of fair discovery,” and

  must be denied.201 Here, Defendants insist on requesting documents that are “clearly privileged.”

  And, while discovery is liberally permitted, “relevancy under Rule 26 is not without bounds.”202




  the case, considering [among other things] . . . the importance of the discovery in resolving the issues, and whether
  the burden or expense of the proposed discovery outweighs its likely benefit.
           198
               Id.
           199
               ECF No. 48, p. 10.
           200
               Spiegelberg Mfg., Inc. v. Hancock, No. 3-07-CV-1314-G, 2007 WL 4258246, at *1 (N.D. Tex. Dec. 3,
  2007) (citing Corrigan v. Methodist Hospital, 158 F.R.D. 54, 56 (E.D. Pa.1994); Amcast Industrial Corp. v. Detrex
  Corp., 138 F.R.D. 115, 118 (N.D. Ind. 1991); but see Merrill v. Waffle House, Inc., 227 F.R.D. 475, 477 (N.D. Tex.
  2005) (Lynn, J.), quoting McLeod, Alexander, Powel and Apffel, P.C. v. Quarles, 894 F.2d 1482, 1485 (5th Cir. 1990)).
           201
               In RE/MAX Int’l, Inc. v. Trendsetter Realty, LLC, No. CIV.A. H-07-2426, 2008 WL 2036816, at *7 (S.D.
  Tex. May 9, 2008).
           202
               See Bredemus v. Int’l Paper Co., 252 F.R.D. 529, 533 (D. Minn. 2008) (citing Archer Daniels Midland
  Co. v. Aon Risk Services, Inc. of Minnesota, 187 F.R.D. 578, 589 (D. Minn. 1999)).



  JOINT STATUS REPORT                                                                                        PAGE 51
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                         Page 59 of 112 PageID 10116



  Courts are rightfully reluctant to “allow any party to ‘roam in the shadow zones of relevancy and

  to explore matter which does not presently appear germane on the theory that it might conceivably

  become so.’”203

          Here, Defendants seek to compel the production of documents relating to Forensic Risk

  Alliance’s audit of Defendants’ records; documents concerning Brewer Attorneys & Counselors’

  (“BAC”) relationship with its client, the NRA; and the litigation-hold notice prepared by BAC and

  issued to the NRA in connection with this litigation. As is more fully set forth below, the requested

  documents would require disclosure of privileged information, and Defendants fail to set forth

  why such documents are even relevant to the claims and defenses at issue in this case.

          In support of their relevance argument, Defendants insist that the animating principle

  behind the NRA’s lawsuit is a vicious inter-familial power struggle. This is not true. However,

  even if it were remotely true, and even if evidence existed in the NRA’s files that could prove that

  theory correct, the information would nevertheless remain outside of the scope of discovery

  because its presentation could not aid the Court in resolving any dispute which is actually before

  this Court.

          Indeed, Defendants’ dramatic spin on this family story does not render “relevant” the

  immaterial information targeted by Defendants’ sweeping demands for extraneous information.

  The targeted information may be relevant to components of Defendants’ story, but none of their

  Requests have any bearing on the legal claims or defenses that are pled in this litigation.

          The resolution of the claims or defenses actually at issue in this case cannot possibly be

  aided204 by, for example, documents regarding the NRA’s retention of its chosen counsel, BAC;



          203
              See id.; Carlson Cos., Inc. v. Sperry & Hutchinson Co., 374 F. Supp. 1080, 1080 (D. Minn. 1974).
          204
              In re CSX Corp., 124 S.W.3d at 152 (“Although the scope of discovery is broad, requests must show a
  reasonable expectation of obtaining information that will aid the dispute’s resolution.”).

  JOINT STATUS REPORT                                                                                   PAGE 52
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                  Page 60 of 112 PageID 10117



  legal fees paid to its counsel for this matter and other, wholly unrelated matters; or documents

  concerning the perceived familial conflict of interest and communications between the McQueen

  family concerning the litigation. Moreover, as the court in the related Virginia Action decided, the

  Forensic Risk Alliance documents sought by defendants are squarely protected from disclosure as

  attorney opinion work product.

         For these reasons, this Court should deny Defendants’ Motion to Compel.

                 a.      Defendants’ Motion Should Be Denied As To Defendants’ Requests For
                         Privileged Information.

         The NRA’s objections as to Requests No. 10, 12, 42, 43, 47, 57, 66, and 101 should be

   sustained because these requests seek clearly privileged information.

                         (1)    The Documents Defendants Seek Regarding The FRA Audit Of
                                AMc Are Privileged (Requests No. 47, 101).

         Defendants seek to revive an already failed argument that Defendants Ackerman and

  Mercury previewed in the Virginia litigation. In the now-stayed Virginia case, Defendants

  challenged the NRA’s assertion that documents generated by Forensic Risk Alliance (“FRA”) – a

  forensic accounting firm retained by counsel to assess Ackerman’s compliance with the parties’

  Services Agreement – are protected from disclosure by the attorney client privilege and the work

  product doctrine. The Virginia Court largely rejected Defendants’ argument.

         In the Virginia action, as here, Defendants argued that the NRA had placed FRA’s

  privileged communications and related work product “at issue” in the case. The Court rejected

  Defendants’ argument, because no “at issue” waiver can occur unless “the advice of counsel is




  JOINT STATUS REPORT                                                                         PAGE 53
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                              Page 61 of 112 PageID 10118



  [only] placed in issue.” The advice is not placed at issue unless Plaintiff attempts to prove a “claim

  or defense by disclosing or describing an attorney client communication.”205

           The Court found no “at issue” waiver. The NRA established before the Court in Virginia

  that (1) it did not offer or rely on, and did not intend to offer or rely in the future on, any of the

  privileged or work-product protected opinions and conclusions generated by FRA, in order to

  prove the NRA’s causes of action. Defendants’ reliance on Navigant Consulting v. Wilkinson does

  not alter the analysis: the NRA likewise has not and will not place “at issue” any protected in order

  to secure “affirmative relief.”206 Moreover, factual assertions regarding (1) which documents

  Ackerman showed to FRA, and (2) the extent of Ackerman’s cooperation with FRA, could not

  effect a waiver, because only disclosure of protected information can work a waiver; facts, as a

  rule, are not protected.”207 In addition, the NRA argued that it possessed the absolute right to

  protect opinion work product from discovery, even if a waiver had occurred.208 Following oral

  argument, the Court agreed with the NRA and found no “at issue” or affirmative waiver, and

  sustained the NRA’s claim privilege assertion with respect to privileged communications and




           205
                Rhone-Poulenc Rorer Inc. v. Home Indem. Co., 32 F.3d. 851, 863 (3d Cir. 1994) (holding that “[a]dvice
  is not in issue merely because it is relevant” to the claims and defenses in the litigation); TaxRight, LLC v. SICPA
  Product Sec., LLC, No. 3:12CV657, 2013 WL 3791487 at *4 (E.D. Va. 2013) (applying Rhone-Poulenc to find no
  “at issue” waiver); MeadWestvaco Corp. v. Rexam, PLC, No. 1:10CV511 GBL/TRJ, 2011 WL 2938456 at *4-6 (E.D.
  Va. July 18, 2011) (reaching same result as Rhone-Poulenc and Tax-Right in the context of the work-product doctrine).
            206
                Navigant Consulting v. Wilkinson, 220 F.R.D. 467, 478 (N.D. Tex. 2004) (denying motion to pierce
  privilege). As the Supreme Court of Virginia has recognized, “[w]aiver of the attorney-client privilege should not be
  found in every instance in which upholding the protections of confidentiality or privilege may unfairly become an
  obstacle to the truth, because such an expansive view of waiver would defeat the salutary purpose of the attorney-
  client privilege.” Walton v. Mid-Atlantic Spine Specialists, 694 S.E. 2d 545, 554 (Va. 2010).
            207
                See Plf.’s Memo. of Law in Opp. to Def.’s Mot. to Compel Production of Documents From FRA, dated
  Nov. 8, 2019, Virginia Case, attached to ECF No. 70, Ex. F to the Collins Decl. (APP.282-397) at pp. 3-13,
  incorporating legal authorities, arguments, and evidence here by reference.
            208
                Id. at pp. 18-19. See In re Martin Marietta Corp., 856 F.2d 619, 626 (4th Cir. 1988) (“We think that when
  there is subject matter waiver, it should not extend to opinion work product.”).



  JOINT STATUS REPORT                                                                                          PAGE 54
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                            Page 62 of 112 PageID 10119



  opinion work product. The Court ordered the NRA to produce fact work product only.209

  Defendants should not be permitted a “second run” at arguments that were fully briefed, and

  rejected, in the Virginia action.

          As a result of the Virginia Court’s rulings, both FRA and the NRA reviewed the documents

  listed on the FRA-related privilege log, and produced factual work product documents and other

  nonprivileged FRA-related documents. These were produced to Defendants in this litigation on

  January 30, 2020, along with an updated privileged log.210 In light of the NRA and FRA’s

  production and the limitations on the FRA-related documents withheld (and the identification of

  all such withheld documents on a privilege log), pursuant to the Virginia Court’s Order, the NRA

  submits that it has satisfied its discovery obligations as to these Requests.

          Therefore, this Court should deny Defendants’ Motion to Compel as to these FRA requests.

                            (2)      The Documents Defendants Seek Regarding BAC’s
                                     Relationship With The NRA Are Privileged (Requests Nos. 10,
                                     12, 42, 43 and 66).

          Documents concerning the legal tasks for which Plaintiff has been billed and legal bills

  themselves, and the vetting of BAC legal bills by the NRA’s General Counsel and others

  (Requests No. 43, 66 and 12, respectively) are “clearly privileged,” and have no connection to

  any party’s claims or defenses. This is especially true regarding BAC’s bills and their vetting by

  the NRA for the NRA’s other, unrelated, legal matters (Requests No. 43 and 66). Moreover,

  Defendants’ requests targeting the NRA’s confidential settlement agreement in connection with a

  wholly unrelated matter also seeks information that is confidential (Requests No. 42). And,

  Defendants fail to mention that Defendants already possess information responsive to the NRA’s



          209
             See Nov. 13, 2019 Hr’g Tr. at 78:16-21, Virginia Case, attached ECF No. 70 as Ex. G to the Collins Decl.
  (APP.398-483).
         210
             See Collins Decl., at ¶ 9.

  JOINT STATUS REPORT                                                                                       PAGE 55
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                            Page 63 of 112 PageID 10120



  vetting of BAC’s legal fees. Indeed, multiple NRA witnesses have already testified that an NRA

  attorney personally knew and proposed retaining Mr. Brewer as the NRA’s counsel, and that

  counsel’s bills were scrutinized by Plaintiff’s General Counsel, the Chief Financial

  Officer/Treasurer.211

          Defendants’ Request No. 43 is also facially overbroad and creates an undue burden

  warranting denial of Defendants’ Motion.212 Request No. 66 has no bearing on the claims at issue

  in this matter, either. “Documents and communications relating to payments made (a) by the NRA

  Foundation to (b) Brewer or the Brewer Firm”, are wholly unrelated to the specific allegations

  included in Defendants’ counterclaims.

          The NRA also stands on its objections to Request No. 10, which improperly seeks

  documents regarding supposed conflicts of interest between the NRA and BAC that have no

  bearing on this case. Indeed, Defendants already briefed their concerns with the supposed conflict

  in their Motion to Disqualify Plaintiff’s Counsel, which this Court appropriately rejected. The

  attack on BAC is simply a pretext for obtaining privileged documents.

          Defendants’ efforts to sweep other sensitive legal proceedings into the discovery pool

  hinge on the same tenuous theory that all of the NRA’s litigation is material to the instant lawsuit

  to the extent that the NRA utilizes counsel despised by Defendants: BAC. The NRA will not

  produce documents relating to fees paid by the NRA to its counsel, BAC, in connection with

  litigation to which Defendants are not parties and in which they have no interest. Not one of these



          211
                Compare Defendants’ Brief in Support of Motion to Compel, ECF No. 55 at p. 9 & n. 14 with ECF No.
  57, Ex. A-8 at 109:20-110:3, 130:10-131:4, 262:6-14 (APP503) (Meadows Dep.); Ex. A-12 at 155:22-157:7, 159:3-
  6, 164:25-165:12, 168:5-25, 190:12-191:23 (APP715-718, 724) (LaPierre Dep.).
            212
                See, generally, Samsung Elcs. Am. Inc. v. Yang Kun “Michael” Chung, 325 F.R.D. 578, 594-95 (N.D.
  Tex. 2017) (the Court determines that requests are facially overbroad and seek a scope of documents and information
  that is not proportional to the needs of the case).



  JOINT STATUS REPORT                                                                                       PAGE 56
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                              Page 64 of 112 PageID 10121



  distinct legal matters, nor any of the NRA’s actions to protect itself from conflicts of interest, were

  “developed by a resentful son-and-law and business competitor acting in that capacity,” one of

  Defendants’ principal relevance theories.213 Again, the NRA’s counsel is not a party to this

  litigation. Further, Defendants’ allegation that the NRA’s legal counsel poses a competitive threat

  to Ackerman’s business has already been rejected by this Court when Defendants’ motion to

  disqualify Plaintiff’s counsel was denied.

                             (3)      The Document Preservation Notice Prepared By BAC Is
                                      Privileged (Request No. 57).

           Finally, courts have recognized that document preservation notices prepared by counsel

  are generally privileged.214 Here, Defendants have not shown how these documents are relevant to

  the Parties’ claims and defenses in this action to overcome the presumed privilege. For this reason

  alone, Defendants’ Motion to Compel documents responsive to Request No. 57 should be denied.

           Additionally, Defendants only now allege that they are concerned with document retention

  activities at the NRA as it pertains to this lawsuit, given Ms. Carolyn Meadow’s testimony

  regarding management of her own documents. As Defendants themselves concede, however,

  Defendants have already obtained information regarding this incident, by questioning Ms.

  Meadows herself during a deposition.

           Defendants’ contention that they are also concerned that Mr. LaPierre’s notes have been

  destroyed is utterly baseless. Notably, counsel for Defendants did not raise this concern during the

  various conferences held in order to resolve the issues made the subject of this Report. This is


           213
               See Defendants Brief in Support of Motion to Compel, ECF No. 55, at p. 8.
           214
               See Gulf Coast Facilities Mgmt., L.L.C. v. BG LNG Servs., L.L.C., No. CV 09-3822, 2010 WL 11707290,
  at *3 (E.D. La. Mar. 24, 2010) (explicitly holding that communications between attorneys regarding the drafting of a
  litigation hold are privileged from document production); Cargo v. Kansas City S. Ry. Co., No. CIV.A. 05-2010, 2011
  WL 1234391, at *2 (W.D. La. Apr. 1, 2011)(discusses litigation hold letter is privileged under work product doctrine);
  Retractable Techs. Inc. v. Abbott Labs., Inc., No. 5:05-CV-157, 2010 WL 11531179, at *4 (E.D. Tex. May 20, 2010)
  (holding that certain facts or questions regarding a litigation hold were privileged from production).

  JOINT STATUS REPORT                                                                                         PAGE 57
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                            Page 65 of 112 PageID 10122



  likely because, had Defendants raised these supposed concerns, counsel for the NRA would have

  immediately assured Defendants that no such documents have been destroyed. In fact, as

  Defendants are well aware, the NRA has produced hundreds of pages of Mr. LaPierre’s

  handwritten notes already. Additional notes are forthcoming in upcoming productions. To assume

  that because such documents have purportedly “not been produced”, and therefore they may have

  been destroyed is yet another reckless attempt to distract from the real issues before this Court.

          Thus, not only does Request No. 57 request information that is “clearly privileged,” but

  Defendants’ basis for requesting the NRA’s litigation hold documents is unsupported.

                            (4)      The Crime-Fraud Exception Does Not Apply Here.

          Defendants, again, invoke the crime fraud exception but fail to meet the heavy burden to

  show that privileged communications were “in furtherance of the contemplated or ongoing

  criminal activity.”215

          In fact, Defendants only allege fraud against third party defendant Mr. LaPierre,216 and

  only assert fraud as an affirmative defense with respect to Mr. LaPierre’s direct communications

  with Ackerman.217 Having failed to even allege fraud against the NRA, Defendants are not

  permitted to “roam in the shadow zones of relevancy and to explore matter which does not

  presently appear germane on the theory that it might conceivably become so.”218




          215
                In re Grand Jury Subpoena, 419 F.3d 329, 343 (5th Cir. 2005); United States v. Dyer, 722 F.2d 174, 178
  (5th Cir. 1983) (“We hold that only when the Government can by competent evidence establish a prima facie case that
  an attorney was being used in the commission of a crime is there no privilege.”).
            216
                See ECF No. 31 at p. 113, ¶¶ 135-137.
            217
                See ECF No. 31 at p. 76, ¶ 205.
            218
                Bredemus v. Int’l Paper Co., 252 F.R.D. 529, 533 (D. Minn. 2008) (citing Archer Daniels Midland Co. v.
  Aon Risk Services, Inc. of Minnesota, 187 F.R.D. 578, 589 (D. Minn. 1999)); Carlson Cos., Inc. v. Sperry &
  Hutchinson Co., 374 F.Supp. 1080, 1080 (D. Minn. 1974).



  JOINT STATUS REPORT                                                                                        PAGE 58
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                                Page 66 of 112 PageID 10123



           Consistent with other courts in this Circuit and elsewhere, Defendants’ overbroad and

  unsupported challenge dooms the privilege challenge at the outset.219 Defendants have made no

  such showing because Defendants’ argument that the privileged documents are discoverable under

  the “crime-fraud” exception must fail.

                    b.       Defendants Motion Should Be Denied As To Defendants’ Requests For
                             Information That Have No Bearing On The Parties’ Claims And
                             Defenses.

           Defendants claim that certain Requests regarding Plaintiff’s counsel are relevant because

  this and the related Virginia action were “developed by a resentful son-in-law and business

  competitor acting in that capacity.”220 Indeed, no property, contract or tort claim actually pled by

  any party can be illuminated by discovery of, for example: attorney’s fees received by BAC in

  connection with the Lockton lawsuit. Defendants’ theory that these requests are relevant because

  retention of BAC as counsel for the NRA in this case per se tainted this litigation and rendered it

  a “meritless lawsuit,” is both baseless and irrelevant to the actual claims and defenses at issue in

  this case.221

           Again, information is only discoverable if it “appear[s] germane.”222 That standard requires

  Defendants to prove that the information they seek “show[s] a reasonable expectation of obtaining

  information that will aid the dispute’s resolution.”223 Defendants insist that the animating principle




            219
                In re BankAmerica Corp. Secs. Litig., 270 F.3d 639, 642 (8th Cir. 2001) (“A moving party does not satisfy
  this threshold burden merely by alleging that a fraud occurred and asserting that disclosure of any privileged
  communications may help prove the fraud. There must be a specific showing that a particular document or
  communication was made in furtherance of the client’s alleged crime or fraud.”); United States v. White, 887 F.2d
  267, 271 (D.C. Cir. 1989) (“The crime-fraud exception has a precise focus”).
            220
                Defendants’ Brief in Support of Motion to Compel, ECF No. 55 at p. 8.
            221
                See Defendants’ Brief in Support of Motion to Compel, ECF No. 48 at pp. 2, 8.
            222
                Carlson Cos., Inc. v. Sperry & Hutchinson Co., 374 F.Supp. 1080, 1080 (D. Minn. 1974).
            223
                In re CSX Corp., 124 S.W.3d 149, 152 (Tex. 2003) (emphasis added) (“Although the scope of discovery
  is broad, requests must show a reasonable expectation of obtaining information that will aid the dispute’s resolution.”).



  JOINT STATUS REPORT                                                                                            PAGE 59
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                              Page 67 of 112 PageID 10124



  behind the NRA’s lawsuit is a vicious inter-familial power struggle. This is not true. However,

  even if it were remotely true, and even if evidence existed in the NRA’s files that could prove that

  theory correct, the information would nevertheless remain outside of the scope of discovery

  because its presentation could not aid the Court in resolving any dispute which is actually before

  this Court. Defendants aside, “no one would suggest that discovery should be allowed of

  information that has no conceivable bearing on the case.”224 “[T]he requirement of Rule 26(b)(1)

  that the material sought in discovery be ‘relevant’ should be firmly applied, and the district courts

  should not neglect their power to restrict discovery. . . . [and] judges should not hesitate to exercise

  appropriate control over the discovery process.”225

           For all the above reasons, Defendants’ Motion to Compel Plaintiff’s Document Production

  and Motion for Sanctions should be denied in its entirety and NRA should be granted all

  appropriate relief.

                                                    IV.
                                             PRAYER FOR RELIEF

  A.       Plaintiff.

           For all the reasons stated above, the Court should grant the NRA’s Motion to Compel with

  regards to responses to Requests Nos. 1, 2 and 4, order production of documents responsive to

  Requests Nos. 1, 2 and 4 within 45 days, and award the NRA reasonable attorney’s fees and

  expenses for bringing this Motion.

           Plaintiff requests that this Court deny Defendants’ Motion to Compel in its entirety.




           224
               8 Fed. Prac. & Proc. Civ. § 2008 (3d ed.). See also Jones v. Metzger Dairies, Inc., 334 F.2d 919, 925 (5th
  Cir. 1964) (In permitting “full and complete discovery,” it is necessary that the “process must be kept within workable
  bounds on proper and logical basis for determination of relevancy of that which is sought to be discovered.), cert.
  denied, 379 U.S. 965, 85 S. Ct. 659, 13 L. Ed. 2d 559 (1965).
           225
               Herbert v. Lando, 441 U.S. 153, 177, 99 S. Ct. 1635, 1649, 60 L. Ed. 2d 115 (1979).

  JOINT STATUS REPORT                                                                                          PAGE 60
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                    Page 68 of 112 PageID 10125



         Plaintiff further requests that this Court grant Plaintiff any other relief, at law or in equity,

  to which Plaintiff may be justly entitled.

  B.     Defendants.

         Defendants respectfully request this Court grant their Motion, and overrule the NRA’s

  objections and compel the NRA to produce documents responsive to Request Nos. 10, 12, 42, 43,

  47, 57, 66, 90, and 101, including the documents listed on the FRA privilege log.

         Defendants request this Court deny the NRA’s Motion.

         Defendants further request the Court grant Defendants any other relief, at law or in equity,

  to which they may be justly entitled.


  Dated: October 23, 2020                                Respectfully submitted,

                                                         BREWER, ATTORNEYS &
                                                         COUNSELORS


                                                    By: /s/ Michael J. Collins
                                                         Michael J. Collins
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                                                         mjc@brewerattorneys.com
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                                                         Dallas, Texas 75201
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                                                         ATTORNEYS FOR PLAINTIFF THE
                                                         NATIONAL RIFLE ASSOCIATION OF
                                                         AMERICA AND THIRD-PARTY
                                                         DEFENDANT WAYNE LAPIERRE




  JOINT STATUS REPORT                                                                            PAGE 61
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20   Page 69 of 112 PageID 10126



                                           /s/ Brian E. Mason
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                                           MERCURY GROUP, INC., HENRY
                                           MARTIN, JESSE GREENBERG,
                                           WILLIAM WINKLER, AND MELANIE
                                           MONTGOMERY




  JOINT STATUS REPORT                                                      PAGE 62
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                 Page 70 of 112 PageID 10127



                               CERTIFICATE OF CONFERENCE

         I hereby certify that counsel for Defendants (Brian E. Mason, Christina M. Carroll, and

  Kelsey M. Taylor) and counsel for Plaintiff (Michael J. Collins, Alessandra P. Allegretto, and

  Claudia V. Colón) conferred by telephone conference on the following dates and times, concerning

  the merits of this Joint Status Report: October 1, 2020, at 4:00p.m. Central Time for approximately

  one hour; October 9, 2020 at 4:00p.m. Central Time for approximately 45 minutes; and, October

  14, 2020 at 11:00a.m. Central Time for approximately 35 minutes. Counsel for the Parties

  considered the nature and basis of their claims and defenses to the arguments made herein, and

  jointly developed this Report.


                                                              /s/ Brian E. Mason
                                                              Brian E. Mason




                                   CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing document was served upon

  counsel of record in accordance with the Federal Rules of Civil Procedure.

                                                              /s/ Brian E. Mason
                                                              Brian E. Mason




  JOINT STATUS REPORT                                                                        PAGE 63
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20   Page 71 of 112 PageID 10128




                            EXHIBIT A
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20               Page 72 of 112 PageID 10129



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION


  NATIONAL RIFLE ASSOCIATION OF                  §
  AMERICA,                                       §
                                                 §
         Plaintiff and Counter-Defendant,        §
                                                 §
  and                                            §
                                                 §
  WAYNE LAPIERRE,                                §
                                                 §
         Third-Party Defendant,                  §
                                                 §
  v.                                             § Civil Action No. 3:19-cv-02074-G
                                                 §
  ACKERMAN MCQUEEN, INC.,                        §
                                                 §
         Defendant and Counter-Plaintiff,        §
                                                 §
  and                                            §
                                                 §
  MERCURY GROUP, INC., HENRY                     §
  MARTIN, WILLIAM WINKLER,                       §
  MELANIE MONTGOMERY, and JESSE                  §
  GREENBERG,                                     §
                                                 §
         Defendants.                             §


   DECLARATION OF MICHAEL J. COLLINS IN SUPPORT OF THE JOINT STATUS
   REPORT IN CONNECTION WITH THE PARTIES’ MOTIONS TO COMPEL (ECF 47
                                & 54)

         I, Michael J. Collins, declare under penalty of perjury pursuant to 28 U.S.C. § 1746, that

  the following is true and correct:

         1.      I respectfully submit this declaration in support of Plaintiff The National Rifle

  Association (the “NRA”) and Third-Party Defendant Wayne LaPierre’s (“LaPierre”) Joint Status

  Report on the Parties’ Motions to Compel.



                                                 1

                                                                                        APP001
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                     Page 73 of 112 PageID 10130



         2.         I am a partner with the law firm Brewer, Attorneys & Counselors (“BAC”).

         3.         I serve as counsel of record for the NRA and LaPierre in the above-captioned action

  (the “Action”).

         4.         I am fully competent and qualified in all respects to make this Declaration. The

  facts stated herein are true and correct, and unless otherwise qualified, are within my personal

  knowledge.

         5.         As counsel for the NRA and LaPierre, I have reviewed pleadings, and other

  documents related to this Action, and I am familiar with, and have personal knowledge of, the facts

  and circumstances of this case, unless otherwise stated herein.

         6.         Attached to this declaration is a true and correct copy of the following document:

                    a. Email from Alessandra P. Allegretto to Brian E. Mason, dated September 16,

                       2020, attached as Exhibit A.

         7.         Defendants served Volume 3 of their document production on the NRA on the

  evening of October 22, 2020, containing 9,526 documents. The NRA has not had a reasonable

  opportunity to meaningfully review Defendants’ latest production prior to the filing of the Joint

  Status Report.

         8.         As to Defendants’ request for documents relating to Forensic Risk Alliance

  (“FRA”) review of Ackerman McQueen, Inc.’s (“AMc”) records, those documents have already

  been produced to Defendants. Indeed, the documents were produced to Defendants in this litigation

  on January 30, 2020. Any documents that were withheld from Defendants on the basis of privilege

  were listed in an updated privileged log that was concurrently provided to Defendants.

         9.         I declare under penalty of perjury that the foregoing is true and correct.




                                                      2

                                                                                                 APP002
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20          Page 74 of 112 PageID 10131



  Executed this 23rd day of October 2020.

                                                /s/ Michael J. Collins
                                                Michael J. Collins




                                            3
  4849-2903-7775.4                                                           APP003
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20   Page 75 of 112 PageID 10132




                            EXHIBIT A-1
               Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                 Page 76 of 112 PageID 10133





From:                     Alessandra Allegretto
Sent:                     Wednesday, September 16, 2020 11:04 AM
To:                       mason.brian@dorsey.com
Cc:                       Michael Collins; Krystal R. Hughes; Claudia Colon Garcia-Moliner; gruber.mike@dorsey.com;
                          Taylor.Kelsey@dorsey.com; carroll.christina@dorsey.com
Subject:                  NRA Privilege Log- Exchange Request


Brian,

In response to AMc’s requests for production, the NRA has completed an initial draft of its privilege log. Please let us
know when AMc will have its privilege log prepared and ready to exchange with the NRA.

Best,
Ally

Ally Allegretto| Associate
Brewer, Attorneys & Counselors
1717 Main Street, Suite 5900
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                                                                1
                                                                                                            APP004
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20   Page 77 of 112 PageID 10134




                            EXHIBIT B
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20               Page 78 of 112 PageID 10135



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

  NATIONAL RIFLE ASSOCIATION OF        §
  AMERICA,                             §
                                       §
      Plaintiff and Counter-Defendant, §
                                       §
  and                                  §
                                       §
  WAYNE LAPIERRE,                      §
                                       §
      Third-Party Defendant,           §
                                       §
  v.                                   §                    Case No. 3:19-cv-02074-G
                                       §
  ACKERMAN MCQUEEN, INC.,              §
                                       §
      Defendant and Counter-Plaintiff, §
                                       §
  and                                  §
                                       §
  MERCURY GROUP, INC., HENRY           §
  MARTIN, WILLIAM WINKLER,             §
  MELANIE MONTGOMERY, AND JESSE §
  GREENBERG,                           §
                                       §
      Defendants.

                           DECLARATION OF BRIAN E. MASON

         Pursuant to 28 U.S.C. § 1746, I, Brian E. Mason, hereby declare as follows:

         1.     My name is Brian E. Mason. I am over eighteen years of age. I have never been

  convicted of a felony or misdemeanor involving moral turpitude. I am fully competent to make

  this declaration. I am a lawyer at Dorsey & Whitney, LLP (“Dorsey”) and counsel of record for

  Ackerman McQueen, Inc. (“AMc”), Mercury Group, Inc. (“Mercury”), Henry Martin (“Martin”),

  William Winkler (“Winkler”), Melanie Montgomery (“Montgomery”), and Jesse Greenberg

  (“Greenberg”) (collectively, “Defendants”) in the above-captioned matter (the “Texas Lawsuit”).




  DECLARATION OF BRIAN E. MASON                                                          PAGE 1
                                                                                       APP005
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                 Page 79 of 112 PageID 10136



  I was also admitted pro hac vice representing AMc and Mercury Group in the following lawsuits

  in Virginia: National Rifle Association of America v. Ackerman McQueen, Inc., et al., Case Nos.

  CL19002067, CL19001757, and CL19002886, in the Circuit Court for the City of Alexandria,

  Virginia (collectively, the “Virginia Lawsuits”), which have now been stayed pending the

  outcome of the instant action in the Northern District of Texas. I have personal knowledge of the

  facts set forth in this declaration and acknowledge them to be true and correct.

         2.      In responding to the NRA’s many and voluminous requests in the Texas Lawsuit

  and the Virginia Lawsuits, Defendants have collected data from 28 custodians, totaling more than

  2.5 million documents. Defendants reviewed 85,000 documents before the filing of the Texas

  Lawsuit. Since then, Defendants have reviewed hundreds of thousands of those documents by

  initially hiring 30 contract attorneys to review in a matter of weeks what would otherwise have

  taken a legal team months to complete. Defendants’ legal team has continued to review tens of

  thousands of documents to determine responsiveness and applicability to Plaintiff’s 214 document

  requests in the Texas Lawsuit. To date, as part of its document collection, review, and production,

  AMc has incurred expenses well over $350,000.

         3.      AMc and Mercury produced more than 18,000 documents in the Virginia Lawsuits

  (approximately 60,000 pages), virtually all of which have been requested by the NRA or are at

  issue in the Texas Lawsuit. For example, AMc has produced documents relating to NRATV,

  analytics, the extortion allegations, audits, and billing records, including more than 10,000 pages

  of time sheets, third-party invoices, and documents concerning the creation of NRATV. Counsel

  for AMc has told Plaintiff’s counsel numerous times that, given the similarities between the causes

  of action alleged in Texas and Virginia, Defendants consider the documents produced in the

  Virginia Lawsuits to be responsive to Plaintiff’s document requests in the Texas Lawsuit.




                                                   2
                                                                                          APP006
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                   Page 80 of 112 PageID 10137



         4.      Defendants have since made three supplemental productions totaling over 12,000

  documents and 45,000 pages: February 12, 2020 (580 documents), August 25, 2020 (2,322

  documents), and October 22, 2020 (9,526 documents). Defendants’ February production was

  relatively small because, at that time, the Court had not yet entered a Protective Order in the Texas

  Lawsuit providing for a two-tier designation procedure for protecting Defendants’ trade secret and

  confidential business information, which was already in place in the Virginia Lawsuits

         5.      Moreover, although Defendants believe that their document production has been

  substantially completed, due to the sheer volume of documents from the relevant custodians,

  Defendants are still working diligently to identify and produce additional documents and plan to

  continue to supplement with one or more subsequent productions. In conferring with Plaintiff’s

  counsel, counsel has likewise represented on at least two separate occasions during recent meet-

  and-confer telephone conferences that Plaintiff’s production is not yet substantially complete, and

  that Plaintiff, too, will continue to supplement its production in the future.

         6.      Furthermore, on various telephone conferences with Plaintiff’s counsel regarding

  the parties’ respective discovery disputes, I personally addressed certain issues now being raised

  in Plaintiff’s Motion to Compel. Specifically, on both October 9 and October 14, 2020, I raised

  the issue of the scope of Plaintiff’s requests (wherein Plaintiff requested documents from January

  1, 2015 through the present) and Defendants’ objections to this scope, a topic that was briefed as

  part of Plaintiff’s Motion to Compel and Defendants’ Response. We agreed that Defendants would

  comply with certain requests where the four-year lookback period may be relevant to Plaintiff’s

  claims. On other requests, I stood by the objections regarding overbreadth and relevance that

  Defendants’ had previously asserted, but I expressly invited Plaintiff’s counsel to identify specific

  requests for further discussion as to scope so that the parties could continue to work through any




                                                    3
                                                                                            APP007
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                Page 81 of 112 PageID 10138



  additional disputes.   To date, Plaintiff’s counsel has declined to confer about any specific

  document requests, other than those already agreed upon by Defendants.

         7.      To the best of my knowledge and understanding, and based on my personal

  knowledge of the documents obtained from my clients to date and the costs associated with

  reviewing those documents for production, I estimate that if Defendants were compelled to

  produce documents from January 1, 2015, and undergo the same review process observed for all

  of Plaintiff’s 214 document requests to date, this process would cost Defendants at least an

  additional $125,000.

         8.      Attached hereto as B-1 is a true and correct copy of the Memorandum of Law in

  Support of Defendant the National Rifle Association’s Motion to Dismiss, filed in the Supreme

  Court of the State of New York, County of New York, State v. National Rifle Association, No.

  451625/2020.

         9.      Attached hereto as B-2 is a true and correct copy of an email from Susan Dillon to

  Jerry Hansen, dated February 6, 2019 (NRA_AM_FRA_0001437) (filed under seal).

         10.     Attached hereto as B-3 is a true and correct copy of an email from Susan Dillon to

  Israel Jenyo, dated February 12, 2019 (NRA_AM_FRA_0001719) (filed under seal).

         11.     Attached hereto as B-4 is a true and correct copy of a calendar invite from Susan

  Dillon, dated February 13, 2019 (NRA_AM_FRA_0001765) (filed under seal).

         12.     Attached hereto as B-5 is a true and correct copy of an email from Susan Dillon,

  dated February 21, 2019 (NRA_AM_FRA_0002005) (filed under seal).

         13.     Attached hereto as B-6 is a true and correct copy of an email from Susan Dillon,

  dated February 6, 2019 (NRA_AM_FRA_0000106) (filed under seal).




                                                 4
                                                                                        APP008
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20            Page 82 of 112 PageID 10139



         14.     Attached hereto as B-7 is a true and correct copy of an FRA Evidence Report

  (NRA_AM_FRA_0000400) (filed under seal).

         I declare under penalty of perjury and in accordance with 28 U.S.C. § 1746 that the

  foregoing is true and correct.

         Executed this 23rd day of October, 2020.




                                                    Brian E. Mason




                                                5
                                                                                  APP009
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20   Page 83 of 112 PageID 10140




                            EXHIBIT B-1
FILED: NEW YORK COUNTY CLERK 10/19/2020 11:50 PM                           INDEX NO. 451625/2020
NYSCEF DOC. NO. 99                                                   RECEIVED NYSCEF: 10/19/2020
       Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20   Page 84 of 112 PageID 10141
                                                                    Motion Sequence 001

                           SUPREME COURT OF THE STATE OF NEW YORK
                                    COUNTY OF NEW YORK


          PEOPLE OF THE STATE OFNEWYORK,        §
          BY LETITIA JAMES, ATTORNEY            §
          GENERAL OF THE STATE OF NEW           §
          YORK                                  §
                                                § INDEX NO. 451625/2020
                        Plaintiff,              §
                                                §
          v.                                    §
                                                §
          THE NATIONAL RIFLE ASSOCIATION        §
          et al.,                               §
                                                §
                        Defendants.             §




                       MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT
                     THE NATIONAL RIFLE ASSOCIATION’S MOTION TO DISMISS




                                               William A. Brewer
                                               Sarah B. Rogers
                                               BREWER, ATTORNEYS & COUNSELORS
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                                               New York, New York 10022
                                               Telephone: (212) 489-1400
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                                               ATTORNEYS FOR DEFENDANT
                                               THE NATIONAL RIFLE ASSOCIATION




                                                                              APP010
                                           1 of 23
FILED: NEW YORK COUNTY CLERK 10/19/2020 11:50 PM                                                                                INDEX NO. 451625/2020
NYSCEF DOC. NO. 99                                                                                                   RECEIVED NYSCEF: 10/19/2020
       Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                                            Page 85 of 112 PageID 10142



                                                           TABLE OF CONTENTS

          TABLE OF CONTENTS .............................................................................................................. I
          TABLE OF AUTHORITIES ...................................................................................................... II
         PRELIMINARY STATEMENT ................................................................................................. 1
         STATEMENT OF FACTS ........................................................................................................... 4
             A.     THE NRA AND ITS CONSTITUTIONALLY PROTECTED PURPOSES .......................................... 4
             B.     NEW YORK STATE’S ANIMUS TOWARD THE NRA AND RELATED PENDING LITIGATION ..... 6
             C.     THE OTHER RELATED FEDERAL CASES ............................................................................. 10
             D.     THE DISSOLUTION ACTION ................................................................................................ 11
         ARGUMENT ............................................................................................................................... 11
         I. THIS ACTION SHOULD BE DISMISSED OR STAYED ON THE GROUNDS OF
         FORUM NON CONVENIENS. .................................................................................................. 11
             A.  RETAINING THIS ACTION IN THIS FORUM WOULD IMPOSE SUBSTANTIAL, UNNECESSARY
             BURDENS ON BOTH THE NRA AND THE COURT. ......................................................................... 12
             B. FEDERAL COURT PROVIDES A SUITABLE ALTERNATIVE FORUM FOR THE NYAG’S CLAIMS. 14
         II. THIS ACTION SHOULD BE DISMISSED BASED ON THE PENDENCY OF THE
         NRA-NYAG FEDERAL ACTION PURSUANT TO CPLR 3211(A)(4). .............................. 15
         III. DOCUMENTARY EVIDENCE ESTABLISHES THAT THE NYAG’S
         DISSOLUTION ACTION IS NONVIABLE IN NEW YORK COUNTY, WARRANTING
         DISMISSAL UNDER CPLR 3211(A)(1). ................................................................................. 17
         IV. IN THE ALTERNATIVE, A STAY IS WARRANTED UNDER CPLR 2201. ............ 18
         CONCLUSION ........................................................................................................................... 19




                                                                                                                                                   i


                                                                                                                                     APP011
                                                                        2 of 23
FILED: NEW YORK COUNTY CLERK 10/19/2020 11:50 PM                                                                                      INDEX NO. 451625/2020
NYSCEF DOC. NO. 99                                                                                                         RECEIVED NYSCEF: 10/19/2020
       Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                                                 Page 86 of 112 PageID 10143



                                                           TABLE OF AUTHORITIES


          Cases
         11 E. 68th St. LLC v. Madison 68 Realty LLC,
            2014 Slip. Op. 31872(U) (Sup. Ct. N.Y. Cnty. July 10, 2014) ................................................. 15
         342 West 30th Street Corp., v. Bradbury, 30 Misc.3d 132(A) (1 Dept 2011) .............................. 16
         A&S Med., P.C. v. ELRAC, Inc., 184 Misc.2d 257 (Civ. Ct. N.Y. Cnty. 2000) ........................... 12
         AIG Financial Products Corp. v. Penncara Energy, LLC, 83 A.D.3d 495 (1 Dept 2011) .......... 16
         Alden v Gambino, 53 Misc.3d 1204(A) (City Ct. Poughkeepsie Sept. 29, 2016) ........................ 16
         Asher v. Abbott Laboratories, 307 A.D.2d 211 (1 Dept. 2003) .................................................... 18
         Astarita v Acme Bus Corp., 55 Misc. 3d 767 (Sup. Ct. N.Y. Cnty. 2017).................................... 17
         Buzzell v. Mills, 32 A.D.2d 897 (1 Dept 1969) ............................................................................. 18
         Citigroup Glob. Markets, Inc. v. Metals Holding Corp., 45 A.D.3d 361 (1 Dept. 2007)............. 12
         Cooper v Mobil Oil Corp., 264 A.D.2d 578 (1 Dept 1999).......................................................... 17
         Croce v. Preferred Mut. Ins. Co., 35 Misc.3d 161 (Dist. Ct. Suffolk Co. 2011) .......................... 12
         CSSEL Bare Trust v. Phoenix Life Ins. Co., 2009 WL 741177 (N.Y. Sup. Ct. Mar. 11, 2009). .. 19
         Diagnostic Rehab. Med. Serv. v. Republic W. Ins. Co.,
            2003 WL 22888389 (N.Y. Civ. Ct. Nov. 19, 2003) ................................................................. 12
         Fry v. Village of Tarrytown, 89 N.Y.2d 714 (1997) ..................................................................... 16
         Islamic Republic of Iran v. Pahlavi, 62 N.Y.2d 474 (1984) ............................................. 11, 12, 14
         Jaber v. Elayyan, 168 A.D.3d 693 (2 Dept 2019) ........................................................................ 16
         Jack Vogel Associates v. Color Edge, Inc., N.Y. Slip Op. 31509(U) (New York County 2008) . 15
         Keehn v. S. & D. Motor Lines, Inc., 41 N.Y.S.2d 521 (Sup. Ct. N.Y. Cnty. 1943)...................... 17
         Leitner v. Sadhana Temple of New York, Inc., 2014 WL 12588643 (C.D. Cal. Oct. 17, 2014) ... 14
         Matter of Miller v Bd. of Assessors, 92 N.Y.2d 82 (1997) ........................................................... 15
         Morgan v. Maher, 50 Misc.2d 642 (Sup. Ct. Nassau Cnty. 1969) ............................................... 16
         Mosdos Chofetz Chaim, Inc. v. Village of Wesley Hills, 815 F. Supp. 2d 679 (S.D.N.Y. 2011).. 16
         Nutronics Imaging, Inc. v. Danan, 1998 WL 426570 (E.D.N.Y. 1998) ....................................... 14
         Parker v. 30 Wall St. Apartment Corp., 2015 WL 7906823 (1 Dept Dec. 4, 2015) ..................... 12
         Price v. Brown Group, 206 A.D.2d 195 (4 Dept 1994) ................................................................ 13
         Roseman v. McAvoy, 401 N.Y.S.2d 988 (N.Y. City Civ. Ct. 1978) ............................................. 12
         Silver v. Great Am. Ins. Co., 29 N.Y.2d 356 (1972) ..................................................................... 12


         Statutes

          28 U.S.C. § 1367 ........................................................................................................................... 15
          N-PCL § 102 ................................................................................................................................. 17
          N-PCL § 623 ................................................................................................................................. 11
          N-PCL § 1103 ............................................................................................................................... 11
          N-PCL § 1110 ............................................................................................................................... 17

          Rules
          CPLR 304...................................................................................................................................... 16
                                                                                                                                                         ii


                                                                                                                                            APP012
                                                                            3 of 23
FILED: NEW YORK COUNTY CLERK 10/19/2020 11:50 PM                                                                                     INDEX NO. 451625/2020
NYSCEF DOC. NO. 99                                                                                                        RECEIVED NYSCEF: 10/19/2020
       Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                                                Page 87 of 112 PageID 10144



          CPLR 306-a .................................................................................................................................. 15
          CPLR 327................................................................................................................................ 11, 15
          CPLR 2201.................................................................................................................................... 15
          CPLR 3020.......................................................................................................................... 4, 18, 19
          CPLR 3022.............................................................................................................................. 11, 15
          CPLR 3117.................................................................................................................................... 13
          CPLR 3211............................................................................................................................. passim

          Other Authorities
          4-2201 Weinstein-Korn-Miller ..................................................................................................... 18




                                                                                                                                                       iii


                                                                                                                                           APP013
                                                                           4 of 23
FILED: NEW YORK COUNTY CLERK 10/19/2020 11:50 PM                                                            INDEX NO. 451625/2020
NYSCEF DOC. NO. 99                                                                                 RECEIVED NYSCEF: 10/19/2020
       Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                             Page 88 of 112 PageID 10145
                                                                                                  Motion Sequence 001

                                               PRELIMINARY STATEMENT

                  Brought in the name of the State and ostensibly on behalf of the People (including,

          preposterously, on behalf of NRA members),1 this lawsuit is actually the capstone of a partisan

          election-interference project that has drawn fire from constitutional scholars, politicians and civil

          rights organizations across the ideological spectrum. Its proponent, Attorney General Letitia

          James, campaigned on defamatory and threatening assertions that the NRA was a “criminal

          enterprise” and “terrorist organization,” which she promised to dismantle using her office’s

          regulatory oversight powers. Her Complaint2 fails to support these allegations, and cannot dispute

          that the NRA expends significant resources in furtherance of its Second Amendment advocacy

          mission. Indeed, the NRA’s success at that mission has made it a target.

                  Shortly after taking office, James hastily delivered on her campaign promise by initiating

          a fishing expedition into the NRA’s finances and governance. By that time, the NRA had publicly

          and directly undertaken efforts to redress the same alleged abuses by a handful of faithless

          fiduciaries that James now purports to pursue derivatively. Indeed, although the New York State

          Office of the Attorney General (the “NYAG”) notably declines to name the agency as a defendant,

          the NRA commenced claims more than a year ago for fraud and breach of fiduciary duty against

          its former public relations firm, Ackerman McQueen (“Ackerman”), regarding several of the

          transactions alleged in the Complaint. Those claims have already withstood a motion to dismiss




          1
            Among other things, James purports to sue derivatively on behalf of NRA members. See Compl. ¶¶ 27, 577, 648
          (claiming without basis that Section 623 of the N-PCL authorizes the Attorney General to commence derivative
          actions on behalf of members; Section 623 makes no mention of the Attorney General). James cannot allege that the
          NRA’s millions of members wish for their century-old Association to be dismantled and its assets redistributed by
          New York State Democrats. Instead, the central objective of this lawsuit is to harm the NRA’s membership and its
          cause.
          2
           All references to the Complaint (“Compl.”) in this action refer to the Amended Complaint filed on August 10, 2020,
          Dkt. No. 11.



                                                                                                                           1
                                                                                                                 APP014
                                                              5 of 23
FILED: NEW YORK COUNTY CLERK 10/19/2020 11:50 PM                                                               INDEX NO. 451625/2020
NYSCEF DOC. NO. 99                                                                                    RECEIVED NYSCEF: 10/19/2020
       Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                                 Page 89 of 112 PageID 10146



          and are currently in the early stages of discovery (such litigation, the “Ackerman Litigation”).3

          The Ackerman Litigation is not the only federal lawsuit that overlaps with, and precedes, this one.

          On August 6, 2020 (before this lawsuit was commenced),4 the NRA sued James in the Northern

          District of New York for her politicized targeting of the NRA. That case (the “NRA-NYAG

          Federal Action”) is the second of two related cases filed in the Northern District regarding New

          York State’s unconstitutional hostilities against the NRA. The first, involving a financial-

          censorship campaign implemented through the New York Department of Financial Services, has

          withstood multiple motions to dismiss and is currently in discovery.5 Two additional federal

          lawsuits arising out of the same subject matter as the Complaint are pending in the Middle District

          of Tennessee6 and the Northern District of Texas.7 The NRA is presently filing an application to

          consolidate the majority of these federal cases (collectively, the “Related Federal Cases”) before

          the Judicial Panel on Multidistrict Litigation.

                     It is no coincidence that James’ lawsuit arrives in the wake of so much related litigation.

          Contrary to the Complaint’s disingenuous, unfounded allegation that seeking the cooperation of

          the NRA’s Board of Directors to ensure compliance with its own policies and procedures would

          be “futile,”8 the NRA has shouldered considerable burdens to place its governance and compliance

          programs beyond reproach. Faced with the threat of a smear campaign, the NRA nonetheless stood

          firm in its decision to fire and sue Ackerman. It has doggedly pursued internal compliance efforts,




          3
              Nat’l Rifle Ass’n of Am. v. Ackerman McQueen, et al., Civ. No. 3:19-cv-02074−G (N.D. Tx.).
         4
              This lawsuit was commenced on August 10, 2020, at the earliest. See discussion infra at 15-16.
         5
              Nat’l Rifle Ass’n of Am. v. Cuomo, Case No. 1:18-cv-00566-TJM-CFH (N.D.N.Y.).
         6
              Dell’Aquila, et al. v. Wayne LaPierre, et al., Civ. No. 3:19-cv-00679 (M.D. Tn.).
          7
              Ackerman McQueen v. Stinchfield, Civ. No. 3:19-cv-03016-X (N.D. Tx.).
         8
              Compl. ¶ 663.
                                                                                                                         2


                                                                                                                 APP015
                                                                 6 of 23
FILED: NEW YORK COUNTY CLERK 10/19/2020 11:50 PM                                                               INDEX NO. 451625/2020
NYSCEF DOC. NO. 99                                                                                    RECEIVED NYSCEF: 10/19/2020
       Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                              Page 90 of 112 PageID 10147



          brought in a new CFO, and fired executives (e.g., Defendant Powell) for the same conduct alleged

          by the NYAG. Not surprisingly, the corporate death sentence9 of dissolution has never been

         sought, or imposed, by New York State on facts even remotely resembling these. Instead,

         dissolution has historically (and rightly) been reserved for fraudulent, sham entities—e.g., a

          purported puppy rescue that was really a puppy mill;10 breast cancer charities that performed no

          such work;11 and a leukemia foundation that spent less than one percent of its revenue to help

          children suffering from cancer.12 Even where the NYAG can credibly allege insider self-dealing

          or lax oversight of charitable spending, it has traditionally targeted the individual tortfeasors and

          worked with the charities to reform their governance so that they could continue serving their

          corporate purposes.13 However, the NYAG has no interest in such efforts here, because thwarting

          the NRA’s corporate purpose is a career goal for James.



          9
           See People v. Oliver Schools, 206 A.D.2d 143 (4 Dept 1994) (quoting People v. North River Sugar Refining Co.,
          121 N.Y. 582, 608 (1890).
         10
           See Rogers Aff. Ex. 2 (Consent Order and Judgment, People v. Precious Pups Rescue, Inc., et al., Index No.
         17884/2014).
         11
          See Rogers Aff. Ex. 3 (Complaint and Consent Order and Judgment, People v. Mure Associates, L.P.., et al., Index
         No. 450190/2014).
         12
            See Rogers Aff. Ex. 4 (Complaint and the two executed Consent Order and Judgments, People v. The Nat’l
         Children’s Leukemia Foundation, et al., Index No. 508930/2014). Unsurprisingly (in light of the political context of
         this action), the NYAG has purported to liken this case to its recent dissolution action against the Trump Foundation.
         See id. Ex. 5 (transcript of James’ August 6, 2020 press conference) at 6-7. But that lawsuit, too, was starkly
         distinguishable—since it involved a 501(c)(3) entity, prohibited from engaging in political activity, which allegedly
         became a “checkbook” for a presidential campaign. See id. Ex. 6 (Petition, People v. Donald J. Trump et al., Index
         No. 451130/2018) ¶¶ 2, 106-108 (describing persistently fraudulent behavior under dissolution claim to consist of
         unpermitted political activity)).
         13
            See, e.g., Rogers Aff. 7 (NYAG press release noting settlement with the former president of NARAL Pro-Choice,
         who had been accused of self-dealing and intimidating board members into silence. A statement from NYAG counsel
         noted that “This office is committed to rooting out abuses of power in the charitable sector, holding wrongdoers
         accountable and working with nonprofit groups to help them tighten internal controls to prevent fraud and other illegal
         conduct.”); Ex. 8 (NYAG press release noting settlement with trustees of the Victor E. Perley fund following a
         “shocking” “breakdown in governance” that led to the loss of the fund’s entire $3.7 million portfolio. While the
         trustees faced fines, the non-profit was required only to reconstitute its board of directors with NYAG approval); Ex.
         9 (NYAG press release noting settlement with the former president of NYLAG for diverting millions from the charity,
         which required the charity to only agree “to enhance their policies and procedures to protect the charitable assets
         entrusted to their care.”).
                                                                                                                              3


                                                                                                                   APP016
                                                               7 of 23
FILED: NEW YORK COUNTY CLERK 10/19/2020 11:50 PM                                               INDEX NO. 451625/2020
NYSCEF DOC. NO. 99                                                                      RECEIVED NYSCEF: 10/19/2020
       Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                   Page 91 of 112 PageID 10148



                     Because this action is the latest-filed case in a cluster of related cases, it should be

          dismissed—or, in the alternative, stayed—on multiple grounds. First, considerations of forum non

          conveniens dictate that this lawsuit, which implicates dozens of out-of-state witnesses and

         documents, be litigated in the same federal forum as the NRA’s related constitutional claims.

         There is no reason the NYAG’s claims against the NRA cannot be adjudicated in federal court,

          and consolidation or coordination of this case with the NRA’s first-filed federal lawsuit would

          promote judicial economy, avoid inconsistent adjudications, and facilitate the voluminous,

          multistate discovery that inevitably awaits the parties. Second, because this case involves “the

          same parties” and, substantively, the “same cause of action” as an already-pending federal case,

          CPLR 3211(a)(4) provides an additional, independent ground for dismissal. Third, this action

          should be dismissed because the NYAG has failed to file in the statutorily required venue, which

          is Albany County. Fourth, the Court can, and should, stay this action pursuant to CPLR 2201 until

          the Related Federal Cases are resolved.

                                               STATEMENT OF FACTS

                 A. The NRA and Its Constitutionally Protected Purposes

                     The NRA was founded immediately following the Civil War “to promote the introduction

          of a system of army drill and rifle practice, as part of the military drill of the National Guard of

          [New York] and other states. . . .”14 For 149 years, it has operated as a New York not-for-profit

          membership corporation and has established itself as one of the largest, and oldest, civil rights

          non-profits in the country.15 As set forth in its bylaws, the NRA’s stated mission comprises five

          purposes and objectives, including protecting and defending the Constitutional right to keep and



          14
               Compl. ¶ 55.
          15
               Compl. ¶¶ 1, 57.
                                                                                                            4


                                                                                                   APP017
                                                         8 of 23
FILED: NEW YORK COUNTY CLERK 10/19/2020 11:50 PM                                                     INDEX NO. 451625/2020
NYSCEF DOC. NO. 99                                                                           RECEIVED NYSCEF: 10/19/2020
       Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                       Page 92 of 112 PageID 10149



          bear arms; promoting public safety, law and order, and the national defense; training members of

          law enforcement, the armed forces and citizens in marksmanship and small arms handling;

          fostering and promoting shooting sports; and promoting hunter safety and sport.16

                     Today, the NRA counts more than five million members.17 It employs hundreds of

          people,18 and encompasses 11 divisions, each overseen by the Executive Vice President.19 The

          NRA’s bylaws establish a 76-member board of directors, who exercise general oversight of the

          organization;20 the bylaws also establish a leadership structure of eight officers, six of whom are

          elected annually by the Board.21 Four of these officers are ex officio members of the board but lack

          voting power.22 There are “dozens of standing and Special Committees” of the board, including

          an officer compensation committee, a nominating committee, an executive committee, and an audit

          committee (with its own charter).23 The NRA has formalized policies maintained in an employee

          handbook and a policy manual, including policies and procedures on employee selection,

          compensation, work standards, time off, work standards, insurance and pension benefits, a

          statement of corporate ethics, purchase policy, a contract review policy, travel and business

          expense reimbursement policy, an officer and board of directors policy relating to disclosure of

          conflicts of interest, and a related-party transaction policy.24



          16
               Compl. ¶ 17.
         17
            See Rogers Aff. Ex. 10 (Paul Bedard, NRA is Back, “Highest Ever Membership,” WASH. EXAMINER (Apr.1, 2019)
         at 1.
         18
               Compl. ¶ 135
         19
               Compl. ¶ 62.
         20
               Compl. ¶ 64.
         21
               Compl. ¶ 66.
         22
               Compl. ¶ 67.
         23
               Compl. ¶¶ 82-94.
         24
               Compl. ¶ 98, Compl. Exs. 2 and 3.
                                                                                                                   5


                                                                                                         APP018
                                                          9 of 23
FILED: NEW YORK COUNTY CLERK 10/19/2020 11:50 PM                                                     INDEX NO. 451625/2020
NYSCEF DOC. NO. 99                                                                          RECEIVED NYSCEF: 10/19/2020
       Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                       Page 93 of 112 PageID 10150



                     Political speech is a major purpose of the NRA and one in which it is expressly permitted

          to engage under its bylaws and New York law, and as a 501(c)(4) organization under federal law.

          The NRA engages in extensive legislative advocacy to promote its purposes, as well as to vindicate

          the rights of its members and all Americans. The NRA spends tens of millions of dollars annually

         distributing pamphlets, fact sheets, articles, electronic materials, and other literature to advocate

         in support of Second Amendment freedoms and to assist NRA members who engage in national,

         state, and local firearm dialogue.25 The NRA’s direct mail, television, radio, and digital

         communications seek to educate the public about issues bearing on the Second Amendment,

          defend the NRA and its members against political and media attacks, and galvanize participation

          in the political process by NRA members and supporters.

                     To its critics, the NRA is best known as a “superlobby – one of the largest and most truly

          conservative lobbying organizations in the country,” able to mobilize its millions of members in

          concerted efforts to protect the Second Amendment rights of all Americans.26 For this reason, and

          because of its decisive support for President Trump in 2016, the NYAG and its political allies

          targeted the NRA for dissolution years ago.

                 B. New York State’s Animus Toward the NRA and Related Pending Litigation

                     New York Governor Andrew Cuomo has a longstanding political vendetta against what he

          calls “Second Amendment types,”27 especially the NRA, which he accuses of exerting a “stifl[ing]



          25
               See Rogers Aff. Ex. 11 (NRA 2019 Annual Report) at 4.
          26
            Rogers Aff. Ex. 12 (Christina Robb, Handguns and the American Psyche: The Attempted Assassination of a
          President Brings the Issue into Sharp Focus Once Again. Handguns – What Do They Mean To Americans? To the
          NRA, They Are A Symbol of Freedom; To Those Frightened of Crime, They Represent Safety – Even if the Owner
          Doesn’t Know How to Use Them; To Gun Control Advocates, They Are Symbols of Ultimate Evil, BOSTON GLOBE,
          1981 WLNR 68847 (June 7, 1981)).
          27
           On February 15, 2018, Cuomo appeared on the MSNBC program The Beat with Ari Melber, where he discussed
         championing legislation that some believed “trampled the Second Amendment.” YOUTUBE, Gov. Andrew Cuomo On
         Background Checks: “Bunch of Boloney [sic]” | The Beat With Ari Melber | MSNBC, available at
                                                                                                                  6


                                                                                                         APP019
                                                              10 of 23
FILED: NEW YORK COUNTY CLERK 10/19/2020 11:50 PM                                                           INDEX NO. 451625/2020
NYSCEF DOC. NO. 99                                                                                 RECEIVED NYSCEF: 10/19/2020
       Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                            Page 94 of 112 PageID 10151



          . . . stranglehold” over national gun policy.28 Beginning in 2018, Cuomo and several political allies

          orchestrated a campaign of selective enforcement, backroom exhortations, and public threats

          designed to coerce financial institutions to blacklist pro-gun advocacy groups, including the

         NRA.29 The NRA’s First Amendment claims against Governor Cuomo, the New York State

         Department of Financial Services, and its former superintendent arising from this pressure

         campaign have been pending for two years, have withstood multiple motions to dismiss, and are

         in discovery in the United States District Court for the Northern District of New York (such

         litigation, the “Cuomo Litigation”).30

                     New York’s former Attorney General, Eric Schneiderman, was so disturbed by mounting

         political pressure to commence an unconstitutional “investigation” of the NRA that he alerted the

         NRA about the situation scheme during 2017.31 Shortly thereafter, Schneiderman resigned from

         office, and Cuomo’s longtime acolyte,32 Letitia James, became a candidate to replace him. On the

         campaign trail, before ever assuming office and without a shred of evidence against the NRA,

         James announced that she would follow in the footsteps of Cuomo’s financial-blacklisting

         campaign if elected, by “put[ting] pressure upon the banks that finance the NRA” in order to choke




         https://www.youtube.com/watch?v=Tz8X07fZ39o (last visited June 6, 2020). However, Cuomo lamented that his
         “favorability rating” had dropped thereafter due to “backlash from conservatives and Second Amendment types.” Id.
          28
           See Rogers Aff. Ex. 13 (Kenneth Lovett, Exclusive: Cuomo Fires Back at Jeb Bush for ‘Stupid’ and ‘Insensitive’
          Gun Tweet, NY DAILY NEWS (Feb. 17, 2016).
          29
            See Rogers Aff. Ex. 14 (Press Release, Governor Cuomo Directs Department of Financial Services to Urge
          Companies to Weigh Reputational Risk of Business Ties to the NRA and Similar Organizations, N.Y.S. Office of the
          Governor (Apr. 19, 2018).
          30
               Nat’l Rifle Ass’n of Am. v. Cuomo, Case No. 1:18-cv-00566-TJM-CFH (N.D.N.Y.).
          31
               See Rogers Aff. Ex. 1 (NRA-NYAG Federal Action Compl) ¶ 14.
          32
            The New York Times expressly declined to endorse Attorney General James for office on the basis of her close
          connection to Cuomo and his “historically corrupt” administration. See Rogers Aff. Ex. 15 (Editorial, The New York
          Times Endorses Zephyr Teachout for Attorney General, N.Y. TIMES (Aug. 9, 2018)).
                                                                                                                          7


                                                                                                                APP020
                                                             11 of 23
FILED: NEW YORK COUNTY CLERK 10/19/2020 11:50 PM                                                              INDEX NO. 451625/2020
NYSCEF DOC. NO. 99                                                                                   RECEIVED NYSCEF: 10/19/2020
       Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                              Page 95 of 112 PageID 10152



          off support for its Second Amendment speech,33 which she called a “poisonous agenda” that was

          “directly antithetical” to New York’s gun-control laws.34 She also attacked the NRA’s legitimacy

          as a not-for-profit corporation.35 On September 4, 2018, during a debate between Democratic

          candidates, James stated that, if elected, her “top issue” would be “going after the NRA because it

          is a criminal enterprise.”36 Two days later, James doubled down: “We need to again take on the

          NRA, which holds itself out as a charitable organization. But in fact, they are not. They are nothing

          more than a criminal enterprise. We are waiting to take on all of the banks that finance them, their

          investors.”37 On October 31, 2018, in a magazine interview, James again stated that “the NRA

          holds [itself] out as a charitable organization, but in fact, [it] really [is] a terrorist organization.”38

          During late summer and early fall 2018, James pledged that she would wield state power to conduct

          a fishing expedition to “see whether or not the[] [NRA] ha[d] in fact complied with the not-for-

          profit law.”39

                     While James was publicly inveighing against the NRA and promising action, the NRA was

          busy heeding Schneiderman’s advice. Although it believed it was already operating in compliance



          33
            See Rogers Aff. Ex. 16 (Attorney General Candidate, Public Advocate Letitia James, OUR TIME PRESS (Sept. 6,
          2018)).
          34
           See Rogers Aff. Ex. 17 (Jon Campbell, NY AG Letitia James Called the NRA a ‘Terrorist Organization.’ Will It
          Hurt Her Case?, USA TODAY (Aug. 19, 2020)).
          35
               Id.
          36
           See New York City Bar Association, Forum for the Democratic Attorney General Primary Candidates, YOUTUBE
         (Sept. 4, 2018), https://www.youtube.com/watch?v=6n2_LHNEUW0 (statement at the 17:50 mark)).
          37
               Rogers Aff. Ex. 17 (Attorney General Candidate, Public Advocate Letitia James, OUR TIME PRESS (Sept. 6, 2018)).
         38
            Rogers Aff. Ex. 18 (Teddy Grant, Letitia ‘Tish’ James on Becoming New York’s Next Attorney General, EBONY
         (Oct. 31, 2018)).
         39
            See Rogers Aff. Exs. 19–23 (Mike Spies, Tom Selleck Quits NRA Board, THE TRACE (Sept. 18, 2018); Mike Spies
          & John Cook, Top NRA Executive’s Trail of Business Flops and Unpaid Debt, THE TRACE (Oct. 1, 2018); see also
          Mike Spies & John Cook, For the Second Time in Two Years, the NRA Will Raise Dues on Members, THE TRACE
          (Aug. 27, 2018); see also Alex Yablon & Mike Spies, FAQ: Is the NRA Going Broke?, THE TRACE (Aug. 9, 2018);
          see also Brian Freskos, We Translated Maria Butina’s Russian Blog Posts. Here’s What They Reveal About Her
          Obsession with the NRA, THE TRACE (July 24, 2018)).
                                                                                                                            8


                                                                                                                  APP021
                                                               12 of 23
FILED: NEW YORK COUNTY CLERK 10/19/2020 11:50 PM                                                               INDEX NO. 451625/2020
NYSCEF DOC. NO. 99                                                                                    RECEIVED NYSCEF: 10/19/2020
       Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                               Page 96 of 112 PageID 10153



          with New York State law, it also understood that a politically driven “compliance audit” was

          something for which it should carefully prepare. The NRA therefore undertook a top-to-bottom

          review of its operations and governance.40 In the process, the NRA determined that a relatively

          small group of vendors, executives and fiduciaries were not complying with NRA policies and/or

          reporting requirements. These included its largest vendor, Ackerman, whom the NRA eventually

          determined had been systematically overcharging the NRA, falsifying invoices, and engaging in a

          practice of pass-through block billing that obscured the nature of certain expenditures. When the

          NRA sought additional documentation from Ackerman, Ackerman refused to provide it, leading

          to litigation beginning in April 2019, by the NRA against Ackerman to force compliance with its

          requests and to recover funds fraudulently taken from the NRA.41 Rather than acknowledge and

          support the NRA’s efforts to recover funds for its members, however, James sought to undermine

          them. Later that same month, on April 27, 2019—a mere three months after taking office—she

          fulfilled a campaign pledge by announcing a Charities Bureau investigation into the NRA’s not-

          for-profit status.42




          40
            Despite framing the NRA as a fraudulent organization beyond repair, James’s own complaint extensively documents
          that the NRA voluntarily undertook efforts to improve its internal governance functions beginning in 2017, up to the
          present day. These efforts include replacing Defendant Wilson Phillips with a new treasurer that the complaint
          repeatedly lauds for engaging in remedial efforts such as a 50% reduction in travel expenses (Compl. ¶ 156),
          “reengineering” the process for handling Defendant Wayne LaPierre’s expense reimbursements to “make it . . . robust
          and appropriate” (id. ¶ 197), investigating and terminating a complained-of vendor contract with HomeTelos in the
          spring of 2018 (id. ¶ 225), examining Defendant Joshua Powell’s improper expenses and engaging outside counsel to
          assist, and confronting Powell regarding improper conflicts of interest in mid-2018, resulting in Powell’s removal and
          repayment of misappropriated monies to the NRA (id. ¶¶ 249-50, 263), and investigating and examining the improper
          use of a corporate credit card by LaPierre’s senior assistant (id. ¶ 294). The NRA engaged outside counsel to do an
          extensive review of the NRA’s relationship with its contractual partners and in service of that effort ultimately
          commenced litigation against Ackerman to obtain documentation that Ackerman has been withholding. (id. ¶¶ 302,
          455). The NRA has further been evaluating the establishment of an internal audit function (id. ¶ 483) and adopted a
          revised whistleblower policy in January 2020. (id. ¶ 115).
         41
               Nat’l Rifle Ass’n of Am. v. Ackerman McQueen, Inc., et al., Civ. Case No. 3-19-cv-02074-G (N.D. Tex.).
         42
          Rogers Aff. Ex. 24 (David Sherfinski, Letitia James, New York AG, Launches Investigation Into the NRA, THE
         WASH. TIMES (Apr. 27, 2019)).
                                                                                                                              9


                                                                                                                   APP022
                                                               13 of 23
FILED: NEW YORK COUNTY CLERK 10/19/2020 11:50 PM                                                              INDEX NO. 451625/2020
NYSCEF DOC. NO. 99                                                                                   RECEIVED NYSCEF: 10/19/2020
       Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                               Page 97 of 112 PageID 10154



                     On August 6, 2020, the NRA commenced the NRA-NYAG Federal Action in the United

          States District Court for the Northern District of New York in response to the NYAG’s

          unconstitutional, partisan targeting of the NRA. The NRA-NYAG Federal Action challenges the

         NYAG’s politicized “investigation” of the NRA (here, the investigation by the NYAG as a

         violation of the NRA’s First Amendment rights.43 The Federal Action and the Cuomo Litigation

         are designated as “related cases” in federal court.44

                 C. The Other Related Federal Cases

                     The NRA commenced the Ackerman Litigation in August 2019.45 As part of the Ackerman

         Litigation, a former Ackerman employee, Grant Stinchfield, filed an affidavit attesting to corrupt

         practices perpetrated by Ackerman, at the expense and without the knowledge of the NRA, which

         he had witnessed.46 Ackerman sued Stinchfield in an attempt to silence him (the “Stinchfield

         Litigation”).47 The veracity of Stinchfield’s statements about Ackerman is at issue in the

         Stinchfield Litigation; therefore, discovery is ongoing regarding many of the same aspects of the

         NRA’s dealings with Ackerman referenced in the NYAG’s Complaint. Separately, an NRA donor,

         David Dell’Aquila, commenced a putative class action against the NRA in the United States

         District Court for the Middle District of Tennessee in August 2019 (the “Dell’Aquila Litigation”).

         The Dell’Aquila Litigation alleges misspending by the NRA, and likewise involves transactions




          43
               Rogers Aff. Ex. 1.
          44
               Nat’l Rifle Ass’n of Am. v. James, Case No. 1:20-cv-00889-MAD-TWD (N.D.N.Y.)
          45
            Two related disputes between the NRA and Ackerman, which were previously being litigated in Virginia State
         Court, are stayed pending adjudication of the federal Ackerman Litigation. See National Rifle Association of America
         v. Ackerman McQueen, Inc., and Mercury Group, Inc., Cons. Case Nos. CL19002067; CL19001757; CL19002886
         (Va. Cir. Ct.)
          46
               Nat’l Rifle Ass’n of Am. v. Ackerman McQueen, Inc., et al., Civ. Case No. 3-19-cv-02074-G, Dkt. No. 122.
          47
               Ackerman McQueen v. Stinchfield, Civ. No. 3:19-cv-03016-X (N.D. Tx.).
                                                                                                                          10


                                                                                                                   APP023
                                                               14 of 23
FILED: NEW YORK COUNTY CLERK 10/19/2020 11:50 PM                                                                  INDEX NO. 451625/2020
NYSCEF DOC. NO. 99                                                                                         RECEIVED NYSCEF: 10/19/2020
       Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                                    Page 98 of 112 PageID 10155



             between the NRA and Ackerman.48 Although several of Dell’Aquila’s claims have been dismissed,

             others remain pending.

                    D. The Dissolution Action

                        On August 6, 2020, James held a highly publicized press conference for what she described

             as a “major national” announcement: the filing of a dissolution lawsuit against the NRA.49 A

             summons and complaint were filed that morning and an index number purchased. That complaint,

             however, was missing the complete verification required by New York Not-for-Profit Corporation

             Law (“N-PCL”) § 1103. On August 9, 2020, Defendant NRA filed, pursuant to CPLR 3022, a

             notice of its election to treat the putative complaint as a nullity.50 The following day, the NYAG

             filed a “Complaint (Amended),” described on the docket as containing only a corrected

             verification.51

                                                                 ARGUMENT

        I.          This Action Should Be Dismissed or Stayed on the Grounds of Forum Non Conveniens.

                        New York’s doctrine of forum non conveniens, codified in CPLR 327, permits a court to

             dismiss or stay any action that “in the interest of substantial justice should be heard in another

             forum.”52 The rule provides one of several discretionary grounds under New York law for the

             dismissal of cases, like this one, which overlap with lawsuits pending in other fora that pertain to




             48
                  Dell’Aquila, et al. v. Wayne LaPierre, et al., Civ. No. 3:19-cv-00679 (M.D. Tn.) Dkt. No. 43.
             49
                  Rogers Aff. Ex. 25 (Stephen Gandel August 5, 2020 Twitter post)
             50
                  Dkt. No. 10.
             51
                  Dkt. No. 11.
             52
                CPLR 327 (McKinney). See also Islamic Republic of Iran v. Pahlavi, 62 N.Y.2d 474, 479 (1984) (explaining that
             CPLR 327 permits a court to dismiss an action which “although jurisdictionally sound, would be better adjudicated
             elsewhere.”) (internal citations omitted).
                                                                                                                           11


                                                                                                                    APP024
                                                                    15 of 23
FILED: NEW YORK COUNTY CLERK 10/19/2020 11:50 PM                                                                 INDEX NO. 451625/2020
NYSCEF DOC. NO. 99                                                                                      RECEIVED NYSCEF: 10/19/2020
       Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                                 Page 99 of 112 PageID 10156



          the same parties or issues.53 Those potential alternative fora include more convenient venues

          within New York.54 The Court of Appeals has explained that the application of forum non

          conveniens “turn[s] on considerations of justice, fairness, and convenience;” thus, no single factor

          is dispositive.55 Factors considered in the forum non conveniens analysis include: (i) the burden on

         New York courts; (ii) the hardship to the defendant; and (iii) the availability of an alternate

         forum.56 Each favors dismissal here.

                     A.       Retaining this action in this forum would impose substantial, unnecessary
                              burdens on both the NRA and the Court.

                     The NYAG’s 163-page complaint challenges, and purportedly seeks to unwind, dozens of

         business transactions over at least a three-year period. Virtually none of these transactions took

         place in New York City, and the counterparties to these transactions reside far away—as do their

         documents. For example, this action is virtually guaranteed to require third-party discovery from:

         various former NRA employees and board members, who may continue to reside near NRA

         Headquarters in Virginia; Ackerman McQueen, Inc. (headquartered in Oklahoma City,



          53
             See, e.g., Citigroup Glob. Markets, Inc. v. Metals Holding Corp., 45 A.D.3d 361, 362 (1 Dept. 2007) (affirming
          forum non conveniens dismissal because, inter alia, the subject matter of the action was “already being litigated
          abroad” which created “a risk that conflicting rulings w[ould] be issued by different courts of different jurisdictions”)
          (internal citations and quotation marks omitted).
          54
            See, e.g. Parker v. 30 Wall St. Apartment Corp., 2015 WL 7906823, at *1 (1 Dept Dec. 4, 2015); Croce v. Preferred
          Mut. Ins. Co., 35 Misc.3d 161 (Dist. Ct. Suffolk Co. 2011); A&S Med., P.C. v. ELRAC, Inc., 184 Misc.2d 257 (Civ.
          Ct. N.Y. Cnty. 2000); Roseman v. McAvoy, 401 N.Y.S.2d 988, 990 (N.Y. City Civ. Ct. 1978); Diagnostic Rehab. Med.
          Serv. v. Republic W. Ins. Co., 2003 WL 22888389, at *11 (N.Y. Civ. Ct. Nov. 19, 2003)).
          55
               Silver v. Great Am. Ins. Co., 29 N.Y.2d 356 (1972).
          56
            See Islamic Republic of Iran v. Pahlavi, 62 N.Y.2d 474, 479 (1984). Notably, the oft-cited articulation of the forum
          non conveniens factors in the Pahlavi case contains two additional factors not listed here: the residency of the parties,
          and the locus of the transaction out of which the claims arose. See id. The NRA de-emphasizes these factors in its
          analysis because both the current forum and the desired forum (the U.S. District Court for the Northern District of
          New York) are sited in the same state. Thus, the NRA does not dispute whether this lawsuit has a cognizable nexus to
          New York—only whether the current forum is a just, convenient one. Although forum non conveniens is typically
          invoked to permit a transfer to a foreign jurisdiction, courts have also granted such motions in favor of other, more
          convenient, venues within New York. See, e.g. Parker v. 30 Wall St. Apartment Corp., 2015 WL 7906823, at *1 (1
          Dept Dec. 4, 2015); Croce, 938 N.Y.S.2d; A&S Med., 707 N.Y.S.2d at 780; Roseman v. McAvoy, 401 N.Y.S.2d at
          990; Diagnostic Rehab. Med. Serv., 2003 WL at *11.
                                                                                                                               12


                                                                                                                      APP025
                                                                16 of 23
FILED: NEW YORK COUNTY CLERK 10/19/2020 11:50 PM                                                            INDEX NO. 451625/2020
NYSCEF DOC. NO. 99                                                                                 RECEIVED NYSCEF: 10/19/2020
       Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                            Page 100 of 112 PageID 10157



          Oklahoma); McKenna & Associates (headquartered in Arlington, Virginia); Membership

          Marketing Partners, Allegiance Creative Group and Concord Social & Public Relations

          (headquartered in Fairfax, Virginia); HomeTelos L.P. (headquartered in Dallas, Texas);

          LookingGlass Cyber Solutions, Inc. (headquartered in Reston, Virginia); employees of those

         companies; the NRA’s travel consultant (who resides in California) and, providers of lodging,

         transportation, and similar services in locations as far-flung as Italy, the Bahamas, and Normandy,

         France. Thus, key documents and witnesses lay outside the jurisdiction of this Court and obtaining

         these documents and testimony will hamper the NRA’s ability to conduct its defense. Indeed, as

         set forth in Exhibit 27 to the Rogers Affirmation, the Complaint can be conservatively estimated

         to implicate 90 witnesses residing in 27 U.S. states, plus Washington D.C.

                  Needless to say, these witnesses will also be considered unavailable for trial pursuant to

         CPLR 3117(a)(3)(ii) and many of these depositions will be required in order for the NRA to

         adequately defend itself. This discovery and its potential use at trial would be most efficiently

         sought in federal court pursuant to federal rules designed to facilitate multistate (and, where

         necessary, cross-border) discovery. By contrast, retaining the action in this forum would require

         that virtually all witnesses and documents be sought pursuant to a protracted process, whereby a

         subpoena is first issued in New York, then domesticated elsewhere, then served or challenged

         pursuant to a patchwork of differing procedures and rules and litigated in all the different venues.

         This would create unnecessary burdens for both the NRA57 and the Court.

                  Moreover, the mere fact that the NRA is already litigating overlapping and related claims

         in another available forum renders the duplicative litigation in this forum unnecessarily


          57
           See, e.g., Price v. Brown Group, 206 A.D.2d 195, 201 (4 Dept 1994) (recognizing that for purposes of analyzing
         the hardship imposed on the defendant in a forum non conveniens analysis, the location of relevant evidence is a key
         consideration).
                                                                                                                          13


                                                                                                                 APP026
                                                             17 of 23
FILED: NEW YORK COUNTY CLERK 10/19/2020 11:50 PM                                                       INDEX NO. 451625/2020
NYSCEF DOC. NO. 99                                                                             RECEIVED NYSCEF: 10/19/2020
       Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                        Page 101 of 112 PageID 10158



          burdensome. At the very least, the pendency of two overlapping lawsuits in two different New

          York courts will require the NRA to incur duplicative expenses litigating issues already decided,

          or under consideration, by the federal court; at worst, substantial additional expenses will arise as

          the parties invariably dispute the admissibility, and/or preclusive effect, of evidence or findings in

         the parallel federal proceeding. Such burdens could be minimized or eliminated entirely via a

         forum non conveniens dismissal, with the stipulation that the NRA will not contest the NYAG’s

         re-filing of its claims in federal court.

                     B.       Federal court provides a suitable alternative forum for the NYAG’s claims.

                     The availability of an alternative forum to the plaintiffs is “a most important factor to be

         considered in ruling on a motion to dismiss.”58 Here, none of the claims asserted by the NYAG

         are within the exclusive subject-matter jurisdiction of New York state courts; indeed, statutory

         claims under the same N-PCL provisions that undergird the Complaint have been adjudicated by

         at least one federal court exercising diversity jurisdiction, and nothing prevents the federal courts

         already hearing substantially related causes of action from asserting jurisdiction pursuant to 28

         U.S.C. § 1367 because the NYAG’s claims are so related that they are effectively part of the

         existing Article III case or controversy.59

                     Moreover, to the extent that the NRA is able to consolidate all pending, related litigation

         in federal court, the forum will not only prove acceptable, but superior: the NRA has been litigating

         against several organs of the New York State government in federal district court since 2018, and

         the court has accrued significant familiarity with documents and issues likely to overlap with this

         case. The federal court in the Cuomo Litigation has also appointed a special master to conduct in


          58
               Pahlavi, 62 N.Y.2d at 481.
          59
           See e.g., Nutronics Imaging, Inc. v. Danan, 1998 WL 426570 (E.D.N.Y. 1998); Leitner v. Sadhana Temple of New
         York, Inc., 2014 WL 12588643, at *14 (C.D. Cal. Oct. 17, 2014).
                                                                                                                    14


                                                                                                           APP027
                                                          18 of 23
FILED: NEW YORK COUNTY CLERK 10/19/2020 11:50 PM                                                                 INDEX NO. 451625/2020
NYSCEF DOC. NO. 99                                                                                      RECEIVED NYSCEF: 10/19/2020
       Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                                 Page 102 of 112 PageID 10159



             camera review of investigative-privilege and related privilege claims asserted by the government,

             an issue that is almost certain to reoccur in this case—and could dealt with efficiently by the federal

             court’s existing process.

                        Thus, per the application of the above factors, this action should be dismissed under CPLR

             327(a) for forum non conveniens.

       II.          This Action Should Be Dismissed Based on the Pendency of the NRA-NYAG Federal
                    Action Pursuant to CPLR 3211(a)(4).

                        Pursuant to CPLR 3211(a)(4), a court has broad discretion to dismiss or stay an action

             when another action is already pending and there is a “substantial identity” of the parties and causes

             of action. This relief is available even if the first action was commenced only a day earlier.60 Here,

             NYAG purported to commence this action on August 6, 2020, but the filed complaint attached a

             defective verification missing statements required by N-PCL § 1103 and CPLR 3020. When a

             pleading required to be verified is not, the adverse party is entitled to treat it “as a nullity, provided

             he gives notice with due diligence” upon the attorney of the adverse party.61 This is because the

             failure to verify or sign the complaint—for whatever reason—affects a substantial right of the

             defendant in that plaintiff's claims cannot be challenged as false, which imposes prejudice upon

             the defendant who seeks to challenge these allegations.62 The NRA notified the opposing party, in

             writing, within 72 hours, that it elected to treat the Complaint as a nullity.63

                        An action is not deemed commenced in New York State until an index number is obtained

             and the initiating papers are filed.64 Strict compliance is mandatory, and so long as noncompliance


             60
                  11 E. 68th St. LLC v. Madison 68 Realty LLC, 2014 Slip. Op. 31872(U) (Sup. Ct. N.Y. Cnty. July 10, 2014).
             61
                  CPLR 3022; see also Matter of Miller v Bd. of Assessors, 92 N.Y.2d 82 (1997).
             62
                  Jack Vogel Associates v. Color Edge, Inc., 2008 N.Y. Slip Op. 31509(U) (New York County 2008).
             63
                  Dkt. No. 10.
             64
                  CPLR 304, 306-a.
                                                                                                                              15


                                                                                                                     APP028
                                                                  19 of 23
FILED: NEW YORK COUNTY CLERK 10/19/2020 11:50 PM                                                             INDEX NO. 451625/2020
NYSCEF DOC. NO. 99                                                                                     RECEIVED NYSCEF: 10/19/2020
       Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                              Page 103 of 112 PageID 10160



          is timely raised by the opposing party, warrants outright dismissal.65 Unverified pleadings are

          properly stricken.66 Following the NRA’s notice of rejection to NYAG, NYAG filed an amended

         complaint with a corrected verification on August 10, 2020. Pursuant to CPLR 304, this action

         must therefore be deemed to have been filed as of that date—when a valid summons and complaint

         were filed with the Court.

                     The NRA’s Federal Action therefore constitutes an action already pending for purposes of

         CPLR 3211(a)(4). Both the NRA and NYAG are parties and the NRA-NYAG Federal Action

         arises out of the “same subject matter or series of alleged wrongs,” seeking redress under Section

         1983 for NYAG’s improper motive and abuse of dissolution power in bringing this action.67 The

         fact that where, as here, a defendant’s claim is one for declaratory relief does not minimize the

         potential need for a stay or dismissal.68 Nor is a complete identity of parties required, so long as

         there “be at least one plaintiff and one defendant common to both actions.”69 Because the NRA’s

         First Amendment claims lie at the heart of both actions, the NRA requests that this Court dismiss

         this action, or in the alternative, to stay this proceeding until the NRA-NYAG Federal Action

         resolves this critical issue.70




          65
               Fry v. Village of Tarrytown, 89 N.Y.2d 714 (1997).
         66
            See Morgan v. Maher, 50 Misc.2d 642 (Sup. Ct. Nassau Cnty. 1969); see also Alden v Gambino, 53 Misc.3d 1204(A)
         (City Ct. Poughkeepsie Sept. 29, 2016) (acknowledging that striking a defective complaint is proper but declining to
         do so where defendant did not act with due diligence and seek a verified complaint in writing).
         67
             Because the NRA-NYAG Federal Action argues that the politically motivated investigation and contemplated (now
          ripe) enforcement action by NYAG is unconstitutional, this action is properly considered a compulsory counterclaim
          to the NRA-NYAG Federal Action. See Fed. R. Civ. P. 12(a); see also Mosdos Chofetz Chaim, Inc. v. Village of
          Wesley Hills, 815 F. Supp. 2d 679 (S.D.N.Y. 2011) (constitutional challenge to village’s enforcement action
          compulsory counterclaim to the enforcement action).
          68
               11 E. 68th St. LLC , 2014 N.Y. Slip Op. 31872(U) (Sup. Ct. N.Y. Cnty. July 10, 2014).
          69
               Jaber v. Elayyan, 168 A.D.3d 693 (2 Dept 2019).
          70
            342 West 30th Street Corp., v. Bradbury, 30 Misc.3d 132(A) (1 Dept 2011); see also AIG Financial Products Corp.
         v. Penncara Energy, LLC, 83 A.D.3d 495 (1 Dept 2011).
                                                                                                                          16


                                                                                                                 APP029
                                                                 20 of 23
FILED: NEW YORK COUNTY CLERK 10/19/2020 11:50 PM                                                                  INDEX NO. 451625/2020
NYSCEF DOC. NO. 99                                                                                       RECEIVED NYSCEF: 10/19/2020
       Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                                 Page 104 of 112 PageID 10161



       III.      Documentary Evidence Establishes that the NYAG’s Dissolution Action is Nonviable in
                 New York County, Warranting Dismissal Under CPLR 3211(a)(1).

                     The NYAG’s dissolution claims are governed by Article 11 of the New York Not-for-Profit

          Corporation Law. N-PCL § 1110 provides: “An action … under this article shall be brought in the

          supreme court in the judicial district in which the office of the corporation is located at the time of

          the service on the corporation of a summons in such action ….”71 The office of a corporation is

          defined as “the office the location of which is stated in the certificate of incorporation … Such

          office need not be a place where activities are conducted by such corporation.”72 Contrary to

          NYAG's allegation in paragraph 26 of the complaint, the NRA's certificate of incorporation does

          not “set forth” that “the office of the NRA is in New York County.” The original certificate of

          incorporation, issued in 1871, does not state the location of an office.73 In 2002, a certificate of

          change was issued by the New York Secretary of State, stating that the NRA “changes the

          designation of its registered agent to: Corporation Service Company 80 State Street, Albany, NY

          12207-2543” and identifying a principal place of business in Virginia. A plain reading of the statute


          71
             See N-PCL § 1110 (“Venue”) and Comment (“This section, dealing with the venue in proceedings for judicial
          dissolution, is an adaptation of § 1112 of the Bus. Corp. L. It departs from §§ 138 and 139 of the Gen. Corp. L. in the
          fact that it makes no special provision for dissolution proceedings initiated by the attorney-general. This is covered by
          § 112 of this chapter.”) (emphasis added).
          72
             N-PCL § 102 (“Definitions”), subparagraph (a)(11). See Cooper v Mobil Oil Corp., 264 A.D.2d 578, 578-79 (1
          Dept 1999) (“Plaintiffs commenced this personal injury action against defendant based upon alleged Labor Law
          violations and designated New York County as venue by reason of defendant's certificate of incorporation which
          named New York County as the location of its principal office. Supported by an affidavit from a corporate officer,
          defendant moved to change venue to Suffolk County, plaintiffs' county of residence, upon the ground that defendant
          had no principal office or place of business in New York when this action was commenced and that the defendant's
          principal office is, in fact, located in Fairfax County, Virginia. Although CPLR 503(c) deems a corporation to be a
          resident of the county in which its principal office is located, Business Corporation Law § 402 requires that a
          corporation list on its certificate of incorporation a location within New York State for its principal place of business.
          Defendant designated New York County in that manner and plaintiffs properly relied upon that designation in selecting
          venue) (citations omitted); Astarita v Acme Bus Corp., 55 Misc. 3d 767 (Sup. Ct. N.Y. Cnty. 2017) (granting motion
          for change of venue, holding that venue was proper in Suffolk County where corporation changed its principal office
          as reported in biennial registration statement); Keehn v. S. & D. Motor Lines, Inc., 41 N.Y.S.2d 521 (Sup. Ct. N.Y.
          Cnty. 1943) (“The law is abundantly clear that the office and principal place of business for venue purposes of a
          domestic corporation, …, is fixed by its certificate of incorporation.”).
          73
               Rogers Aff. Ex. 26 at 1.
                                                                                                                                17


                                                                                                                       APP030
                                                                21 of 23
FILED: NEW YORK COUNTY CLERK 10/19/2020 11:50 PM                                                             INDEX NO. 451625/2020
NYSCEF DOC. NO. 99                                                                                RECEIVED NYSCEF: 10/19/2020
       Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                           Page 105 of 112 PageID 10162



          required that this action therefore be filed in Albany County, New York.74 In the alternative, this

          action should be transferred.75

       IV.       In the Alternative, a Stay Is Warranted Under CPLR 2201.

                      The existence of a pending related action is a common ground for a stay of proceedings

          under CPLR 2201.76 A stay is especially appropriate where, as here, there are “overlapping issues

          and common questions of law and fact,” the first-filed case has progressed into discovery, and

          determination of the first-filed action may dispose of or limit issues in the second.77 A significant

          portion of funds NYAG purportedly seeks to recover come from Ackerman, and the validity of

          these expenditures and the circumstances under which they were requested and approved are

          fundamental questions underlying NYAG’s dissolution claim. The NRA and Ackerman have

          already been litigating these exact issues for well over a year in another forum and are now six

          months into discovery, with hundreds of document requests served, responsive documents

          exchanged and depositions beginning in November.78 Moreover, the position that the NRA has

          taken with respect to Ackerman’s actions—that Ackerman was an NRA fiduciary that breached

          its duty and defrauded the NRA—run squarely counter to the NYAG’s allegations made “upon

          information and belief” in this action that Ackerman was conspiring with NRA executives.

          Allowing this action to proceed under NYAG’s unsupported theory risks undermining the NRA’s

          causes of action in the Ackerman case and jeopardizing its potential recovery, to the detriment of

          NRA members whose interests NYAG purportedly seeks to vindicate. Thus, “to avoid potentially


          74
               Id. at 2-16.
         75
               The NRA served a transfer demand pursuant to CPLR 511 on October 19, 2020. See Dkt. No. 39.
         76
               See 4-2201 Weinstein-Korn-Miller, N.Y. Civ. Prac. CPLR 2201.03.
         77
           See, e.g., Buzzell v. Mills, 32 A.D.2d 897, 897 (1 Dept 1969); Asher v. Abbott Laboratories, 307 A.D.2d 211, 211-
         12 (1 Dept. 2003).
         78
               See Rogers Aff. Ex. 25 (Oct. 5, 2020 Status Report).
                                                                                                                         18


                                                                                                                APP031
                                                                22 of 23
FILED: NEW YORK COUNTY CLERK 10/19/2020 11:50 PM                                                              INDEX NO. 451625/2020
NYSCEF DOC. NO. 99                                                                                 RECEIVED NYSCEF: 10/19/2020
       Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20                            Page 106 of 112 PageID 10163



          inconsistent determinations and duplication of judicial resources,” a stay under CPLR 2201 is

          appropriate.79

                                                          CONCLUSION

                     For the foregoing reasons, the Complaint should be dismissed or, in the alternative, this

          action stayed.



          Dated: October 19, 2020

                                                       Respectfully submitted,


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                                                       ATTORNEYS FOR DEFENDANT
                                                       THE NATIONAL RIFLE ASSOCIATION




          79
               See CSSEL Bare Trust v. Phoenix Life Ins. Co., 2009 WL 741177 (N.Y. Sup. Ct. Mar. 11, 2009).
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                                                                                                                APP032
                                                              23 of 23
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20   Page 107 of 112 PageID 10164




                             EXHIBIT B-2

                                  FILED
                                  UNDER
                                   SEAL
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20   Page 108 of 112 PageID 10165




                             EXHIBIT B-3

                                  FILED
                                  UNDER
                                   SEAL
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20   Page 109 of 112 PageID 10166




                             EXHIBIT B-4

                                  FILED
                                  UNDER
                                   SEAL
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20   Page 110 of 112 PageID 10167




                             EXHIBIT B-5

                                  FILED
                                  UNDER
                                   SEAL
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20   Page 111 of 112 PageID 10168




                             EXHIBIT B-6

                                  FILED
                                  UNDER
                                   SEAL
Case 3:19-cv-02074-G-BK Document 180 Filed 10/23/20   Page 112 of 112 PageID 10169




                             EXHIBIT B-7

                                  FILED
                                  UNDER
                                   SEAL
